       Case 3:23-cv-01440-AGT        Document 1          Filed 03/27/23   Page 1 of 166




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7
     BLOOM INSTITUTE OF TECHNOLOGY;
8    AUSTEN ALLRED

9                                UNITED STATES DISTRICT COURT

10                              NORTHERN DISTRICT OF CALIFORNIA

11

12   JESSICA FULLER; ALEXANDER                             Case No.
     GONCLAVES; BRETT MCADAMS; and
13   QUINN MOLINA,                                         DEFENDANTS BLOOM INSTITUTE OF
                                                           TECHNOLOGY’S AND AUSTEN
14                Plaintiffs,                              ALLRED’S NOTICE OF REMOVAL OF
                                                           CIVIL ACTION PURSUANT TO 28
15         vs.                                             U.S.C. §§ 1332, 1441, AND 1446
16   BLOOM INSTITUTE OF TECHNOLOGY,
     formerly d/b/a Lambda School; AUSTEN
17   ALLRED, in his individual capacity; and DOES
     1 through 9,
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                  Defendants.
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                                                                                          4860-1901-5000.v2
         Case 3:23-cv-01440-AGT           Document 1        Filed 03/27/23      Page 2 of 166




1                                           NOTICE OF REMOVAL

2           TO THE CLERK OF THE ABOVE-ENTITLED COURT AND TO PLAINTIFFS

3    JESSICA FULLER; ALEXANDER GONCLAVES; BRETT MCADAMS; AND QUINN

4    MOLINA AND THEIR ATTORNEYS OF RECORDS:

5           PLEASE TAKE NOTICE that Defendants Bloom Institute of Technology, formerly d/b/a

6    Lambda School, and Austen Allred (collectively “Defendants”) file this Notice of Removal. The

7    above-entitled case is a civil action over which this Court has diversity jurisdiction pursuant to 28

8    U.S.C. § 1332. Defendants assert the following grounds for removal:

9           1.      This Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1332,
10   because the action involves residents of different states and the amount in controversy exceeds the
11   sum of $75,000, exclusive of interests and costs.
12          2.      This case is removable under 28 U.S.C. §§ 1332, 1441, and 1446. Removal to this
13   Court is proper because it is part of the “district and division” embracing the place where the state
14   court action is pending. See 28 U.S.C. § 1441(a). 1
15                                      NATURE OF THIS LAWSUIT

16          3.      On or about March 16, 2023, Plaintiffs Jessica Fuller, Alexander Gonclaves, Brett

17   McAdams, and Quinn Molina (collectively “Plaintiffs”) commenced the aforementioned action

18   against Defendants by filing a Complaint in the Superior Court of the State of California, County of

19   San Francisco, entitled Jessica Fuller et al. v. Bloom Institute of Technology, et al., Case No. CGC-

20   23-605179 (hereinafter the “State Court Action”).

21                            THE PARTIES ARE COMPLETELY DIVERSE

22          4.      Plaintiff Jessica Fuller is a Resident of the State of Washington. Plaintiff Alexander

23   Gonclaves is a Resident of the State of Pennsylvania. Plaintiff Brett McAdams is a Resident of the

24   State of Florida. Plaintiff Quinn Molina is a Resident of the State of Washington.

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     1
       Out of an abundance of caution, and for the avoidance of any claim of waiver, Defendants assert
26   that an alternate basis for removal may arise under the Class Action Fairness Act (“CAFA”). Based
     on Plaintiffs’ allegations, at least one member of the proposed class of plaintiffs is a citizen of a state
27   different from at least one of the Defendants, the proposed class potentially includes 100 or more
     plaintiffs, and the amount in controversy, in the aggregate, for the proposed class may exceed the
28   amount in controversy requirement under CAFA. See 28 U.S.C. § 1332(d).
                                              -2-
     DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
     CASE NO:
                                                                                                4860-1901-5000.v2
           Case 3:23-cv-01440-AGT          Document 1        Filed 03/27/23     Page 3 of 166




1              5.      Defendant BloomTech Inc., is a corporation registered in the State of Delaware with

2    its headquarters and principal place of business located in the State of California. Plaintiffs allege

3    that Defendant Austen Allred is a Resident of the State of California. 2

4              6.      Complete diversity exists as between all Plaintiffs and all Defendants in the matter

5    filed in the State Court Action.

6                    THE “AMOUNT IN CONTROVERSY” REQUIREMENT IS SATISFIED

7              7.      Although the specific amount Plaintiffs seek to recover through the State Court

8    Action is not specifically pleaded, Defendants assert based on the allegations contained in the

9    Complaint the amount in controversy is $75,000 or more. Among other things, Plaintiffs allege that
10   they were indebted to one or more Defendants in amounts of “up to $30,000” (see Complaint, ¶¶ 3,
11   47, 110, 112, 119, 136, 173), which, taking Plaintiffs’ allegations as true, means that they
12   cumulatively believe more than $75,000 in debt obligation is at issue between just the four (4)
13   putative class representatives in this case.
14             8.      Accordingly, the “amount in controversy” requirement is satisfied. “[A] defendant’s
15   notice of removal need include only a plausible allegation that the amount in controversy exceeds
16   the jurisdictional threshold.” Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 89
17   (2014).
18              THE PROCEDURAL REQUIREMENTS FOR REMOVAL ARE SATISFIED

19             9.      This notice of removal is timely because it is being filed within 30 days of the date of

20   service shown on the return of service. (See Exhibit A; 28 U.S.C. § 1446.)

21             10.     Defendants have attached true and correct copies of the pleadings and other papers

22   filed in the State Court Action hereto as Exhibit A.

23             11.     Contemporaneous with the filing of this notice, Defendants will also file a copy of the

24   notice with the San Francisco County Superior Court Clerk, in accordance with 28 U.S.C. § 1446.

25   ///

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27   2
      Defendant Austen Allred contests the claim that he is a resident of the State of California, however,
     under no circumstance would he be regarded as a resident of any of the states where Plaintiffs reside
28   such that complete diversity would not exist.
                                              -3-
     DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
     CASE NO:
                                                                                                4860-1901-5000.v2
        Case 3:23-cv-01440-AGT             Document 1      Filed 03/27/23      Page 4 of 166




1                                               CONCLUSION

2           12.     Pursuant to 28 U.S.C. section 1441, Defendants respectfully remove this action to the

3    District Court for the Northern District of California as the federal court embracing the location

4    where the case was initially filed.

5           13.     For the foregoing reasons, Defendants request that this Court proceed with the

6    handling of this case as if it had been originally filed here and that further proceedings in San

7    Francisco County Superior Court be terminated.

8

9
      Dated: March 27, 2023                        PILLSBURY WINTHROP SHAW PITTMAN LLP
10

11                                               /s/ Patrick Hammon
                                             By: PATRICK HAMMON
12                                               ANDREW K. PARKHURST
                                                 Attorneys for Defendants
13                                               BLOOM INSTITUTE OF TECHNOLOGY;
                                                 AUSTEN ALLRED
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     DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
     CASE NO:
                                                                                              4860-1901-5000.v2
     Case 3:23-cv-01440-AGT   Document 1   Filed 03/27/23   Page 5 of 166




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                                                  EXHIBIT A
                                                                            4860-1901-5000.v2
                       Case 3:23-cv-01440-AGT          Document 1     Filed 03/27/23   Page 6 of 166



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                                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
              15
                                                     COUNTY OF SAN FRANCISCO
              16
                    JESSICA FULLER; ALEXANDER                          CASE NO.
              17    GONCALVES; BRETT MCADAMS; and QUINN
                    MOLINA,                                            VERIFIED CLASS ACTION COMPLAINT
              18                                                       FOR EQUITABLE RELIEF BASED ON:
                                   Plaintiffs,
              19                                                          1. VIOLATIONS OF THE CONSUMER
                            v.                                               LEGAL REMEDIES ACT (Cal. Civ.
              20                                                             Code §§ 1750, et seq.)
                    BLOOM INSTITUTE OF TECHNOLOGY,
              21    formerly d/b/a Lambda School; AUSTEN                  2. VIOLATIONS OF THE UNFAIR
                    ALLRED, in his individual capacity; and DOES 1           COMPETITION LAW (Cal. Bus. &
              22    through 9,                                               Prof. Code §§ 17200, et seq.)

              23                   Defendants.
                                                                          3. VIOLATIONS OF THE FALSE
              24                                                             ADVERTISING LAW (Cal. Bus. &
                                                                             Prof. Code §§ 17500, et seq.)
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       ♼            VERIFIED CLASS ACTION COMPLAINT
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                           Case 3:23-cv-01440-AGT                     Document 1                 Filed 03/27/23                Page 7 of 166



                1                                                          TABLE OF CONTENTS
                                                                                                                                                                  Page No.
                2
                    I.       SUMMARY OF THE CASE ......................................................................................................... 1
                3
                    II.      THE PARTIES ............................................................................................................................... 3
                4
                    III.     JURISDICTION AND VENUE..................................................................................................... 3
                5
                    IV.      FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS ...................................................... 4
                6
                             A.        LAMBDA BACKGROUND ............................................................................................. 4
                7
                             B.        UNTIL AUGUST 17, 2020, LAMBDA OPERATED WITHOUT STATE
                8                      APPROVAL, IN VIOLATION OF CALIFORNIA LAW ................................................ 6

                9            C.        LAMBDA’S FALSE AND MISLEADING JOB PLACEMENT RATES........................ 9

              10                       1.         False and misleading job placement rates on Lambda’s website and outcomes
                                                  reports ..................................................................................................................... 9
              11
                                       2.         Mr. Allred’s false and misleading statements about job placement on
              12                                  Twitter .................................................................................................................. 18

              13                       3.         While inflating its job placement rates, Lambda misrepresents that it only
                                                  gets paid once students do .................................................................................... 19
              14
                             D.        LAMBDA ENGAGED—AND STILL ENGAGES—IN THE UNLAWFUL
              15                       BUSINESS PRACTICE OF UNLICENSED LENDING ............................................... 20

              16             E.        PLAINTIFFS ATTEND LAMBDA, ATTRACTED BY HIGH JOB
                                       PLACEMENT RATES .................................................................................................... 22
              17
                                       1.         Plaintiff Jessica Fuller .......................................................................................... 22
              18
                                       2.         Plaintiff Alexander Goncalves ............................................................................. 24
              19
                                       3.         Plaintiff Brett McAdams ...................................................................................... 25
              20
                                       4.         Plaintiff Quinn Molina ......................................................................................... 27
              21
                    V.       CLASS ACTION ALLEGATIONS ............................................................................................ 28
              22
                    VI.      CAUSES OF ACTION ................................................................................................................ 31
              23
                             FIRST CAUSE OF ACTION
              24                   Violations of California’s Consumer Legal Remedies Act
                                   Cal. Civ. Code §§ 1750, et seq.
              25                   (All Defendants) ............................................................................................................... 31

              26             SECOND CAUSE OF ACTION
                                  Violations of California’s Unfair Competition Law
              27                  Cal. Bus. & Prof. Code §§ 17200, et seq.
                                  (All Defendants) ............................................................................................................... 32
              28
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                                                                            i
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 MCCARTHY, LLP
                       Case 3:23-cv-01440-AGT                     Document 1              Filed 03/27/23             Page 8 of 166



                1          THIRD CAUSE OF ACTION
                                Violations of California’s False Advertising Law
                2               Cal. Bus. & Prof. Code §§ 17500, et seq.
                                (All Defendants) ............................................................................................................... 34
                3
                    VII.   PRAYER FOR RELIEF ............................................................................................................... 35
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       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                                                             ii
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                         Case 3:23-cv-01440-AGT          Document 1        Filed 03/27/23     Page 9 of 166



                1          Plaintiffs Jessica Fuller, Alexander Goncalves, Brett McAdams, and Quinn Molina

                2   (“Plaintiffs”), by and through their attorneys, allege as follows:

                3   I.     SUMMARY OF THE CASE

                4          1.      Bloom Institute of Technology, formerly known as Lambda School (“Lambda”), is a for-

                5   profit, unaccredited computer coding bootcamp that opened in 2017, audaciously promising to

                6   revolutionize higher education. Unlike traditional higher education, with its high debt load, uncertain

                7   job prospects, and structural indifference to job outcomes, Lambda claimed its approach would be

                8   different. By its telling, Lambda would not only teach students coding, but would connect students with

                9   tech jobs, and require tuition payments only after students got qualifying jobs—accomplished by

              10    having them sign Income Share Agreements (“ISAs”) before enrolling. Lambda and its CEO, Austen

              11    Allred, trumpeted ISAs as a disruptive, revolutionary approach to education financing, promising

              12    students that, because they paid nothing until they found a job, Lambda was equally invested in

              13    students’ ultimate job market success.

              14           2.      As evidence that Lambda’s model worked, it promoted lofty job placement rates. For the

              15    last several years, Lambda has prominently displayed job placement rates of 74 to 90 percent across its

              16    website, social media pages, and online advertisements. In time, Lambda’s aggressive marketing,

              17    touting that the vast majority of its students get well-paying tech jobs, swelled its enrollment to

              18    thousands of students.

              19           3.      But Lambda’s entire marketing pitch was based on a series of misrepresentations. While

              20    Lambda publicly flaunted job placement rates of 74 to 90 percent, it revealed to its private investors

              21    that the true rates were far lower, ranging from 27 to 50 percent. While Lambda’s public marketing

              22    emphasized how the school was invested in students’ success, claiming that Lambda wouldn’t get paid

              23    unless students did, in reality Lambda sold off the rights to collect on students’ future income to private

              24    investors. Lambda even misrepresented that it had state approval to operate when, in fact, it did not.

              25    Through these misrepresentations, Lambda ensnared thousands of students in its scheme to extract (or

              26    sell off the rights to extract) up to $30,000 from each students’ future earnings.

              27           4.      Plaintiffs, four such students, bring this class action complaint, on behalf of themselves

              28    and a class of similarly situated persons, against Lambda, Lambda’s co-founder and CEO, Austin
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                             1
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                        Case 3:23-cv-01440-AGT           Document 1        Filed 03/27/23      Page 10 of 166



                1   Allred, in his personal capacity, and John Does 1–9 for violations of the California Consumer Legal

                2   Remedies Act (“CLRA”), California Civil Code § 1750, et seq., Unfair Competition Law (“UCL”),

                3   California Business and Professional Code §17200, et seq., and False Advertising Law (“FAL”),

                4   California Business and Professional Code § 17500, et seq.

                5          5.      Plaintiffs bring this action to hold Defendants accountable for: (i) falsifying and

                6   misrepresenting Lambda’s job placement rates, and misrepresenting and concealing the true nature of

                7   Lambda’s financial interest in students’ success, including by falsely representing that Lambda only got

                8   paid after students found employment and got paid; (ii) misrepresenting and concealing from students

                9   that, until August 17, 2020, Lambda did not have the necessary approval from the California Bureau for

              10    Postsecondary Education (“BPPE”) to operate as a school, and was under order by the BPPE to cease

              11    operations, stop enrolling students, cease all instructional services, and submit a closure plan; (iii) in

              12    violation of California law, enrolling, signing ISAs or other tuition payment plans with and providing

              13    educational services to students before Lambda obtained the BPPE’s approval to operate; and (iv) in

              14    violation of California law, engaging in the unlawful business practice of unlicensed lending.

              15           6.      Plaintiffs and members of the proposed class are current and former Lambda students

              16    who either (1) entered into ISAs, retail installment contracts, deferred tuition plans, or other tuition

              17    plans (hereinafter “ISAs” or “tuition payment plans”) with an arbitration clause that contains a carve-

              18    out for proceedings “commenced by either party seeking an injunction . . . or any other equitable

              19    remedy,” or (2) enrolled at Lambda without signing (or opting out of) an arbitration clause and class

              20    action waiver. On information and belief, this includes students who enrolled at Lambda from on or

              21    around March of 2020 to the present. 1

              22           7.      Plaintiffs and members of the proposed class enrolled at Lambda under false pretenses.

              23    Plaintiffs seek declaratory and injunctive relief to cancel their ISAs and the ISAs/tuition payment plans

              24    of all class-members, to declare the ISAs/tuition payment plans null and void, to require equitable

              25    restitution of all payments made to Lambda, and for additional relief. They also seek public injunctive

              26

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                      While the ISAs and other tuition payment plans from March 2020 to the present contain arbitration
              28    clauses and class action waivers, neither apply to this proceeding.
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                              2
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                          Case 3:23-cv-01440-AGT        Document 1      Filed 03/27/23      Page 11 of 166



                1   relief, including enjoining Defendants from misrepresenting job placement rates, and collecting on any

                2   ISA or other tuition payment plan entered into while Defendants engaged in such misrepresentations.

                3   II.      THE PARTIES

                4            8.    Plaintiff Jessica Fuller is a resident of Lakewood, Pierce County, Washington. She

                5   signed her ISA on April 22, 2020. She was enrolled as a student at Lambda from June 2020 until

                6   September 2020, at which point she withdrew from her program. Plaintiff Fuller’s ISA is attached as

                7   Exhibit A.

                8            9.    Plaintiff Alexander Goncalves is a resident of Philadelphia, Philadelphia County,

                9   Pennsylvania. He signed his ISA on May 20, 2020. He was enrolled as a student at Lambda from June

              10    2020 until January 2021, at which point he graduated from his program. Plaintiff Goncalves’s ISA is

              11    attached as Exhibit B.

              12             10.   Plaintiff Brett McAdams is a resident of Apopka, Orange County, Florida. He signed his

              13    ISA on June 15, 2020. He was enrolled as a student at Lambda from July 2020 until March 2021, at

              14    which point he graduated from his program. Plaintiff McAdams’s ISA is attached as Exhibit C.

              15             11.   Plaintiff Quinn Molina is a resident of Olympia, Thurston County, Washington. He

              16    signed his ISA on January 8, 2021. He was enrolled as a student at Lambda from January 2021 to May

              17    2022, at which point he graduated from his program. Plaintiff Molina’s ISA is attached as Exhibit D.

              18             12.   Defendant Lambda is a corporation organized and existing under the laws of the State of

              19    Delaware, having its principal place of business at 250 Montgomery Street, Floor 16, San Francisco,

              20    California 94104.

              21             13.   Defendant Austen Allred is Lambda’s founder and CEO. Upon information and belief,

              22    Mr. Allred resides in San Francisco, California.

              23             14.   Defendants John Does 1-9 are officers and/or directors of Lambda as well as individuals,

              24    corporations, or other entities who may own all or a portion of Plaintiffs’ and class members’ ISAs or

              25    other tuition payment plans or another financial interest in such ISAs or tuition payment plans.

              26    III.     JURISDICTION AND VENUE

              27             15.   This Court has subject matter jurisdiction because each cause of action asserted herein

              28    arises under the laws of the State of California.
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                          3
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                        Case 3:23-cv-01440-AGT          Document 1       Filed 03/27/23      Page 12 of 166



                1           16.    This Court has personal jurisdiction over Defendants because Defendant Lambda’s

                2   principal place of business is in the County of San Francisco, California; Defendant Allred, upon

                3   information and belief, resides in the County of San Francisco, California; and Defendants have caused

                4   injuries in the County of San Francisco and the State of California through their acts, and by their

                5   violation of the UCL, FAL, and CLRA.

                6           17.    Venue is proper in the County of San Francisco pursuant to Cal. Civ. Proc. Code §§

                7   395(a) and 395.5.

                8   IV.     FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

                9           A.     LAMBDA BACKGROUND

              10            18.    Lambda is a private, for-profit online coding school founded in 2017 by its current CEO,

              11    Austen Allred. Lambda provides online six and twelve-month computer science courses. It is not a

              12    degree-granting institution, and is not accredited. Students cannot take out federal student loans to

              13    attend Lambda.

              14            19.    At all times relevant to this complaint, Lambda charged between $21,000 and $30,000

              15    for its program, more than double the reported average price of online coding bootcamps. 2

              16            20.    As Lambda’s CEO, Mr. Allred was the company’s primary decisionmaker, in a position

              17    of control over daily operations and aware of the company’s public representations and status with the

              18    BPPE.

              19            21.    As Lambda’s CEO, Mr. Allred also benefited personally from the tuition paid by

              20    Plaintiffs and members of the class.

              21            22.    Lambda marketed itself prominently as a place where students learn the skills necessary

              22    to obtain employment in the competitive computer technology job market. In Mr. Allred’s words, most

              23    students come to Lambda with “no network” and are “from either inner cities or rural areas.” 3

              24

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                    2
              26      See Cecilia Clark, How Much is Coding Boot Camp? Nerdwallet (June 21, 2022, 10:53 AM),
                    https://www.nerdwallet.com/article/loans/student-loans/how-much-is-coding-bootcamp.
              27    3
                      See Y Combinator, A CS Education That’s Free Until You Get a Job - Austen Allred of Lambda
                    School, YouTube (Apr. 3, 2019) at 9:10 (hereinafter “Y Combinator Interview”),
              28    https://www.youtube.com/watch?v=_yIAYZtdrfI&t=551s.
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                          4
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                        Case 3:23-cv-01440-AGT          Document 1       Filed 03/27/23    Page 13 of 166



                1          23.     Lambda has long touted “experienced industry expert” instructors and a top-of-the-line

                2   curriculum that is “designed to get you hired.” On April 3, 2019, Mr. Allred stated that Lambda’s

                3   “educational experience is, I think, among the best in the world.” 4

                4          24.     Lambda’s business model is predicated on convincing prospective students to pay a large

                5   amount of tuition by promising them that they will not owe anything unless and until they find a job

                6   that pays $50,000 or more per year.

                7          25.     Lambda carries out this model by entering into ISAs with students. As Lambda describes

                8   it: “A Lambda School ISA is a contract under which you agree to pay 17% of your post-Lambda School

                9   salary for 24 months, but only once you’re making more than $50,000 per year (or the equivalent of

              10    $4,166.67 per month). The ISA is capped at a maximum repayment of $30,000, so you won’t pay more

              11    than $30,000 under any circumstances.” 5

              12           26.     Lambda ISAs are managed by third-party servicers who handle ISA origination and

              13    payment processing. 6 The ISAs at issue in this case are serviced by Meratas, a loan-servicing company

              14    headquartered in Stamford, Connecticut.

              15           27.     By April 2019, Lambda was growing at “an insane pace.” As Mr. Allred explained:

              16           We agreed as a team to no longer share the number of students that we have enrolled, but
                           it is not a small number and it is growing at an insane pace. We’ll soon be measuring
              17           Lambda School scale by percentage of the overall number of students learning to program
                           every year, to give you some context. And being able to support that kind of scale
              18           effectively is what keeps me up at night. Mostly specifically hiring, mostly hiring
                           executives right now who can build out 100, 150 person teams beneath them . . . and we
              19           need like 5 of them yesterday. 7
              20           28.     Although Lambda may not have wanted to share its enrollment data publicly, in a May

              21    2019 memorandum to its investor Y Combinator, Lambda executives stated:

              22           When a Lambda School student is hired for $75k/yr, they pay us back approximately $25k.
                           At 4,000 placed software engineers/year we'll hit a $100mm/yr run rate. In 2019 we'll
              23

              24    4
                      Id. at 15:05.
                    5
              25      The Lambda School Income Share Agreement, Lambda School Website (scroll to FAQs “What is an
                    ISA and how does it work”), [archived by the Wayback Machine (Dec. 16, 2020),
              26    https://web.archive.org/web/20201216131833/https:/lambdaschool.com/tuition/isa].
                    6
                      The Lambda School Income Share Agreement, Lambda School Website (scroll to FAQs “Who are
              27    Meratas and Leif”), [archived by the Wayback Machine (Dec. 16, 2020),
                    https://web.archive.org/web/20201216131833/https:/lambdaschool.com/tuition/isa].
              28    7
                      Y Combinator Interview at 47:50.
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                         5
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                        Case 3:23-cv-01440-AGT          Document 1        Filed 03/27/23     Page 14 of 166



                1          enroll over 3,000 students. In May 2019 well [sic] enroll over 500. We plan on enrolling
                           more than 10,000 students in 2020.
                2
                           29.      Mr. Allred attributed Lambda’s growth in part to his active personal Twitter account,
                3
                    stating in January 2020 that his frequent tweets have “certainly helped Lambda school grow.” 8
                4
                           30.      Mr. Allred also stated: “If there’s one thing I’m good at in life, it’s growing something
                5
                    quickly, building hype for something quickly. That’s kind of my superpower.” 9
                6
                           B.       UNTIL AUGUST 17, 2020, LAMBDA OPERATED WITHOUT STATE
                7                   APPROVAL, IN VIOLATION OF CALIFORNIA LAW

                8          31.      As a California company with its headquarters and principal place of business in San

                9   Francisco, Lambda is subject to the laws of the state of California. One of those laws, California

              10    Education Code § 94886, bars private postsecondary educational intuitions from doing business without

              11    “approval to operate.”

              12           32.      Another, Section 94917, provides that when educational institutions violate this law, any

              13    “note, instrument, or other evidence of indebtedness relating to payment” for its programs is “not

              14    enforceable.”

              15           33.      All Lambda tuition payment plans, including ISAs, are a “note, instrument, or other

              16    evidence of indebtedness relating to payment for educational program[s],” under the California

              17    Education Code.

              18           34.      On March 20, 2019, the BPPE issued a “Citation: Assessment of Fine and Order of

              19    Abatement” (“Citation”) to Lambda. The Citation found that Lambda was “operating without Bureau

              20    approval,” in violation of the California Education Code. A copy of the Citation is attached hereto as

              21    Exhibit E.

              22           35.      In the Citation, the BPPE ordered that Lambda “cease to operate as a private

              23    postsecondary educational institution” and “submit a school closure plan.” The Citation further required

              24    Lambda to “discontinue recruiting or enrolling students and cease all instructional services and

              25    advertising in any form or type of media, including the https://lambdaschool.com and any other

              26
                    8
              27      Vincent Woo, Interview with Austen Allred, Soundcloud (Jan. 22, 2020) at 42:10 (hereinafter “Woo
                    Interview”), https://soundcloud.com/vwoo/interview-with-austen-allred.
                    9
              28      Y Combinator Interview at 22:25.
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                             6
 LAW OFFICES
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 MCCARTHY, LLP
                       Case 3:23-cv-01440-AGT           Document 1        Filed 03/27/23      Page 15 of 166



                1   websites not identified here that are associated with the Institution, until such time as an approval to

                2   operate is obtained from the Bureau.”

                3          36.     On May 14, 2019, Lambda submitted its application to the BPPE seeking approval to

                4   operate.

                5          37.     Lambda appealed the Citation and, on July 24, 2019, the BPPE issued an “Appeal of

                6   Citation Informal Conference Decision: Citation Affirmed” (the “Citation Affirmance”). The BPPE

                7   affirmed the Citation because “[n]o new substantive facts were presented,” and thus, Lambda was

                8   required to “comply with the orders described in the ‘Violation Code Sections’ of this document and

                9   submit evidence of compliance within 30 days from the date of this decision.” Citation Affirmance at

              10    1–3. A copy of the Citation Affirmance is attached hereto as Exhibit F.

              11           38.     In direct violation of California law, the Citation, and the Citation Affirmance, Lambda

              12    continued to operate, advertise its educational services to the public, and enroll students.

              13           39.     On August 21, 2019, the BPPE denied Lambda’s May 14, 2019 application, stating in a

              14    letter to Lambda that it was “unable to grant approval.” A copy of the August 21 order is attached

              15    hereto as Exhibit G.

              16           40.     On November 25, 2019, the BPPE issued an order denying Lambda’s updated

              17    application for approval, explaining that “at this time the Bureau is unable to grant approval, based on

              18    the requirements of the California Education Code.” A copy of the November 25 order is attached

              19    hereto as Exhibit H.

              20           41.     On June 22, 2020, the BPPE issued yet another order denying Lambda’s further updated

              21    application for approval to operate, stating that “the Bureau cannot at this time approve Lambda’s

              22    application.” A copy of the June 22 order is attached hereto as Exhibit I.

              23           42.     The June 22, 2020 order also found that Lambda’s ISAs constitute “an instrument or

              24    evidence of indebtedness” under the California Education Code. Id. at 5.

              25           43.     On August 17, 2020, the BPPE issued an order approving Lambda’s application. The

              26    approval letter stated that the BPPE had completed its review of Lambda’s “Application for Approval

              27    to Operate,” including “supplemental documentation” received on August 14, 2020. The BPPE found

              28
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                            7
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:23-cv-01440-AGT          Document 1        Filed 03/27/23     Page 16 of 166



                1   that “[a]pproval to operate is granted effective August 17, 2020.” (emphasis added). A copy of the

                2   August 17 order is attached hereto as Exhibit J.

                3           44.     From at least May 2019 until Lambda was approved on August 17, 2020, Lambda’s

                4   course catalogs falsely stated that Lambda was approved by the BPPE. In at least three versions of the

                5   2019 and 2020 catalogs—revised in May 2019, September 2019, and July 2020 (all prior to Lambda’s

                6   approval)—Lambda falsely stated the following:

                7           APPROVALS
                            Lambda School is a private institution approved to operate by the California Bureau for
                8           Private Postsecondary Education. Approval to operate means the institution is compliant
                            with the minimum standards contained in the California Private Postsecondary Education
                9           Act of 2009 (as amended) and Division 7.5 of Title 5 of the California Code of
                            Regulations.
              10

              11    See Exhibit K (Excerpts of Three Versions of Lambda Course Catalogs for 2019 and 2020 at 5)

              12    (emphasis added)).

              13            45.     During the time Lambda was seeking the BPPE’s approval, Mr. Allred engaged in a

              14    public misinformation campaign about Lambda’s legal status. For example, in August 2019, Mr. Allred

              15    told Business Insider that Lambda was working with the BPPE to obtain approval and that the order had

              16    been stayed while the application was pending. Mr. Allred stated that “[b]ecause we’re talking with

              17    BPPE, it doesn’t affect students at all.” 10 This was false.

              18            46.     In truth, the Citation and Citation Affirmance were not stayed, multiple of Lambda’s

              19    applications had been denied, and Lambda’s future was uncertain. In August 2020, a public information

              20    officer with California’s Department of Consumer Affairs told Business Insider “that there is no stay on

              21    the order, and that if Lambda School is still operating while its registration is pending, it would be in

              22    violation of state law.” 11

              23

              24

              25    10
                       Rosalie Chan, The hot Silicon Valley coding bootcamp Lambda School is paying a $75,000 fine for
                    not registering properly with the state of California, Business Insider (Aug. 29, 2019, 6:32 PM),
              26    https://www.businessinsider.com/lambda-school-coding-bootcamp-california-bppe-2019-8.
                    11
                       Rosalie Chan, A California official says red-hot coding bootcamp Lambda School is violating state
              27    law if it operates without the right registration — but the company insists classes can go on, Business
                    Insider (Aug. 30, 2019, 8:54 PM), https://www.businessinsider.com/lambda-school-california-state-
              28    law-coding-bootcamp-y-combinator-2019-8.
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                             8
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 MCCARTHY, LLP
                         Case 3:23-cv-01440-AGT         Document 1       Filed 03/27/23      Page 17 of 166



                1            47.    Had the plaintiffs who signed their ISAs prior to August 17, 2020, been aware that

                2   Lambda was operating without a license, and that its future legal status was uncertain, they would not

                3   have signed an ISA that indebted them for up to $30,000 of tuition at Lambda.

                4            48.    As set forth herein, Plaintiffs seek to represent a BPPE Subclass, comprising students

                5   who entered into an ISA or other tuition payment plan prior to the BPPE’s August 17, 2020, approval,

                6   whose ISAs contain an arbitration clause with a carve-out for any proceeding commenced by either

                7   party seeking an injunction or any other equitable remedy.

                8            49.    All such tuition payment plans, including ISAs, constitute a “note, instrument, or other

                9   evidence of indebtedness relating to payment for [students’] educational program,” under the California

              10    Education Code, and therefore, as a matter of law, are “not enforceable.” California Education Code §

              11    94917.

              12             C.     LAMBDA’S FALSE AND MISLEADING JOB PLACEMENT RATES

              13             50.    Mr. Allred describes Lambda as “entirely vocational, we’re a trade school basically, and

              14    we want to help you make as much money as you can.” 12

              15             51.    One of the most important statistics for prospective students was Lambda’s purported

              16    record of successfully placing students in computer technology careers. Defendants understood that

              17    students would only enroll if Lambda would help them secure a job. As Lambda describes it, job

              18    placement is “the most critical component of Lambda’s operations, not only in the School’s obligation

              19    to its students, but to the prosperity of the company as a whole.”

              20             52.    Lambda prominently displays its purported record of job placement on its website, in

              21    marketing materials and outcomes reports, and on social media, including Mr. Allred’s personal Twitter

              22    account.

              23                    1.      False and misleading job placement rates on Lambda’s website and
                                            outcomes reports
              24

              25             53.    Throughout at least 2018 and 2019, Lambda’s website advertised job placement rates of

              26    over 80%. Lambda’s executive leadership, including Mr. Allred, knew that these widely disseminated

              27    rates were false and misleading.

              28    12
                         Y Combinator Interview at 13:00.
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                            9
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                         Case 3:23-cv-01440-AGT         Document 1       Filed 03/27/23      Page 18 of 166



                1           54.    On August 2, 2018, Mr. Allred, Ben Nelson (co-founder and CTO), and Ryan Holdaway

                2   (VP of Outcomes), stated the following in a post on the Lambda School Blog: “[E]very single Lambda

                3   School graduate who has been on the job market for six months is either employed in a full-time role as

                4   a software engineer or has joined an early startup working for equity.” 13

                5           55.    Yet on August 3, 2018—the very next day—Lambda’s executive leadership team

                6   reprimanded Lambda’s Director of Career Readiness for poor job placement rate performance, sending

                7   her an “Employee Corrective Action Form.” The form stated that the employee’s “performance in

                8   recent months has not met the expectations for the Career Coach/Director of Career Readiness role at

                9   Lambda School. Overall placement numbers are low and the time to placement is much higher than

              10    desired.”

              11            56.    The Corrective Action Form continued:

              12            Placements are the most critical component of Lambda’s operations, not only in the
                            School’s obligation to its students, but to the prosperity of the company as a whole. A
              13            common discussion point in regards to Outcomes is that current placement rates are too
                            low and time to placement is too high. Creative tactics and adjustments to current careers
              14            processes as well as follow through are needed to improve both of these measurements. .
                            ..
              15
                            CS1 students graduated on 1/19/18. Since then we’ve had a new class graduate
              16            approximately every five weeks. As of 8/1/18, only 16 students of the 48 graduated
                            students assigned to [the Lambda career placement employee] have been placed.
              17

              18            57.    Two months later, on October 8, 2018, Lambda continued to tout its high job placement

              19    rates, announcing on its website: “Since Lambda School’s inception in April 2017, over 75 Lambda

              20    School graduates have been hired, including 83% of early cohorts, with an average salary increase of

              21    over $47,000 per hired graduate.”

              22            58.    Lambda’s homepage contained the following statement across the top of the page:

              23    ///

              24    ///

              25    ///

              26
                    13
                      Austen Allred, Introducing Lambda Next — Our Revolutionary New Job Search and Placement
              27    Program, Medium: Lambda School Blog (Aug. 2, 2018), https://medium.com/lambda-school-
                    blog/introducing-lambda-next-our-revolutionary-new-job-search-and-placement-program-
              28    603ef12f7d37.
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                        10
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 MCCARTHY, LLP
                         Case 3:23-cv-01440-AGT        Document 1       Filed 03/27/23    Page 19 of 166



                1                         Screenshot from Lambda’s website on December 13, 2018.

                2

                3

                4

                5

                6

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                8           59.    The representation of an 83% job placement rate remained on the Lambda website until

                9   on or about February 2019.

              10            60.    The disparity between Lambda’s public representations and private statements would

              11    only grow. From on or about April 2019 until at least December 2019, Lambda’s website advertised a

              12    job placement rate of over 85%. For example, on April 18, 2019, Lambda’s homepage contained the

              13    following statement across the top of the page:

              14                             Screenshot from Lambda’s website on April 18, 2019.

              15

              16

              17

              18

              19

              20            61.    On March 5, 2019, Lambda’s official Twitter account provided a link to a report touting

              21    the 85.9% job placement rate and stated: “Lambda only succeeds when our students succeed, and we’re

              22    committed to a transparent, no-surprises approach to education.” 14

              23            62.    In May of 2019—at the same time Lambda was advertising an 85.9% job placement rate

              24    and touting its transparency—Lambda executives sent a private memorandum to investor Y

              25    Combinator. See Lambda Memorandum to Investors, Human Capital: The Last Unoptimized Asset

              26    Class at 10 (May 2019), attached hereto as Exhibit L. The May 2019 memo stated:

              27
                    14
                       Lambda School (@LambdaSchool), Twitter (Mar. 5, 2019, 7:02 PM),
              28    https://twitter.com/bloomtech/status/1103083315945328640.
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                     11
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 MCCARTHY, LLP
                         Case 3:23-cv-01440-AGT          Document 1      Filed 03/27/23     Page 20 of 166



                1                  We’re unable to place students at scale
                                   - We’re at roughly 50% placement for cohorts that are 6 months
                2                    graduated
                                   - Placement to date has been manual and one-off, which isn’t
                3
                                   possible at scale
                4

                5   Ex. L at 10.

                6            63.    After the memorandum was published in news accounts two years later, Mr. Allred

                7   tweeted from his personal account that he was the one who made the 50% placement representation to

                8   investors, stating: “The 50% came from me telling investors about what % of enrolled students get jobs

                9   that require repayment.”

              10             64.    Despite Mr. Allred’s contrary statement to investors, Lambda’s website continued to

              11    represent an 85.9% or 86% placement rate through the end of 2019. These rates were false and

              12    misleading.

              13             65.    On December 14, 2019, Lambda’s homepage stated:

              14

              15

              16

              17

              18

              19

              20
                                            Screenshot from Lambda’s website on December 14, 2019.
              21

              22             66.    This statement was false and directly contrary to the true facts known to Lambda and

              23    Mr. Allred, which had privately been disclosed to investors, as described above.

              24             67.    When asked in an interview to explain the discrepancy between the representations on

              25    Lambda’s website and representations to its investors, Mr. Allred explained: “I mean you’re literally

              26    looking at what are the risks, right? Like,we’re going to pick our lowest number for that – there are

              27    cohorts that have been at 50% placed within 6 months, yes.” 15

              28    15
                         Woo Interview at 13:00-14:30.
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                         12
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:23-cv-01440-AGT           Document 1         Filed 03/27/23   Page 21 of 166



                1           68.     When asked whether the advertised 86% job placement rate was accurate, he stated: “the

                2   way that that number was measured was an average across cohorts at a specific time. I don’t know what

                3   it is right now, but that’s directionally correct.” 16

                4           69.     On February 19, 2020, New York Magazine published an article titled “Lambda

                5   School’s Misleading Promises,” in which the writer concluded that Lambda was “selling unprepared

                6   students an incomplete education, fueled by overpromising marketing and misleading, if not downright

                7   fraudulent, figures.” 17 The story described Lambda’s job placement rate misrepresentations and also

                8   recounted an interview with a former employee who “confirmed . . . that the company’s own internal

                9   numbers, which the interviewee was provided as part of their interview process, seem to indicate a

              10    roughly 50 percent or lower placement rate.” 18

              11            70.     Lambda nonetheless persisted in promoting false and misleading job placement statistics

              12    on its website and elsewhere.

              13            71.     In 2020, Lambda started to promote its placement rates through “outcomes reports”

              14    published on its website and shared through social media. The first outcomes report, titled “H1 2019

              15    Outcomes Report,” was published on March 27, 2020 19, and reported a 79% placement rate. 20

              16    ///

              17    ///

              18    ///

              19    ///

              20    ///

              21
                    16
              22       Id. at 11:13-11:26.
                    17
                       Vincent Woo, Lambda School’s Misleading Promises, New York Magazine (Feb. 19, 2020),
              23    https://nymag.com/intelligencer/2020/02/lambda-schools-job-placement-rate-is-lower-than-
                    claimed.html.
              24    18
                       Id.
                    19
              25       See Austen Allred, Announcing the Release of Our H1 2019 Student Outcomes Report, Lambda
                    School Website (Mar. 27, 2020), [archived by the Wayback Machine (Apr. 23, 2020),
              26    https://web.archive.org/web/20200423031203/https:/lambdaschool.com/the-commons/announcing-the-
                    release-of-our-h1-2019-student-outcomes-report].
              27    20
                       See H1 2019 Report Lambda School Outcomes Report, Lambda School Website, [archived by the
                    Wayback Machine (Sept. 3, 2020),
              28    https://web.archive.org/web/20200903023542/https:/lambdaschool.com/reports/2019-outcomes-report].
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                        13
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:23-cv-01440-AGT       Document 1         Filed 03/27/23     Page 22 of 166



                1           72.    The 79% placement rate remained up on Lambda’s website until December 3, 2020,

                2   when Lambda published its “H2 2019 Outcomes Report.” 21 The H2 2019 report showed a 74%

                3   placement rate. 22

                4           73.    The 74% rate announced in the H2 2019 report remained up on Lambda’s website until

                5   November 7, 2021, when Lambda announced its 2020 outcomes. 23 In the 2020 outcomes report,

                6   Lambda announced that the placement rate remained at 74%.

                7           74.    Until November 1, 2022, Lambda continued to report the 74% placement rate from the

                8   2020 outcomes report on its website:



                                                                  74%
                9
              10

              11
                                             Job placement rate for BloomTech graduates
              12                                           BloomTech 2020 Outcomes Report

              13
                                          Screenshot from Lambda’s homepage on September 30, 2022. 24
              14

              15            75.    On November 2, 2022, Lambda published the “BloomTech 2021 Outcomes Report,”

              16    advertising a 90% placement rate. As of November 2, 2022, Lambda’s website provided:

              17

              18
                    21
              19       See Austen Allred, Announcing the Release of Our H2 2019 Student Outcomes Report, Lambda
                    School Website (Dec. 3, 2020), [archived by the Wayback Machine (Dec. 14, 2020),
              20    https://web.archive.org/web/20201214214247/https:/lambdaschool.com/the-commons/announcing-
                    lambda-school-h2-2019-student-outcomes-report].
              21    22
                       Id. See also H2 2019 Report Lambda School Outcomes Report, Lambda School Website [archived by
              22    the Wayback Machine (Dec. 3, 2020),
                    https://web.archive.org/web/20201203230224/https:/lambdaschool.com/reports/h2-2019-outcomes-
              23    report].
                    23
                       See Bloom Institute of Technology 2020 Outcomes Report, Bloom Institute of Technology, [archived
              24    by the Wayback Machine (Nov. 25, 2021),
              25    https://web.archive.org/web/20211125162824/https:/www.bloomtech.com/reports/outcomes-report].
                    It appears that Lambda only published one outcomes report in 2020. See BloomTech Reports, Bloom
              26    Institute of Technology Website, https://www.bloomtech.com/reports/archive (last visited Mar. 14,
                    2023).
              27    24
                       See Built For Your Success, Bloom Institute of Technology Website, [archived by the Wayback
                    Machine (Sept. 30, 2022)
              28    https://web.archive.org/web/20220930032702/https://www.bloomtech.com/outcomes].
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                 14
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:23-cv-01440-AGT          Document 1        Filed 03/27/23      Page 23 of 166




                                                                  90%
                1

                2

                3                                  Job placement rate for BloomTech graduates
                4                                           BloomTech 2021 Outcomes Report

                5
                                            Screenshot from Lambda’s homepage on November 27, 2022. 25
                6

                7           76.    In a “Letter from the CEO” dated November 2, 2022, Mr. Allred wrote: “In this

                8   independently examined report, you’ll gain a transparent view of how our learners and graduates fared

                9   in 2021. Our biggest takeaway: A full 90% of our 2021 graduates have landed jobs, which is the

              10    highest rate in our company’s history.” 26

              11            77.    Lambda’s website still advertises a 90% placement rate. As of March 14, 2023,

              12    Lambda’s homepage touts a “90% job placement rate for 2021 job-seeking graduates. 27”

              13            78.    Like the earlier rates from 2018 and 2019, the published rates from 2020 to the present

              14    were, and continue to be, false and misleading.

              15            79.    Business Insider reported in October 2021 that documents from a Lambda “all-hands”

              16    meeting in January 2021 “showed that Lambda School placed only around 30% of its 2020 graduates in

              17    qualifying jobs during the first half of 2020. This figure is in stark contrast to the 74% placement rate it

              18    advertised for its 2019 graduates, the latest figure the school has made publicly available. . . .” 28

              19            80.    This “all hands” meeting took place one month after Lambda published the 74%

              20    placement rate in the H2 2019 Outcomes Report.

              21
                    25
              22       See Built For Your Success, Bloom Institute of Technology Website, [archived by the Wayback
                    Machine (Nov. 27,
              23    2022), https://web.archive.org/web/20221127122732/https:/www.bloomtech.com/outcomes].
                    26
                       See Austen Allred, Letter from the CEO, Bloom Institute of Technology Website (Nov. 2, 2022),
              24    https://www.bloomtech.com/reports/outcomes-report#letter (last visited Mar. 14, 2023) (emphasis in
              25    original, internal citation omitted).
                    27
                       See Built for Your Success, Bloom Institute of Technology of Technology Website
              26    https://www.bloomtech.com/outcomes?utm_source=bloomtech (last visited Mar. 14, 2023).
                    28
                       See Vincent Woo, Lambda School promised a fast and cheap path to a lucrative tech career. Leaked
              27    documents and former students cast doubt on that claim. Business Insider (Oct. 25, 2021, 7:30 AM),
                    https://www.businessinsider.com/lambda-school-promised-lucrative-tech-coding-career-low-job-
              28    placement-2021-10.
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                           15
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                       Case 3:23-cv-01440-AGT         Document 1       Filed 03/27/23     Page 24 of 166



                1          81.    A slide prepared by Lambda reveals that the H1 2020 placement rate was only 33% and

                2   the H2 2020 rate was 40%, a far cry from the 74% listed on the Lambda website until November 2,

                3   2022. According to the same slide, Lambda’s H1 2021 goal was 60% placement and H2 2021 goal was

                4   80%:

                5

                6

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              16    On information and belief, a Lambda executive presented the slide at the “all-hands” meeting.
              17           82.    Another slide, titled “Lambda H1 Company OKRs,” provided that the “actual”
              18    placement rate for H1 2020 was 33% of graduates placed within 180 days, and the actual rate for H2
              19    2020 (as of October 2020) was 27% of graduates placed within 180 days. This slide also listed the H1
              20    2021 goal as 60%:
              21    ///
              22    ///
              23    ///
              24    ///
              25    ///
              26    ///
              27    ///
              28    ///
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                      16
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 MCCARTHY, LLP
                       Case 3:23-cv-01440-AGT         Document 1      Filed 03/27/23     Page 25 of 166



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              13
                           83.    Another slide, reportedly used at another all-hands meeting in February 2021, broke out
              14
                    the 180-day placement rates by month, from February to July 2020, as follows:
              15

              16

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       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                    17
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                         Case 3:23-cv-01440-AGT         Document 1        Filed 03/27/23     Page 26 of 166



                1           84.     In yet another slide, reportedly also used at the “all hands” meeting on January 28, 2021,

                2   Lambda’s H1 2021 “goal” was to enroll 500 students a month and place 50% to 70% in qualifying jobs.

                3   The graph also shows that, if Lambda enrolled 2,000 students per month, it could become profitable

                4   even if fewer than half of its students found jobs:

                5

                6

                7

                8

                9
              10

              11

              12

              13

              14

              15

              16

              17            85.     Prior to signing their ISAs, Plaintiffs read Defendants’ representations that Lambda’s job
              18    placement rate was above 70%. Lambda’s purported record of successfully placing students was critical

              19    to their decision to enroll.

              20                    2.      Mr. Allred’s false and misleading statements about job placement on
                                            Twitter
              21

              22            86.     In conjunction with these high rates, Mr. Allred has long painted a misleading picture of

              23    Lambda’s success on Twitter. For example, on November 16, 2019, he tweeted: “First track just

              24    graduated. Hit 100% hired but was VERY small sample size.” Subsequent reporting revealed that this

              25    small sample size consisted of a single student. 29

              26
                    29
                       See Zoe Schiffer & Megan Farokhmanesh, The High Cost of a Free Coding Bootcamp, The Verge
              27    (Feb. 11, 2020, 11:15 EST), https://www.theverge.com/2020/2/11/21131848/lambda-school-coding-
                    bootcamp-isa-tuition-cost-free; Ryan Mac (@RMac18), Twitter (Feb. 11, 2020, 1:59 PM),
              28    https://twitter.com/RMac18/status/1227306243733295108.
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                        18
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:23-cv-01440-AGT         Document 1       Filed 03/27/23     Page 27 of 166



                1           87.     Other examples of false, misleading, and exaggerated claims on Mr. Allred’s Twitter

                2   account include:

                3                 a) January 24, 2021: “I think we’re like 2-3 solvable problems being solved away from
                                     100% of Lambda School grads being hired. Still a lot of unknowns, but I think it will be
                4                    possible.” When a commenter asked what the problems were, Mr. Allred responded:
                                     “Boring stuff.” 30
                5
                                  b) April 22, 2021: “When I started Lambda School early detractors gave me hell because I
                6                    said that Lambda School would cause thousands of people to become millionaires who
                                     wouldn’t have otherwise been. It’s now pretty clear that was very conservative.” 31
                7
                                  c) May 4, 2021: “I get to watch a bunch of people double their income (or more) every
                8                    single day. Even the worst days are punctuated by a bunch of people changing their
                                     lives and the lives of their families forever.” 32
                9
                                  d) May 4, 2021: “You can go from near poverty to huge future wealth in just a few
              10                     months.” 33
              11                  e) November 24, 2022: “Thankful today for all those who have worked so hard for
                                     BloomTech (by current name or by Lambda School). So many people working so
              12                     diligently. Thousands of lives changed, billions in increased earnings.” 34
              13            88.     Mr. Allred and members of his executive leadership team acted willfully and knowingly

              14    to disseminate Lambda’s job placement representations to the public—including applicants to their

              15    school such as Plaintiffs —with knowledge that they were, and continue to be, false and misleading.

              16                    3.     While inflating its job placement rates, Lambda misrepresents that it only
                                           gets paid once students do
              17

              18            89.     In addition to the placement rates, Lambda and Mr. Allred misled the public with the

              19    frequently repeated declaration that: “We don’t get paid until you do, so we’re in this together, from

              20    your first day of classes to your first day on the job.” 35 For example, on June 27, 2019, Lambda’s

              21    homepage stated:

              22
                    30
                       Austen Allred (@Austen), Twitter (Jan. 24, 2021, 1:55 AM),
              23    https://twitter.com/austen/status/1353234915643568128.
                    31
                       Austen Allred (@Austen), Twitter (Apr. 22, 2021, 10:24 AM),
              24    https://twitter.com/Austen/status/1385238109185396740.
                    32
              25       Austen Allred (@Austen), Twitter (May 4, 2021, 11:50 PM),
                    https://twitter.com/Austen/status/1389789532761956352.
                    33
              26       Austen Allred (@Austen), Twitter (May 4, 2021, 11:53 PM),
                    https://twitter.com/Austen/status/1389790386659364868.
              27    34
                       Austen Allred (@Austen), Twitter (Nov. 24, 2022, 9:51 AM),
                    https://twitter.com/austen/status/1595822473781485568.
              28    35
                       See, e.g., Apply Now Pages, Lambda School Website [archived by the Wayback Machine (June 27,
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                          19
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                       Case 3:23-cv-01440-AGT            Document 1        Filed 03/27/23      Page 28 of 166



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                7                                 Screenshot from Lambda’s homepage on June 27, 2019.
                8          90.       In reality, Lambda packaged and sold its ISAs to investors long before students obtained

                9   employment. As early as May 2019, Lambda privately told investor Y Combinator: “Currently we sell

              10    some income share agreements to hedge funds.” Ex. L at 2.

              11           91.       To facilitate the sale of ISAs, Lambda partnered with Edly, a digital marketplace that

              12    helps schools sell ISAs to third-party investors. On December 11, 2019, Edly tweeted: “Pleased to

              13    announce our latest offering [–] a Lambda School ISA Pool. We @edlyISA are excited to work with the

              14    amazing team @LambdaSchool[], one of the most impactful ISA programs in the country.” 36 To learn

              15    how to participate, Edly invited interested investors to join a webinar that night with Mr. Allred. 37

              16           92.       Lambda did not disclose this fact to students until public reporting exposed it, and for

              17    many months Mr. Allred flatly denied it, stating in October 2019 on Twitter that “We never, ever get

              18    paid up front for ISAs.” 38

              19           D.        LAMBDA ENGAGED—AND STILL ENGAGES—IN THE UNLAWFUL
                                     BUSINESS PRACTICE OF UNLICENSED LENDING
              20

              21           93.       The California Financing Law “shall be liberally construed and applied to promote its

              22    underlying purposes and policies,” which include “protect[ing] borrowers against unfair practices by

              23    some lenders, having due regard for the interests of legitimate and scrupulous lenders.” Cal. Fin. Code

              24    § 22001(a)(4).

              25
                    2019), https://web.archive.org/web/20190627024024/https:/lambdaschool.com/].
                    36
              26       @edlyISA, Twitter (Dec. 11, 2019, 3:01 PM),
                    https://twitter.com/edlyISA/status/1204853625459216385 (on file with Plaintiffs’ counsel).
              27    37
                       @edlyISA, Twitter (Dec. 11, 2019, 3:02 PM),
                    https://twitter.com/edlyISA/status/1204853900177743872(on file with Plaintiffs’ counsel).
              28    38
                       Woo Interview at 6:30 (wherein Mr. Allred confirms that this tweet was “totally correct”).
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                             20
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COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:23-cv-01440-AGT        Document 1        Filed 03/27/23      Page 29 of 166



                1           94.    Pursuant to the California Financing Law: “No person shall engage in the business of a

                2   finance lender or broker without obtaining a license from the commissioner.” Cal. Fin. Code §

                3   22100(a).

                4           95.    Lambda is not and never has been registered in California as a finance lender or broker

                5   under the Financing Law.

                6           96.    Since its inception, Lambda has operated as a “finance lender” because both its ISAs and

                7   other tuition payment plans qualify as either consumer or commercial loans under the Financing Law.

                8   See generally Cal. Fin. Code § 22203-04 (defining consumer loans); Cal. Fin. Code § 22502 (defining

                9   commercial loans).

              10            97.    Lambda’s Meratas ISA provides:

              11                   THIS IS NOT A LOAN
                                   In making monthly payments to Lambda School, you will not be repaying
              12                   a student loan. In the case of a student loan, a student borrows a set amount
                                   and repays the principal amount of the loan plus interest or a finance charge,
              13                   or both. Under this agreement, you will instead pay a fixed percentage of
                                   your income each month for up to a maximum number of payments.
              14

              15            98.    Contrary to this representation, ISAs are a form of student loan.

              16            99.    According to the United States Consumer Financial Protection Bureau (“CFPB”), a

              17    representation that an ISA is “not a loan” is deceptive and misleading under the Consumer Financial

              18    Protection Act because “ISAs are loans and do create debt.” 39

              19            100.   The California Department of Financial Protection and Innovation (“DFPI”) agrees,

              20    holding that ISAs are student loans: “ISAs made solely for use to finance a postsecondary education are

              21    ‘student loans’ for the purposes of the SLSA [California Student Loan Servicing Act].” 40

              22

              23
                    39
                       See Better Future Forward, Inc., et al., CFPB No. 2021-CFPB-0005, Consent Order at ¶ 23 (Sept. 7,
              24    2021) (finding available at: https://files.consumerfinance.gov/f/documents/cfpb_better-future-forward-
                    inc_consent-order_2021-09.pdf).
              25    40
                       See In the Matter of Student Loan Servicing Act License Application of Meratas Inc. NMLS No.
                    2120180, Consent Order at ¶ M (Ca. Dep’t of Fin. Prot. and Innovation Aug. 5, 2021), available at:
              26    https://dfpi.ca.gov/wp-content/uploads/sites/337/2021/08/Meratas-Consent-Order.pdf; see also Press
                    Release, California Dep’t of Fin. Prot. and Innovation, “California DFPI Enters Groundbreaking
              27    Consent Order with NY-Based Income Share Agreements Servicer” (Aug. 5, 2020),
                    https://dfpi.ca.gov/2021/08/05/california-dfpi-enters-groundbreaking-consent-order-with-ny-based-
              28    income-share-agreements-servicer/.
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                       21
 LAW OFFICES
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 MCCARTHY, LLP
                         Case 3:23-cv-01440-AGT         Document 1       Filed 03/27/23      Page 30 of 166



                1           101.   The United States Department of Education concurs, finding that ISAs “used to finance

                2   expenses for postsecondary education are private education loans under 34 C.F.R. 601.2(b).” 41

                3           102.   The BPPE also found in its June 22, 2020, order denying Lambda approval to operate

                4   that Lambda’s ISA is “an instrument or evidence of indebtedness” under the California Education

                5   Code. See June 22, 2020 Letter from BPPE to Lambda at 5, attached hereto as Exhibit I.

                6           103.   Because Lambda is in the business of making ISAs and other tuition payment plans, it is

                7   operating as a finance lender under the California Financing Law.

                8           104.   Lambda’s failure to register as a finance lender deprived Plaintiffs and the class of the

                9   borrower protections provided by the California Financing Law.

              10            105.   Lambda has therefore engaged in the unlawful business practice of making a loan

              11    without a license in violation of California Financial Code § 22100, and, in turn, in violation of the

              12    unlawful prong of the UCL.

              13            E.     PLAINTIFFS ATTEND LAMBDA, ATTRACTED BY HIGH JOB PLACEMENT
                                   RATES
              14
                                   1.      Plaintiff Jessica Fuller
              15

              16            106.   Ms. Fuller has long been interested in coding, back to when she learned website design

              17    as a hobby as a kid. She aspired to eventually turn her hobby into a career, but the time commitment

              18    and expense of college curricula made them a nonstarter.

              19            107.   Once Ms. Fuller experienced a lull in her work as a fitness trainer during the onset of the

              20    COVID-19 pandemic, she thought she had an opportunity to revisit a tech career. Lambda was

              21    immediately appealing, with a slew of Facebook ads promising a career without college. After seeing

              22    the ads, she visited Lambda’s website and watched YouTube videos about the program to learn more.

              23    She was immediately drawn to the job placement rate of approximately 80% featured prominently on

              24    the Lambda website.

              25
                    41
              26      See FSA Announcement, General-22-12, Income Share Agreements and Private Education Loan
                    Requirements (Mar. 2, 2022), https://fsapartners.ed.gov/knowledge-center/library/electronic-
              27    announcements/2022-03-02/income-share-agreements-and-private-education-loan-requirements. See
                    also 87 Fed. Reg. 65,453 (“[T]he Department clarifies that ISAs and other alternative financing
              28    products should be treated like institutional loans.”).
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                            22
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:23-cv-01440-AGT         Document 1        Filed 03/27/23      Page 31 of 166



                1           108.    This record of successfully placing students was critical to her decision to enroll, and led

                2   her to believe that her enrollment would result in being hired for a tech position.

                3           109.    Swayed by Defendants’ advertised job placement rates and representations, Ms. Fuller

                4   signed an ISA with Lambda on April 22, 2020. A copy of Ms. Fuller’s ISA is attached hereto as Exhibit

                5   A.

                6           110.    Had Defendants truthfully represented their job placement rates, Ms. Fuller would not

                7   have signed an ISA that indebted her up to $30,000 of tuition to Lambda.

                8           111.    Ms. Fuller began attending Lambda part-time in June 2020 and immediately found the

                9   instruction confusing. Recognizing that she could not rely on Lambda exclusively, she resorted to

              10    buying supplemental YouTube courses.

              11            112.    Soon thereafter, in early September 2020, Lambda made a surprise announcement that it

              12    was restructuring Ms. Fuller’s program. Lambda would no longer take attendance, provide grading, or

              13    offer one-on-one team leads. Feeling like Lambda was eliminating the program she originally enrolled

              14    in, and with her ISA tuition amount of $30,000 still partially refundable, Ms. Fuller took a hiatus for the

              15    rest of 2020. With no sign that Lambda would improve its program, she permanently withdrew in

              16    January 2021.

              17            113.    Following her withdrawal, Ms. Fuller researched other avenues for obtaining a job in the

              18    tech field. She eventually found a free coding bootcamp called #100Devs, designed for students without

              19    degrees or coding experience. She felt like the program was the right fit for her, and could provide her

              20    with the skills, experience, and opportunities Lambda did not.

              21            114.    Indeed, the #100Devs program taught Ms. Fuller what she needed to ultimately get a job.

              22    Her new coding skills enabled her to apply for and accept a position as Director of Software

              23    Development with ThriveDX.

              24            115.    Lambda played no role in her success in the #100Devs program, finding out about

              25    ThriveDX, or ultimately getting hired there.

              26            116.    Ms. Fuller is interested in increasing her hours, but worries that doing so could cause

              27    Lambda or Meratas to pursue ISA payments, even though Lambda did not have approval to operate

              28
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                           23
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COTCHETT, PITRE &
 MCCARTHY, LLP
                       Case 3:23-cv-01440-AGT          Document 1        Filed 03/27/23      Page 32 of 166



                1   when she signed her ISA, she would not have signed her ISA had Lambda truthfully represented its job

                2   placement rates, and Lambda played no role in her employment with ThriveDX.

                3                  2.      Plaintiff Alexander Goncalves

                4          117.    Mr. Goncalves has long had an interest in working in the tech field. During college he

                5   completed coding coursework, on top of additional self-taught software development skills. After he

                6   was let go from his sales job at a tech startup during the onset of the COVID-19 pandemic in the spring

                7   of 2020, Mr. Goncalves began researching Lambda based on a friend’s recommendation. The friend

                8   was optimistic about Lambda landing students jobs, based on Lambda’s marketed job placement rates

                9   and job readiness curriculum. (The friend later became disillusioned with Lambda after learning the job

              10    placement rates were inflated.)

              11           118.    When Mr. Goncalves reviewed Lambda’s website and promotional materials for

              12    himself, he was likewise attracted by Lambda’s impressive—and prominently displayed—job

              13    placement rate, as well as the ability to enroll without putting any money down. He corresponded and

              14    talked on the phone with Lambda representative Tommy Collison who further touted high job

              15    placement figures. Based on these representations, Mr. Goncalves felt confident Lambda would get him

              16    a tech job. He signed an ISA with Lambda on May 20, 2020. A copy of Mr. Goncalves’s ISA is

              17    attached hereto as Exhibit B.

              18           119.    Had Defendants truthfully represented their job placement rates, Mr. Goncalves would

              19    not have signed an ISA that indebted him for up to $30,000 of tuition to Lambda.

              20           120.    Mr. Goncalves began attending Lambda full-time in June 2020. As with Ms. Fuller,

              21    Lambda soon restructured Mr. Goncalves’s program in September 2020, shortening it from a total of

              22    nine months to six months and eliminating team lead support. The loss of team leads was demoralizing.

              23    They were the primary means of communicating with Lambda, asking questions, and getting essential

              24    debugging help. Still, he persevered and completed his coursework in December and received a

              25    certificate of completion in January 2021.

              26           121.    Mr. Goncalves immediately went to work trying to find a job. He used Lambda’s job

              27    portal, but its postings were either stale or for impractical positions. He ultimately found work through

              28    a friend unassociated with Lambda. He first worked as a limited-term front-end developer during the
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                         24
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                       Case 3:23-cv-01440-AGT          Document 1        Filed 03/27/23     Page 33 of 166



                1   spring of 2021. The same friend then invited him to a different position with the organization Code

                2   Ninjas in Boston. During his time with Code Ninjas, between June and December 2021, Mr. Goncalves

                3   taught basic coding to kids and ran summer camps and day courses. Lambda played no role in Mr.

                4   Goncalves finding either his front-end developer or Code Ninjas positions.

                5          122.    Mr. Goncalves then accepted a job as a software engineer for Virtually, an edtech

                6   company, and worked there until June 2022. After Virtually let him go to look for a more senior

                7   engineer, Mr. Goncalves found a tech position with design company MODerati. As with his prior jobs,

                8   Lambda played no role in Mr. Goncalves finding either of these positions.

                9          123.    Mr. Goncalves started making payments on his ISA while working for Code Ninjas and

              10    continued during his time with Virtually. In all, he has paid nearly $10,000 towards his ISA, even

              11    though Lambda did not have approval to operate when he signed his ISA, Mr. Goncalves would not

              12    have signed his ISA had Lambda truthfully represented its job placement rates, and Lambda played no

              13    role in him finding any of his post-Lambda employment.

              14                   3.     Plaintiff Brett McAdams

              15           124.    Mr. McAdams’s interest in coding was pragmatic, believing that people who learn to

              16    code get good-paying jobs. He first heard of Lambda while looking into coding programs in 2019. Soon

              17    after starting his research, he received targeted ads on Google, YouTube, and social media from

              18    Lambda. The ads touted a high job placement rate, how quickly students could get their certificate and a

              19    high-paying job, and the lack of an up-front cost or any repayment obligation unless students ultimately

              20    got a job. By the ads’ telling, Lambda was a revolutionary alternative to college.

              21           125.    When Mr. McAdams was laid off from his job in the spring of 2020 at the onset of the

              22    COVID-19 pandemic, he decided to consider attending a coding program to start a career in tech. He

              23    researched Lambda’s website, which prominently displayed a job placement rate approaching 80%,

              24    convincing him that Lambda was the best path forward. After a call with a Lambda representative, he

              25    signed an ISA on June 15, 2020. A copy of Mr. McAdams’s ISA is attached hereto as Exhibit C.

              26           126.    Had Defendants truthfully represented their job placement rates, Mr. McAdams would

              27    not have signed an ISA that indebted him up to $30,000 of tuition to Lambda.

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       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                       25
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                       Case 3:23-cv-01440-AGT           Document 1        Filed 03/27/23      Page 34 of 166



                1          127.     Mr. McAdams began attending Lambda full-time in early July 2020. But as with Ms.

                2   Fuller and Mr. Goncalves, Lambda quickly restructured Mr. McAdams’s program in September 2020

                3   by shortening it from nine to six months, removing the existing support structure for reviewing work,

                4   and eliminating team lead support. Since the team leads had been an essential component of Lambda’s

                5   education up to that point, Mr. McAdams thought their elimination seemed troubling. He decided to

                6   take a hiatus for the fall of 2020, picking up full-time hours as a bartender.

                7          128.    Mr. McAdams returned in late 2020 with ambivalence. While there was no sign Lambda

                8   had improved its program, he had already invested significant time and expense. Already on the hook,

                9   he resolved to learn as much as he could through Lambda.

              10           129.    To his surprise, immediately upon returning, Lambda assigned Mr. McAdams as an

              11    unpaid team lead to fill the void left by their elimination. The assignment was not optional, Lambda

              12    provided no support on how to serve as a team lead, and Mr. McAdams did not find any educational

              13    value in the experience. After returning, he spent roughly a third of his Lambda education time

              14    mentoring other students.

              15           130.    He finished the Lambda program in February 2021 and received his certificate of

              16    completion.

              17           131.    Mr. McAdams immediately got to work trying to find a tech job, but Lambda’s

              18    resources were unhelpful—a job portal lacking useful leads, and resume reviewers with no useful

              19    feedback. He continued bartending while looking for tech work and studying on his own what Lambda

              20    failed to teach him.

              21           132.    After several months, Mr. McAdams was hired as a backend systems engineer

              22    contracting with Florida Blue in August 2021. He eventually moved up the ranks to become senior

              23    engineer. Lambda played no role in him finding out about the position, and played no role in ultimately

              24    getting hired. As most of the skills and material discussed in Mr. McAdams’s interview was self-taught

              25    after he had finished with Lambda, it was his own studying that landed him the job.

              26           133.    Mr. McAdams made an ISA payment of approximately $1,000 in 2021, even though

              27    Lambda did not have approval to operate when he signed his ISA, and even though he would not have

              28    signed his ISA had Lambda truthfully represented its job placement rates.
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                         26
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                       Case 3:23-cv-01440-AGT          Document 1        Filed 03/27/23     Page 35 of 166



                1                  4.     Plaintiff Quinn Molina

                2          134.    Mr. Molina became interested in transitioning to programming work in 2020 while

                3   working for a company doing wholesale shipping. To get his feet wet, he enrolled in short-term, free

                4   coding camps while continuing his day job. As he searched for additional coding education

                5   opportunities in November 2020, he noticed numerous ads on Google and social media touting

                6   Lambda.

                7          135.    After some research, Mr. Molina was attracted to Lambda’s program based on promising

                8   job placement rates of approximately 80%, and the ISA model that didn’t require him to put any money

                9   down. He consulted with his brother, a self-taught coder and web developer, who was likewise

              10    impressed by the high job placement rate. After significant research and consultation, and ultimately

              11    swayed by the high placement rates, Mr. Molina signed an ISA on January 8, 2021. A copy of Mr.

              12    Molina’s ISA is attached hereto as Exhibit D.

              13           136.    Had Defendants truthfully represented their job placements rates, Mr. Molina would not

              14    have signed an ISA that indebted him up to $30,000 of tuition to Lambda.

              15           137.    Mr. Molina began attending Lambda part-time in January 2021. Lambda diluted the

              16    program and made it far less rigorous soon after the refund period for Mr. Molina’s ISA had passed.

              17    Lambda dropped the part-time program option, along with multiple project requirements, assessments,

              18    and support staff. Mr. Molina had expected Lambda to help him build a portfolio of projects to show

              19    off to prospective employers. Instead, with fewer projects and support staff, students were left with a

              20    small number of incomplete, buggy projects that were not job market-ready. He also later learned that

              21    the assessments Lambda dropped were important to prospective employers.

              22           138.    Many students dropped out in response to Lambda providing only a shell of the program

              23    it originally promised. Mr. Molina considered following suit, but knowing he was on the hook for his

              24    ISA, he resorted to grinding out the remainder of the coursework.

              25           139.    The Lambda education further deteriorated as Mr. Molina approached completion.

              26    Instead of the world-class instructors Mr. Allred had promised, most were recent Lambda graduates

              27    themselves. And instructors from earlier units were unexpectedly brought back as stopgaps later in the

              28
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                           27
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                         Case 3:23-cv-01440-AGT         Document 1        Filed 03/27/23      Page 36 of 166



                1   program, with apparently no prior experience or planned curriculum from which to teach. By the time

                2   Mr. Molina reached the final labs unit, his cohort had dwindled from dozens of peers to a handful.

                3           140.   Mr. Molina received his certificate of completion in May 2022. As he transitioned to

                4   searching for a job, Lambda’s only contribution was connecting him with a resume and LinkedIn

                5   profile reviewer. They failed to provide him with any legitimate job leads.

                6           141.   Instead of moving onto a coding position, Mr. Molina continued working in wholesale

                7   shipping, just as he had before attending Lambda, until he recently transitioned to the IT department at

                8   his company.

                9   V.      CLASS ACTION ALLEGATIONS

              10            142.   Plaintiffs bring this action on behalf of themselves and as a class action on behalf of the

              11    following Class:

              12            All persons who enrolled at Lambda and:(i) entered into an ISA, retail installment contract,
                            deferred tuition plan, or any other tuition payment plan with an arbitration clause that contains
              13            a carve-out for any proceeding commenced by either party seeking an injunction or any other
                            equitable remedy; or (ii) who otherwise did not sign any such agreements with an arbitration
              14            clause, or opted out of one; and (iii) who have not yet had their ISA, retail installment contract,
                            deferred tuition plan, or other tuition payment plan cancelled and all payments made to Lambda
              15            refunded.
              16            143.   In addition, Plaintiffs Fuller, Goncalves, and McAdams seek to certify the following

              17    subclass (hereinafter the “BPPE Subclass”) within the Class:

              18            All persons within the Class who enrolled at Lambda prior to August 17, 2020, the date that
                            Lambda obtained the BPPE’s approval to operate.
              19

              20            144.   Plaintiffs reserve the right to amend or modify the Class and BPPE Subclass

              21    descriptions, or further divide them into subclasses or limitations as to particular issues.

              22            145.   This action has been brought and may properly be maintained as a class action under

              23    California Code of Civil Procedure § 382 because there is a well-defined community of interest in the

              24    litigation and the proposed class and subclass is easily ascertainable.

              25            146.   On information and belief, there are thousands of former Lambda students who are

              26    members of the Class, and at least hundreds who are members of the BPPE Subclass. The potential

              27    number of class members are therefore so numerous that joinder would be impracticable. The precise

              28    number of class members, known only to Defendants, can easily be determined through discovery.
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                         28
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
                       Case 3:23-cv-01440-AGT            Document 1       Filed 03/27/23       Page 37 of 166



                1          147.     Plaintiffs’ claims are typical of the claims of the Class and BPPE Subclass. Plaintiffs

                2   were subjected to the same violations of California law, and seek the same types of injunctive relief,

                3   restitution, and other equitable relief on the same theories and legal grounds as the members of the class

                4   they seek to represent.

                5          148.     Plaintiffs are adequate representatives of the classes because: (a) their interests do not

                6   conflict with the interests of the individual class members they seek to represent; (b) they have retained

                7   counsel who are competent and experienced in complex class action litigation; and (c) they intend to

                8   prosecute this action vigorously. Plaintiffs and their counsel will fairly and adequately protect the

                9   interests of the Class and BPPE Subclass.

              10           149.     Common questions of law and fact exist as to all members of the Class and the BPPE

              11    Subclass, and predominate over any questions solely affecting individual members of the two classes.

              12           150.     Among the questions of law and fact common to the Class are the following:

              13                  a) Whether Lambda’s widely disseminated job placement rates were false and misleading,

              14                     in violation of the UCL, FAL, and CLRA;

              15                  b) Whether Lambda’s false and misleading job placement rates are material to a

              16                     reasonable consumer’s decision whether to enroll;

              17                  c) Whether members of the public were likely to be deceived by Lambda’s job placement

              18                     misrepresentations under the UCL;

              19                  d) Whether Plaintiffs and the Class are “consumers” engaging in “transactions” under the

              20                     CLRA;

              21                  e) Whether Mr. Allred directly and actively participated in the unlawful conduct at issue;

              22                  f) Whether Mr. Allred, members of his executive leadership team, and other Lambda

              23                     employees or agents acted willfully and knowingly to disseminate Lambda’s job

              24                     placement representations to the public with knowledge that they were—and continue

              25                     to be—false and misleading;

              26                  g) Whether Lambda qualifies as a “finance lender” under the California Financing Law,

              27                     Cal. Fin. Code § 22100(a); and

              28
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                              29
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                       Case 3:23-cv-01440-AGT              Document 1       Filed 03/27/23       Page 38 of 166



                1                   h) Whether Lambda’s ISAs and other tuition payment plans qualify as “consumer loans”

                2                      or “commercial loans” under the California Financing Law.

                3          151.       Among the questions of law and fact common to the BPPE Subclass are the following:

                4                   a) Whether Lambda had approval to operate prior to August 17, 2020;

                5                   b) Whether Lambda misrepresented whether it had approval to operate prior to August 17,

                6                      2020; and

                7                   c) Whether ISAs or other tuition payment plans entered into by Lambda prior to August

                8                      17, 2020, are enforceable.

                9          152.       Class action treatment is superior to any alternative to ensure the fair and efficient

              10    adjudication of this controversy. Such treatment will permit a large number of similarly situated persons

              11    to prosecute their common claims in a single forum simultaneously, efficiently, and without duplication

              12    of effort and expense that numerous individual actions would entail.

              13           153.       No difficulties are likely to be encountered in the management of this class action that

              14    would preclude its maintenance as a class action, and no superior alternative exists for the fair and

              15    efficient adjudication of this controversy.

              16           154.       Plaintiffs and each class member have been harmed by Defendants’ wrongful conduct.

              17           155.       The Class and BPPE Subclass are ascertainable because their members can be

              18    determined from Lambda’s business records. On information and belief, the last-known residence

              19    address and email address of each of the proposed class members is contained in Lambda’s books and

              20    records.

              21           156.       Concentrating all the potential litigation concerning the claims of the proposed class

              22    members in this Court will avoid a multiplicity of suits, will conserve judicial resources and the

              23    resources of the parties, and is the most efficient means of resolving the claims of all the proposed class

              24    members.

              25           157.       Absent a class action, Plaintiffs and the proposed class members likely will not obtain

              26    redress of their injuries and Defendants will retain the proceeds of the violations of the California laws

              27    cited herein.

              28    ///
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                              30
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                       Case 3:23-cv-01440-AGT               Document 1         Filed 03/27/23    Page 39 of 166



                1   VI.     CAUSES OF ACTION

                2                                          FIRST CAUSE OF ACTION
                                             Violations of California’s Consumer Legal Remedies Act
                3                                          Cal. Civ. Code §§ 1750, et seq.
                                                                  (All Defendants)
                4

                5           158.     Plaintiffs hereby reincorporate the allegations in the foregoing paragraphs as though fully

                6   set forth herein.

                7           159.     The CLRA makes unlawful “unfair methods of competition and unfair or deceptive acts

                8   or practices undertaken by any person in a transaction intended to result or that results in the sale or

                9   lease of goods or services to any consumer.” Cal. Civ. Code § 1770(a).

              10            160.     The CLRA covers transactions involving the sale of services—such as education—to

              11    consumers.

              12            161.     Plaintiffs are “consumers” within the meaning of Section 1761(d) of the CLRA, and they

              13    engaged in “transactions” within the meaning of sections 1761(e)and 1770 of the CLRA.

              14            162.     The CLRA enumerates numerous unlawful acts or practices, including:

              15                   a) “Misrepresenting the source, sponsorship, approval, or certification of goods or

              16                        services.” Cal. Civ. Code § 1770(a)(2).

              17                   b) “Representing that goods or services have sponsorship, approval, characteristics,

              18                        ingredients, uses, benefits, or quantities that they do not have or that a person has a

              19                        sponsorship, approval, status, affiliation, or connection that the person does not have.”

              20                        Id. § 1770(a)(5).

              21                   c) “Representing that goods or services are of a particular standard, quality, or grade”

              22                        when they are not. Id. § 1770(a)(7).

              23                   d) “Advertising goods or services with intent not to sell them as advertised.” Id. §

              24                        1770(a)(9).

              25            163.     In violation of these provisions, Lambda misrepresented to the public, prospective

              26    students, and current students, including Plaintiffs, at least the following: (i) its job placement rates; and

              27    (ii) to the Subclass, that it had approval to operate and enroll students.

              28
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                               31
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                       Case 3:23-cv-01440-AGT                Document 1      Filed 03/27/23      Page 40 of 166



                1           164.     Plaintiffs bring their claim under the CLRA for injunctive relief, namely to cancel their

                2   ISAs and for restitution of payments made.

                3                                         SECOND CAUSE OF ACTION
                                                 Violations of California’s Unfair Competition Law
                4                                     Cal. Bus. & Prof. Code §§ 17200, et seq.
                                                                  (All Defendants)
                5

                6           165.     Plaintiffs hereby reincorporate the allegations in the foregoing paragraphs as though fully

                7   set forth herein.

                8           166.     Lambda has engaged in business acts or practices that constitute unfair competition as

                9   defined in the UCL, in that such business acts and practices are unlawful, unfair, and fraudulent within

              10    the meaning of that statute.

              11            167.     The business acts and practices include:

              12                   a) publishing and/or providing the public, prospective students, and current students,

              13                        including Plaintiffs, with false, misleading, unreliable, and/or inaccurate job placement

              14                        rate information;

              15                   b) omitting material facts from statements to the public, prospective students, and current

              16                        students, including Plaintiffs, related to job placement rates;

              17                   c) to the Subclass, conducting business without BPPE approval and in violation of

              18                        multiple BPPE orders requiring it to cease operations;

              19                   d) to the Subclass, knowingly operating a private postsecondary institution without

              20                        approval to do so;

              21                   e) to the Subclass, concealing from the public, prospective students, and current students

              22                        that in March and July of 2019, the BPPE ordered Lambda to cease operations, stop

              23                        enrolling students, cease all instructional services, and submit a closure plan, and

              24                        misrepresenting,concealing, and omitting material facts related to those BPPE orders,

              25                        including representing that they were stayed when they were not.

              26    ///
              27    ///
              28    ///
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                            32
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                         Case 3:23-cv-01440-AGT              Document 1      Filed 03/27/23      Page 41 of 166



                1             Unlawful Prong
                2             168.     The UCL bars business practices that are forbidden by law. If a business practice

                3   violates any law, it is per se a UCL violation.

                4             169.     The business acts and practices described above are unlawful because they violate

                5   numerous state and federal laws, including but not limited to:

                6                    a) The Federal Trade Commission Act (“FTC Act”), which prohibits “unfair or deceptive

                7                       acts or practices.” 42

                8                    b) Cal Educ. Code § 94897(b), which provides that institutions shall not “[p]romise or

                9                       guarantee employment, or otherwise overstate the availability of jobs upon graduation.”

              10                     c) The CLRA, see supra ¶¶ 158–164;

              11                     d) The FAL, see infra ¶¶ 174–176;

              12                     e) Cal. Educ. Code § 94886, which provides in relevant part that “a person shall not open,

              13                        conduct, or do business as a private postsecondary educational institution in this state

              14                        without obtaining an approval to operate under this chapter.” Lambda violated this

              15                        provision, and therefore the UCL’s unlawful prong, when it enrolled Plaintiffs and

              16                        members of the Subclass without obtaining approval to operate.

              17                     f) Cal. Educ. Code § 94943, which provides that it is a crime to “[k]nowingly operat[e] a

              18                        private postsecondary institution without an approval to operate.” Lambda violated this

              19                        provision, and therefore the UCL’s unlawful prong, when it knowingly enrolled

              20                        Plaintiffs without approval by the BPPE to operate.

              21                     g) Cal. Educ. Code § 94917, which provides that “[a] note, instrument, or other evidence

              22                        of indebtedness relating to payment for an educational program is not enforceable by an

              23                        institution unless, at the time of execution of the note, instrument, or other evidence of

              24                        indebtedness, the institution held an approval to operate.”

              25                     h) Cal. Educ. Code § 94902(b)(2), which provides that an enrollment agreement is

              26                        enforceable only if “[a]t the time of the execution of the enrollment agreement, the

              27                        institution held a valid approval to operate.

              28    42
                         See U.S.C.§ 45(a)(I); 15 U.S.C. § 52(a).
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                                33
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                       Case 3:23-cv-01440-AGT                Document 1     Filed 03/27/23     Page 42 of 166



                1                  i) The California Financing Law, which provides that “[n]o person shall engage in the

                2                       business of a finance lender or broker without obtaining a license from the

                3                       commissioner.” Cal. Fin. Code § 22100(a).

                4                  j) The Consumer Financial Protection Act of 2010, 12 U.S.C. §§ 5531(a), 5536(a)(1)(B),

                5                       which prohibits covered persons from engaging in unfair, deceptive, or abusive acts or

                6                       practices.

                7           170.     By violating these and other state and federal laws, Lambda violated the unlawful prong

                8   of the UCL.

                9            Fraud Prong

              10            171.     To show that a business practice is fraudulent, it is necessary only to show that members

              11    of the public are likely to be deceived.

              12            172.     Lambda’s business acts and practices—including its false job placement rate

              13    representations and false representations to the Subclass about BPPE approval—are fraudulent in that

              14    they are likely to deceive the public.

              15            173.     Each of these false and misleading representations, all of which were material, were

              16    substantial factors influencing Plaintiffs and members of the Class to attend Lambda and take out an

              17    ISA or other tuition payment plan that indebted them to up to $30,000 of tuition at Lambda.

              18                                              THIRD CAUSE OF ACTION
                                                     Violations of California’s False Advertising Law
              19                                         Cal. Bus. & Prof. Code §§ 17500, et seq.
                                                                     (All Defendants)
              20

              21            174.     Plaintiffs hereby reincorporate the allegations in the foregoing paragraphs as though fully
              22    set forth herein.
              23            175.     Lambda has also engaged in acts or practices that constitute violations of the FAL,
              24    Business and Professions Code section 17500, et seq., by making or causing to be made untrue or
              25    misleading statements with the intent to induce members of the public to purchase Lambda’s services.
              26    Lambda’s untrue or misleading representations include, but are not limited to, the following:
              27                   a) Lambda’s statements regarding job placement rates, including but not limited to the
              28                        published job placement rates prominently displayed on its website; and
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                          34
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                       Case 3:23-cv-01440-AGT           Document 1        Filed 03/27/23      Page 43 of 166



                1                 b) Failing to inform the public, prospective students, and current students, including the

                2                    Subclass, that it lacked approval from BPPE to operate, that its operations were

                3                    therefore unlawful, that BPPE ordered Lambda to cease advertising and instructional

                4                    activities, and that it could not lawfully enroll students. Instead, Lambda’s

                5                    advertisements implicitly and explicitly misrepresented the lawfulness of its operations

                6                    by encouraging the public and prospective students to apply for enrollment.

                7          176.     At the time these representations were made, Lambda knew or by the exercise of

                8   reasonable care should have known that the representations were untrue or misleading.

                9   VII.   PRAYER FOR RELIEF

              10           WHEREFORE, in accordance with the above claims, Plaintiffs request judgment in their and

              11    the Class’s favor against Defendants as follows:

              12            1.       An Order certifying that Plaintiffs and the Class constitute a single class, that the BPPE

              13                     Subclass constitutes a single subclass, and designating the action as a Class Action

              14                     pursuant to California Code of Civil Procedure § 382.

              15            2.       Appointment of the attorneys below as Class counsel.

              16            3.       Appointment of Plaintiffs as class representatives and payment of compensation as

              17                     representatives if the Court deems appropriate.

              18            4.       Declare that the ISAs or other tuition payment plans entered into by Plaintiffs, the

              19                     Class, and the BPPE Subclass are unlawful and unenforceable pursuant to Cal. Educ.

              20                     Code §§ 94886, 94917, and 94943.

              21            5.       Declare that Defendants conducted business as a private postsecondary educational

              22                     institution in California without obtaining approval to operate, in violation of Cal.

              23                     Educ. Code § 94886 and the UCL.

              24            6.       Declare that Defendants knowingly operated a private postsecondary institution without

              25                     approval to operate, in violation of Cal. Educ. Code § 94943 and the UCL.

              26            7.       Declare that Defendants’ job placement rate representations at all times relevant to this

              27                     Complaint were fraudulent and misleading, in violation of the UCL, FAL, and CLRA.

              28
       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                            35
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                      Case 3:23-cv-01440-AGT         Document 1       Filed 03/27/23      Page 44 of 166



                1          8.     Declare that Lambda “engage[d] in the business of a finance lender or broker without

                2                 obtaining a license from the commissioner,” in violation of the California Financing

                3                 Law, Cal. Fin. Code § 22100(a).

                4          9.     Order Defendants—including Lambda and any other owner of all or part of the ISAs or

                5                 other tuition payment plans—to cancel the ISAs and other tuition payment plans for

                6                 Plaintiffs and the Class and enjoin any effort to collect upon or otherwise enforce them.

                7          10.    Order Defendants to pay restitution in the form of refunds for all payments made.

                8          11.    Order prejudgment and post-judgment interest on any refunds for ISA and other tuition

                9                 payment plan payments for the maximum extent allowed by law.

              10           12.    Order public injunctive relief, including enjoining Defendants from misrepresenting job

              11                  placement rates, and collecting on any ISA or other tuition payment plan entered into

              12                  while Defendants maintained such misrepresentations.

              13           13.    Order Defendants to pay reasonable attorneys’ fees and costs.

              14           14.    Order all such further relief as the Court deems just and proper.

              15
                    Dated: March 16, 2023              COTCHETT, PITRE & McCARTHY, LLP
              16

              17
                                                       By:
              18                                               JUSTIN T. BERGER
              19                                       NATIONAL STUDENT LEGAL DEFENSE NETWORK
                                                            ALEXANDER S. ELSON
              20                                            (Pro Hac Vice Application forthcoming)
              21                                       MINER, BARNHILL & GALLAND, P.C.
                                                           DAVID BALTMANIS
              22                                           (Pro Hac Vice Application forthcoming)
              23                                       MINER, BARNHILL & GALLAND, P.C.
                                                           RYAN MILLER
              24                                           (Pro Hac Vice Application forthcoming)
              25                                       Attorneys for Plaintiffs and the Proposed Class
              26

              27

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       ♼            VERIFIED CLASS ACTION COMPLAINT                                                                       36
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                       Case 3:23-cv-01440-AGT           Document 1          Filed 03/27/23   Page 45 of 166




                1                                               VERIFICATION
                2          I have read the foregoing Class Action Complaint and know its contents. I am the plaintiff, a
                3
                    party to this action. The matters stated in the foregoing Class Action Complaint are true to my own
                4
                    knowledge, except as to the matters which are therein stated upon information or belief, and as to those
                5
                    matters I believe them to be true. I declare under penalty of perjury under the laws of the State
                6
                7   of California that the foregoing is true and correct.

                8
                                    15
                9   Dated: March _____, 2023                       By:      ____________________________________
                                                                            Jessica Fuller
              10                                                            Named Plaintiff
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       ♼            COMPLAINT
 LAW OFFICES
COTCHETT, PITRE &
 MCCARTHY, LLP
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                       Case 3:23-cv-01440-AGT           Document 1          Filed 03/27/23   Page 46 of 166




                1                                               VERIFICATION
                2          I have read the foregoing Class Action Complaint and know its contents. I am the plaintiff, a
                3
                    party to this action. The matters stated in the foregoing Class Action Complaint are true to my own
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                    knowledge, except as to the matters which are therein stated upon information or belief, and as to those
                5
                    matters I believe them to be true. I declare under penalty of perjury under the laws of the State
                6
                7   of California that the foregoing is true and correct.

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                9                 16
                    Dated: March _____, 2023                       By:      ____________________________________
                                                                            Alexander Goncalves
              10                                                            Named Plaintiff
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       ♼            COMPLAINT
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                       Case 3:23-cv-01440-AGT           Document 1          Filed 03/27/23   Page 47 of 166




                1                                               VERIFICATION
                2          I have read the foregoing Class Action Complaint and know its contents. I am the plaintiff, a
                3
                    party to this action. The matters stated in the foregoing Class Action Complaint are true to my own
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                    knowledge, except as to the matters which are therein stated upon information or belief, and as to those
                5
                    matters I believe them to be true. I declare under penalty of perjury under the laws of the State
                6
                7   of California that the foregoing is true and correct.

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                                    16
                9   Dated: March _____, 2023                       By:      ____________________________________
                                                                            Brett McAdams
              10                                                            Named Plaintiff
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       ♼            COMPLAINT
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                       Case 3:23-cv-01440-AGT           Document 1          Filed 03/27/23   Page 48 of 166




                1                                               VERIFICATION
                2          I have read the foregoing Class Action Complaint and know its contents. I am the plaintiff, a
                3
                    party to this action. The matters stated in the foregoing Class Action Complaint are true to my own
                4
                    knowledge, except as to the matters which are therein stated upon information or belief, and as to those
                5
                    matters I believe them to be true. I declare under penalty of perjury under the laws of the State
                6
                7   of California that the foregoing is true and correct.

                8
                9                 16
                    Dated: March _____, 2023                       By:      ____________________________________
                                                                            Quinn Molina
              10                                                            Named Plaintiff
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Case 3:23-cv-01440-AGT   Document 1   Filed 03/27/23   Page 49 of 166




            EXHIBIT A
                Case 3:23-cv-01440-AGT        Document 1      Filed 03/27/23    Page 50 of 166
Student: Jessica Fuller
Address:
Email Address:
APL_12014



INCOME SHARE AGREEMENT


This income share agreement is between Lambda Inc. (“Lambda School”) and a student (“you”). You have
previously completed an application to become a Lambda School student. Prior to or concurrently with signing
this agreement, you and Lambda School are signing an enrollment agreement in which Lambda School accepts
you as a student. Your entering into the enrollment agreement is a condition to Lambda School admitting you to
the program of educational services outlined in your enrollment agreement. If you sign this agreement before
signing an enrollment agreement, you are agreeing to Lambda School’s standard enrollment agreement
currently in effect until such time as you sign an enrollment agreement.



Lambda School charges tuition, but instead of paying tuition directly, a student may elect to have Lambda
School provide tuition funding on behalf of that student. That student commits to paying Lambda School a fixed
percentage of their income each month toward the cost of attending Lambda School, up to a maximum number
of payments and a maximum amount, on condition that the student’s income is above the monthly equivalent of
$50,000.00 annually.



In this agreement, you commit to reporting your income and to making a number of monthly payments in return
for Lambda School providing tuition funding on your behalf.



IF YOU CANCEL



If you terminate this agreement during the allowable full cancellation period specified in your enrollment
agreement, you will not owe Lambda School anything under this agreement.


                                             YOUR PAYMENTS
   Here’s a summary of the key details of your monthly payments under this agreement. More information is
                                   provided elsewhere in this agreement.
   Tuition funding provided to Lambda School on your behalf                                   $30,000.00
   Percentage of your monthly earned income you must pay Lambda School                              17%
   Minimum monthly earned income required for monthly payments                                 $4,166.67
   Equivalent annual earned income                                                            $50,000.00
   Maximum number of monthly payments                                                                 24
   Maximum term of this agreement                                                              60 months
   Maximum total amount you are required to pay (excluding fees for late or failed payments)  $30,000.00
                                 FEES FOR LATE OR FAILED PAYMENTS
                                   Here are the fees you might have to pay.
   if Lambda School doesn’t receive a monthly payment by the 15th of the month it is due               $50.00
   if Lambda School receives a monthly payment but that payment fails because you don’t have
                                                                                                       $35.00
   enough money in your account, or for any other reason
                Case 3:23-cv-01440-AGT         Document 1     Filed 03/27/23    Page 51 of 166


THIS IS NOT A LOAN



In making monthly payments to Lambda School, you will not be repaying a student loan. In the case of a student
loan, a student borrows a set amount and repays the principal amount of the loan plus interest or a finance
charge, or both. Under this agreement, you will instead pay a fixed percentage of your income each month for
up to a maximum number of payments.



You acknowledge that the income-tax consequences of this agreement are uncertain and that Lambda School
has not provided you with any tax advice and has not assured you of specific tax consequences. You
acknowledge that you have had an opportunity to consult with your own advisors about the tax implications of
entering into this agreement.




EXAMPLES OF WHAT YOU MIGHT HAVE TO PAY



This table shows some examples of monthly and total payments under this agreement at different income levels.


          Monthly         Equivalent Annual          Monthly        Total Amount          Number of
          Income               Income                Payment            Paid              Payments

         Less than
                           Less than $50,000       Not applicable          $0                None
         $4,166.67

         $4,166.67              $50,000               $708.33           $17,000               24

         $5,000.00              $60,000               $850.00           $20,400               24

         $5,833.33              $70,000               $991.67           $23,800               24

         $6,666.67              $80,000              $1,133.33          $27,200               24

         $7,500.00              $90,000              $1,275.00          $30,000               24

         $8,333.33              $100,000             $1,416.67          $30,000               22

         $10,000.00             $120,000             $1,700.00          $30,000               18




DETERMINING YOUR MONTHLY PAYMENTS



The amount of each of your monthly payments is equal to 17% of your earned income in the previous month
from all your qualified positions, plus any fees you owe under this agreement. You are not required to make a
monthly payment if your earned income for the previous month is less than $4,166.67.
                Case 3:23-cv-01440-AGT         Document 1       Filed 03/27/23    Page 52 of 166
What “Earned Income” Means



For purposes of this agreement, “earned income” means all you are paid or that you earn in all your qualified
positions. Earned income is your gross income—your income before taxes or any other withholdings (including
contributions to retirement plans and savings plans). For example, the US Internal Revenue Service for the
2019 reporting year defines income to include on an annual basis (a) the sum of Line 1 (Wages, salaries, tips,
etc.), Line 7a (Other income), and Line 8a (Business income or loss) of IRS Form 1040, as reported or required
to be reported on U.S. federal income Tax returns. All of those are examples of “earned income.”



Earned Income does not include (1) income earned by your children or spouse (if any), (2) any money you
inherit, (3) any amounts paid to you under the Social Security disability insurance program (title II of the Social
Security Act) or the Supplemental Security Income program (title XVI of the Social Security Act), or (4) any
amounts paid to you under the Child Nutrition Act of 1966.



For purposes of this agreement, “qualified position” means work as an employee, independent contractor, or
business owner in a field related to, or position requiring knowledge of, one or more of software, data science,
full-stack web, iOS/Android development, cybersecurity, information technology, UX, and web and app
development and design and any other field or position for which you would not have been qualified, or not have
been considered or promoted into, but for your participation in your Lambda School program or the job
placement efforts of Lambda School.



If a position would otherwise be a qualified position, it will not be relevant that your Lambda School program
was in a discipline not directly related to that position.



Examples of titles for positions that would qualify include software engineer, data scientist, web developer, and
app developer. Positions in quality assurance, sales, product management, or other fields that may seem
unrelated to your Lambda School program might nevertheless qualify if your work actually calls on skills related
to your Lambda School program. A position at a company that doesn’t sell technology products or offer
technology services might also qualify—for example, a web-developer position for any kind of company.



It will be up to Lambda School to decide whether income you earned can be attributed to a qualified position.
You must provide Lambda School any information it asks for to allow it to decide whether income you earned
should be attributed to a qualified position.



Establishing Your Earned Income



You must inform Lambda School no later than five days after starting work in a qualified position paying you at
least the minimum amount required for you to be required to make monthly payments under this agreement.
Every three months or as requested by Lambda School thereafter you must inform Lambda School of the name
of your employer, your job title, and your earned income.



You must submit to Lambda School via Lambda School’s online portal the following documentation evidencing
your earned income:
                Case 3:23-cv-01440-AGT        Document 1      Filed 03/27/23     Page 53 of 166

    before your first monthly payment and every time your earned income increases or decreases, a pay stub,
    letter from your employer, independent-contractor agreement, or other evidence of your monthly income

    by 30 April each year, a year-end pay stub, form W-2, form 1099, schedule K-1, or other official
    documentation showing your sources of earned income and the dates of your employment for the previous
    calendar year

    if Lambda School requests, it, a completed and signed IRS form 4506-T (or any successor form)
    designating Lambda School as the recipient of your tax return information for returns covering any
    months for which you are required to make a monthly payment, dated no earlier than 30 days before the
    date you provide it Lambda School


You authorize Lambda School to verify your earned income and your credit history by checking with your
employer (for example through the employer’s verification line), credit reporting agencies, payroll providers, or
other services. You acknowledge that Lambda School may adjust your monthly payments to reflect any
information so discovered. And Lambda School might review public information about your employment and
income, such as your profile on social media or job sites. Lambda School will act reasonably in verifying your
earned income but ultimately it will be up to Lambda School to decide whether your documentation or other
materials sufficiently prove your earned income.



You must notify Lambda School no later than 30 days if you change your tax filing status from single filing to
joint filing (or vice-versa), so Lambda School knows whether to exclude earnings of your spouse when
calculating your earned income.



Setting Your Monthly Payments



Based on the information you provide, Lambda School will determine the amount of your monthly payments.



Lambda School may estimate one or more of your monthly payments for any period during which you fail to
submit to Lambda School documentation evidencing your earned income as required under this agreement. In
making such an estimate, Lambda school may assume that your earned income is equivalent to the average full-
time income for occupations related to your Lambda School program.



At any time you may ask Lambda School to confirm the amount of your next monthly payment.



You may not pay more than your monthly payment without Lambda School’s consent.




WHEN YOU MUST START MAKING MONTHLY PAYMENTS



After you have completed, withdraw from, or are withdrawn from (for any reason) your Lambda School
program, you are required to begin making payments. You will have a one-month grace period before your first
               Case 3:23-cv-01440-AGT        Document 1      Filed 03/27/23    Page 54 of 166
payment is due. The first month for which you are required to make a monthly payment is the second full month
in which your earned income exceeds the minimum. Here are two examples:



    if you graduate from Lambda School on 15 May and on 5 June you start a job for which you are paid
    monthly $4,166.67 or more and in June you are paid $4,166.67 or more, the first month for which you
    must make a monthly payment is August

    if you graduate from Lambda School on 15 May and on 20 June you start a job for which you are paid
    monthly at least $4,166.67 but in June you are paid less than $4,166.67, the first month for which you
    must make a monthly payment is August


For purposes of this agreement only, you have completed your Lambda School program upon the earlier of (1)
the date for completing your program specified in your enrollment agreement and (2) your accepting a qualified
position after the date specified in your enrollment agreement on which you are responsible for the entire
amount of tuition funding allocated to your program.



Your monthly payment for a given month is due on the first business day of the following month.



You will not be required to make further monthly payments under this agreement if (1) you have made 24
monthly payments, (2) you have paid the maximum amount of $30,000 (excluding fees), or (3) you have not
been required to make a monthly payment for a total of 60 months, whichever is the earliest to occur. The
maximum term of this agreement is 83 months. That would happen if you have made 24 monthly payments and
you have not been required to make a monthly payment for a total of 59 months.




HOW TO MAKE MONTHLY PAYMENTS



Income-Sharing Manager and Other Lambda School Partners



Lambda School has appointed an income-sharing manager to administer students’ monthly payments and this
agreement generally. Lambda School might on one or more occasions replace the income-sharing manager, or
itself act as or serve some functions of the income-sharing manager. You acknowledge that any income-sharing
manager and its or Lambda School’s partners will be authorized to act on behalf of Lambda School for all
purposes relating to this agreement. You may also need to accept or be subject to terms, policies, or other
practices of the income-sharing manager or other partners.



Payment Options



The income-sharing manager will offer you the option of making your monthly payments by automated clearing
house (ACH) payment—you would authorize the income-sharing manager to deduct from the designated
account, as it comes due, the amount of each monthly payment, until such time as you withdraw your
authorization. Or you could instead elect to pay by another method approved by Lambda School or the income-
sharing manager. Lambda School or the income-sharing manager might in the future provide additional
payment options or programs, but you might not be eligible for any such programs.
               Case 3:23-cv-01440-AGT        Document 1      Filed 03/27/23    Page 55 of 166

Your Designated Bank Account



At the request of the income-sharing manager, you must establish and maintain through the online portal during
the term of this agreement a bank account with a financial institution designated by the income-sharing
manager. The income-sharing manager will be permitted to view your transactions on that account. That
information will help determine the amount of your monthly payments. You may maintain other bank accounts
too, but you must deposit all of your earned income after taxes or any other withholdings (including
contributions to retirement plans and savings plans) into your designated bank account. It would violate this
agreement for you to deposit some of your earned income after taxes or any other withholdings (including
contributions to retirement plans and savings plans) in a bank account other than your designated bank
account.



The income-sharing manager sends or calls with payment reminders and account statements by email, phone,
or SMS, or all of these—do whatever is necessary to make sure you receive them. If you don’t receive a
reminder to make a monthly payment, that will not affect the due date of that monthly payment.



Online Portal



The income-sharing manager maintains an online portal that will allow you to access a copy of this agreement,
documentation relating to your account, and information about your payment terms, including the amount of
your next monthly payment and when it’s due and any past due amounts. Through this portal you will be able to
update your information, upload documents, and change how you authorize payment of monthly amounts.



Account Reconciliation



Lambda School might review your account at any time to ensure that your monthly payments accurately reflect
your earned income.



If you underpaid or failed to pay one or more monthly payments, Lambda School will notify you in writing of
what you owe and any late charges. At Lambda School’s discretion, any amount you owe will be added to one of
your future monthly payments, will be spread evenly over up to six future monthly payments, or, if you are not
required to make a monthly payment or if this agreement has been terminated, will be billed to you separately.



If you overpaid, Lambda School will notify you of the overpayment and reduce your next one or more monthly
payments by the amount of the overpayment. If Lambda School discovers an overpayment after this agreement
has terminated, it will refund the excess amount to you.



CHANGE OF STATUS



Withdrawing Early
                Case 3:23-cv-01440-AGT        Document 1       Filed 03/27/23     Page 56 of 166

If after the cancellation period has passed you withdraw from your program or are dismissed from the program,
under your enrollment agreement you might be required to pay Lambda School an amount up to the maximum
total amount you are required to pay under this agreement. You must notify Lambda School if you wish to
withdraw from the program.



Disability



If you die or become disabled, as determined by the U.S. Social Security Administration or any other federal or
state government agency, due to a condition that began or deteriorated after the date of this agreement, you
will no longer be required to pay Lambda School what you owe under this agreement, including any past due
amounts and fees.

If you die or become disabled, as determined by the U.S. Social Security Administration or any other federal or
state government agency, due to a condition that began or deteriorated after the date of this agreement, you
will no longer be required to pay Lambda School what you owe under this agreement, including any past due
amounts and fees.




DEFAULT



Except as provided by law, you will be in default under this agreement if any of the following occurs:



    you do not pay a monthly payment in full when due or otherwise don’t do something you promise to do in
    this agreement or your enrollment agreement

    you make an inaccurate statement of fact in this agreement or your enrollment agreement

    you provide inaccurate or incomplete information in your Lambda School application, your enrollment
    agreement, or any other written communication with Lambda School

    you begin a voluntary bankruptcy case under title 11 of the United States Code

    anyone begins an involuntary bankruptcy case against you under title 11 of the United States Code and
    either (1) the case is not dismissed by midnight at the end of the 60th day after it is begun or (2) the court
    hearing the case issues an order approving the case

    you fail generally to pay your debts as they become due (other than any debts for which you dispute in
    good faith your liability or the amount) or you acknowledge in writing that you are unable to do so


Remedies



If you are in default under this agreement, at Lambda School’s request you must pay Lambda School the entire
amount you owe under this agreement. Lambda School will also have all other remedies available by law.
                Case 3:23-cv-01440-AGT        Document 1     Filed 03/27/23     Page 57 of 166
DISPUTES



Arbitration



As the exclusive means of initiating adversarial proceedings to resolve any dispute arising out of this
agreement, your Lambda School tuition, or your payments to Lambda School (other than any proceeding
commenced by either party seeking an injunction, a restraining order, or any other equitable remedy or a
proceeding commenced by either party in small claims court), either party may demand that the dispute be
resolved by binding arbitration administered by the American Arbitration Association in accordance with its
Consumer Arbitration Rules available at www.adr.org. If AAA is completely unavailable, and if you and Lambda
School cannot agree on a substitute, then either you or Lambda School may request that a court appoint a
substitute. The rules in this arbitration agreement will be followed if there is disagreement between the
agreement and the arbitration forum’s procedures. Judgment on any award rendered in any such arbitration
may be entered in any court having jurisdiction. This arbitration agreement is governed by the Federal
Arbitration Act (FAA).



Any such arbitration must be conducted by one arbitrator and must be conducted in San Francisco, California,
the county with a major commercial airport nearest to where you live, or another mutually agreed location. If
the claim is for $25,000 or less, you may choose whether the arbitration will be conducted (1) solely on the
basis of documents submitted to the arbitrator or (2) by means of a hearing conducted by telephone.



No Class Action



YOU AND LAMBDA SCHOOL MAY EACH BRING CLAIMS AGAINST THE OTHER ONLY IN AN INDIVIDUAL
CAPACITY AND NOT AS A PLAINTIFF OR CLASS MEMBER IN ANY PURPORTED CLASS OR
REPRESENTATIVE PROCEEDING. CLAIMS OF TWO OR MORE PERSONS MAY NOT BE JOINED OR
CONSOLIDATED IN THE SAME ARBITRATION UNLESS THEY ARISE FROM THE SAME TRANSACTION.



Jury Trial



You and Lambda School hereby waive your respective right to a trial by jury in any proceedings arising out of
this agreement, your Lambda School tuition, or your payments to Lambda School.




YOUR INFORMATION AND YOUR PRIVACY



Lambda School may use information you provide Lambda School under this agreement to improve its
administration of income share agreements with its students and for its other operations, including working
with its partners in performing under this agreement. Otherwise, Lambda School may disclose information you
provide Lambda School under this agreement only if it is aggregated with information from other students or
has removed from it all information that identifies it as originating with you. Lambda School owns any
information derived from or based on the information you provide Lambda School. Lambda School maintains a
privacy notice at www.lambdaschool.com/privacy. If you have any concerns about how Lambda School treats
                Case 3:23-cv-01440-AGT         Document 1       Filed 03/27/23     Page 58 of 166
your information, please contact Lambda School through its website.




CONTACTING EACH OTHER



Valid Notice



For a notice under this agreement to be valid, it must be in writing and delivered by email to the email address
stated at the top of this agreement (in the case of an email message from you to Lambda School) or to the most
current email address in Lambda School’s records (in the case of an email message from Lambda School to
you), or submitted to the income-sharing manager’s online portal (in the case of an email to the income-sharing
manager). It will be deemed to have been received when sent, even if the sender receives a machine-generated
message that delivery has failed.



If a party sending an email notice under this agreement receives a machine-generated message that delivery
has failed, for that notice to be valid the sender must deliver to the intended recipient a tangible copy of that
notice with end-to-end tracking and all fees prepaid to the address stated at the top of this agreement (in the
case of delivery by you to Lambda School) or to the most current address in Lambda School’s records (in the
case of notice from Lambda School to you).



Other Communications



For any reason related to this agreement, including any amounts you owe, Lambda School may contact you at
any physical or electronic addresses or numbers (including wireless cellular telephone numbers, ported landline
numbers, VOIP, or other services) you have provided Lambda School or provide Lambda School in the future.
Lambda School may use any means of communication, including postal mail, electronic mail, voice calls, text
messaging, and recorded message using automatic-dialing devices. You may ask that Lambda School not
contact you using one or more of these means of contacting you, and the law might impose restrictions on how
Lambda School contacts you.



Changing Your Contact Information



You must notify Lambda School no later than 30 days after change in your primary residence, your phone
number, email address, or any other contact information you previously provided Lambda School.




OTHER TERMS



Governing Law
                Case 3:23-cv-01440-AGT         Document 1      Filed 03/27/23     Page 59 of 166
New York law governs all adversarial proceedings arising out of this agreement, your Lambda School tuition, or
your payments to Lambda School.



Transfers



You may not transfer (1) any discretion granted under this agreement, (2) any right to satisfy a condition under
this agreement, (3) any remedy under this agreement, or (4) any obligation imposed under this agreement. Any
purported transfer in violation of the previous sentence will be void.



Lambda School might transfer all or part of its interest in this agreement. If Lambda School transfers its entire
interest in this agreement to someone else and by mistake you pay Lambda School or its income-sharing
manager after that transfer, Lambda School has the choice of forwarding your payment to the transferee or its
project manager, returning the payment to you, or handle it in any other way Lambda School thinks reasonable.



Your Application



You state that all information you provided in your Lambda School application was complete and accurate when
you submitted your application.



Your Age



You state that you are the age of majority or older in the state where you currently reside. (The age of majority
is the age at which you are considered an adult and responsible for your actions in the legal sense.)



Citizenship



You state that you are a citizen of the United States, a permanent resident of the United States, or a Deferred
Action for Childhood Arrivals (DACA) recipient.



No Other Income Share Agreements



You state that you are not currently party to any other income share agreements with Lambda School or anyone
else. You must not enter into another income share agreement with anyone else during the term of this
agreement.



Lambda School’s Liability Is Limited
                Case 3:23-cv-01440-AGT        Document 1      Filed 03/27/23    Page 60 of 166
The liability of Lambda School under this agreement is limited to the aggregate of all payments you make to
Lambda School under this agreement.



Modifying Unenforceable Provisions



You acknowledge that if a dispute between the parties arises out of this agreement, your Lambda School tuition,
or your payments to Lambda School, you would want the court to interpret this agreement as follows:



    with respect to any provision that it holds to be unenforceable, by modifying that provision to the
    minimum extent necessary to make it enforceable or, if that modification is not permitted by law, by
    disregarding that provision

    if an unenforceable provision is modified or disregarded in accordance with this section, by holding that
    the rest of the agreement will remain in effect as written

    by holding that any unenforceable provision will remain as written in any circumstances other than those
    in which the provision is held to be unenforceable

    if modifying or disregarding the unenforceable provision would result in failure of an essential purpose of
    this agreement, by holding the entire agreement unenforceable




By signing below, you acknowledge that you have read all of this agreement carefully and agree to its terms.




 Signature:                                                                       Date:


                                                                                    04/22/2020


 Mailing Address:                                City, State:                       Zip Code:
                                                 Lakewood, WA




      X    I acknowledge that by providing my e-signature below, I will be legally bound to the above
           Income Share Agreement


      X
           I consent to the Income Verification Consent Form.
                Case 3:23-cv-01440-AGT   Document 1    Filed 03/27/23   Page 61 of 166

           To help me better manage my ISA payments, I consent to the Electronic Funds Transfer
           Authorization. I understand that I may revoke this consent at any time.




Recipient IP:
Case 3:23-cv-01440-AGT   Document 1   Filed 03/27/23   Page 62 of 166




            EXHIBIT B
             Case 3:23-cv-01440-AGT        Document 1      Filed 03/27/23    Page 63 of 166
Student: Alexander Goncalves
Address:
Email Address:
APL_12669



INCOME SHARE AGREEMENT


This income share agreement is between Lambda Inc. (“Lambda School”) and a student (“you”). You have
previously completed an application to become a Lambda School student. Prior to or concurrently with
signing this agreement, you and Lambda School are signing an enrollment agreement in which Lambda
School accepts you as a student. Your entering into the enrollment agreement is a condition to Lambda
School admitting you to the program of educational services outlined in your enrollment agreement. If
you sign this agreement before signing an enrollment agreement, you are agreeing to Lambda School’s
standard enrollment agreement currently in effect until such time as you sign an enrollment agreement.



Lambda School charges tuition, but instead of paying tuition directly, a student may elect to have Lambda
School provide tuition funding on behalf of that student. That student commits to paying Lambda School
a fixed percentage of their income each month toward the cost of attending Lambda School, up to a
maximum number of payments and a maximum amount, on condition that the student’s income is above
the monthly equivalent of $50,000.00 annually.



In this agreement, you commit to reporting your income and to making a number of monthly payments in
return for Lambda School providing tuition funding on your behalf.



IF YOU CANCEL



If you terminate this agreement during the allowable full cancellation period specified in your enrollment
agreement, you will not owe Lambda School anything under this agreement.


                                           YOUR PAYMENTS
        Here’s a summary of the key details of your monthly payments under this agreement. More
                          information is provided elsewhere in this agreement.
   Tuition funding provided to Lambda School on your behalf                              $30,000.00
   Percentage of your monthly earned income you must pay Lambda School                         17%
   Minimum monthly earned income required for monthly payments                            $4,166.67
   Equivalent annual earned income                                                       $50,000.00
   Maximum number of monthly payments                                                            24
   Maximum term of this agreement                                                         60 months
   Maximum total amount you are required to pay (excluding fees for late or failed
                                                                                         $30,000.00
   payments)
                              FEES FOR LATE OR FAILED PAYMENTS
                                Here are the fees you might have to pay.
   if Lambda School doesn’t receive a monthly payment by the 15th of the month it is due     $50.00
   if Lambda School receives a monthly payment but that payment fails because you don’t have
            Case 3:23-cv-01440-AGT        Document 1       Filed 03/27/23    Page 64 of 166
   enough money in your account, or for any other reason                                       $35.00



THIS IS NOT A LOAN



In making monthly payments to Lambda School, you will not be repaying a student loan. In the case of a
student loan, a student borrows a set amount and repays the principal amount of the loan plus interest or
a finance charge, or both. Under this agreement, you will instead pay a fixed percentage of your income
each month for up to a maximum number of payments.



You acknowledge that the income-tax consequences of this agreement are uncertain and that Lambda
School has not provided you with any tax advice and has not assured you of specific tax consequences.
You acknowledge that you have had an opportunity to consult with your own advisors about the tax
implications of entering into this agreement.




EXAMPLES OF WHAT YOU MIGHT HAVE TO PAY



This table shows some examples of monthly and total payments under this agreement at different income
levels.


         Monthly        Equivalent Annual         Monthly       Total Amount        Number of
         Income              Income               Payment           Paid            Payments

         Less than                                  Not
                         Less than $50,000                            $0               None
         $4,166.67                               applicable

         $4,166.67            $50,000             $708.33          $17,000               24

         $5,000.00            $60,000             $850.00          $20,400               24

         $5,833.33            $70,000             $991.67          $23,800               24

         $6,666.67            $80,000            $1,133.33         $27,200               24

         $7,500.00            $90,000            $1,275.00         $30,000               24

         $8,333.33           $100,000            $1,416.67         $30,000               22

        $10,000.00           $120,000            $1,700.00         $30,000               18




DETERMINING YOUR MONTHLY PAYMENTS



The amount of each of your monthly payments is equal to 17% of your earned income in the previous
month from all your qualified positions, plus any fees you owe under this agreement. You are not required
             Case 3:23-cv-01440-AGT         Document 1      Filed 03/27/23     Page 65 of 166
to make a monthly payment if your earned income for the previous month is less than $4,166.67.



What “Earned Income” Means



For purposes of this agreement, “earned income” means all you are paid or that you earn in all your
qualified positions. Earned income is your gross income—your income before taxes or any other
withholdings (including contributions to retirement plans and savings plans). For example, the US
Internal Revenue Service for the 2019 reporting year defines income to include on an annual basis (a) the
sum of Line 1 (Wages, salaries, tips, etc.), Line 7a (Other income), and Line 8a (Business income or loss)
of IRS Form 1040, as reported or required to be reported on U.S. federal income Tax returns. All of those
are examples of “earned income.”



Earned Income does not include (1) income earned by your children or spouse (if any), (2) any money you
inherit, (3) any amounts paid to you under the Social Security disability insurance program (title II of the
Social Security Act) or the Supplemental Security Income program (title XVI of the Social Security Act),
or (4) any amounts paid to you under the Child Nutrition Act of 1966.



For purposes of this agreement, “qualified position” means work as an employee, independent contractor,
or business owner in a field related to, or position requiring knowledge of, one or more of software, data
science, full-stack web, iOS/Android development, cybersecurity, information technology, UX, and web
and app development and design and any other field or position for which you would not have been
qualified, or not have been considered or promoted into, but for your participation in your Lambda School
program or the job placement efforts of Lambda School.



If a position would otherwise be a qualified position, it will not be relevant that your Lambda School
program was in a discipline not directly related to that position.



Examples of titles for positions that would qualify include software engineer, data scientist, web
developer, and app developer. Positions in quality assurance, sales, product management, or other fields
that may seem unrelated to your Lambda School program might nevertheless qualify if your work actually
calls on skills related to your Lambda School program. A position at a company that doesn’t sell
technology products or offer technology services might also qualify—for example, a web-developer
position for any kind of company.



It will be up to Lambda School to decide whether income you earned can be attributed to a qualified
position. You must provide Lambda School any information it asks for to allow it to decide whether
income you earned should be attributed to a qualified position.



Establishing Your Earned Income



You must inform Lambda School no later than five days after starting work in a qualified position paying
you at least the minimum amount required for you to be required to make monthly payments under this
agreement. Every three months or as requested by Lambda School thereafter you must inform Lambda
             Case 3:23-cv-01440-AGT        Document 1      Filed 03/27/23      Page 66 of 166
School of the name of your employer, your job title, and your earned income.



You must submit to Lambda School via Lambda School’s online portal the following documentation
evidencing your earned income:



    before your first monthly payment and every time your earned income increases or decreases, a pay
    stub, letter from your employer, independent-contractor agreement, or other evidence of your
    monthly income

    by 30 April each year, a year-end pay stub, form W-2, form 1099, schedule K-1, or other official
    documentation showing your sources of earned income and the dates of your employment for the
    previous calendar year

    if Lambda School requests, it, a completed and signed IRS form 4506-T (or any successor form)
    designating Lambda School as the recipient of your tax return information for returns covering any
    months for which you are required to make a monthly payment, dated no earlier than 30 days before
    the date you provide it Lambda School


You authorize Lambda School to verify your earned income and your credit history by checking with your
employer (for example through the employer’s verification line), credit reporting agencies, payroll
providers, or other services. You acknowledge that Lambda School may adjust your monthly payments to
reflect any information so discovered. And Lambda School might review public information about your
employment and income, such as your profile on social media or job sites. Lambda School will act
reasonably in verifying your earned income but ultimately it will be up to Lambda School to decide
whether your documentation or other materials sufficiently prove your earned income.



You must notify Lambda School no later than 30 days if you change your tax filing status from single filing
to joint filing (or vice-versa), so Lambda School knows whether to exclude earnings of your spouse when
calculating your earned income.



Setting Your Monthly Payments



Based on the information you provide, Lambda School will determine the amount of your monthly
payments.



Lambda School may estimate one or more of your monthly payments for any period during which you fail
to submit to Lambda School documentation evidencing your earned income as required under this
agreement. In making such an estimate, Lambda school may assume that your earned income is
equivalent to the average full-time income for occupations related to your Lambda School program.



At any time you may ask Lambda School to confirm the amount of your next monthly payment.



You may not pay more than your monthly payment without Lambda School’s consent.
            Case 3:23-cv-01440-AGT        Document 1      Filed 03/27/23     Page 67 of 166



WHEN YOU MUST START MAKING MONTHLY PAYMENTS



After you have completed, withdraw from, or are withdrawn from (for any reason) your Lambda School
program, you are required to begin making payments. You will have a one-month grace period before
your first payment is due. The first month for which you are required to make a monthly payment is the
second full month in which your earned income exceeds the minimum. Here are two examples:



    if you graduate from Lambda School on 15 May and on 5 June you start a job for which you are paid
    monthly $4,166.67 or more and in June you are paid $4,166.67 or more, the first month for which
    you must make a monthly payment is August

    if you graduate from Lambda School on 15 May and on 20 June you start a job for which you are
    paid monthly at least $4,166.67 but in June you are paid less than $4,166.67, the first month for
    which you must make a monthly payment is August


For purposes of this agreement only, you have completed your Lambda School program upon the earlier
of (1) the date for completing your program specified in your enrollment agreement and (2) your
accepting a qualified position after the date specified in your enrollment agreement on which you are
responsible for the entire amount of tuition funding allocated to your program.



Your monthly payment for a given month is due on the first business day of the following month.



You will not be required to make further monthly payments under this agreement if (1) you have made 24
monthly payments, (2) you have paid the maximum amount of $30,000 (excluding fees), or (3) you have
not been required to make a monthly payment for a total of 60 months, whichever is the earliest to occur.
The maximum term of this agreement is 83 months. That would happen if you have made 24 monthly
payments and you have not been required to make a monthly payment for a total of 59 months.




HOW TO MAKE MONTHLY PAYMENTS



Income-Sharing Manager and Other Lambda School Partners



Lambda School has appointed an income-sharing manager to administer students’ monthly payments and
this agreement generally. Lambda School might on one or more occasions replace the income-sharing
manager, or itself act as or serve some functions of the income-sharing manager. You acknowledge that
any income-sharing manager and its or Lambda School’s partners will be authorized to act on behalf of
Lambda School for all purposes relating to this agreement. You may also need to accept or be subject to
terms, policies, or other practices of the income-sharing manager or other partners.



Payment Options
            Case 3:23-cv-01440-AGT        Document 1      Filed 03/27/23    Page 68 of 166

The income-sharing manager will offer you the option of making your monthly payments by automated
clearing house (ACH) payment—you would authorize the income-sharing manager to deduct from the
designated account, as it comes due, the amount of each monthly payment, until such time as you
withdraw your authorization. Or you could instead elect to pay by another method approved by Lambda
School or the income-sharing manager. Lambda School or the income-sharing manager might in the
future provide additional payment options or programs, but you might not be eligible for any such
programs.



Your Designated Bank Account



At the request of the income-sharing manager, you must establish and maintain through the online portal
during the term of this agreement a bank account with a financial institution designated by the income-
sharing manager. The income-sharing manager will be permitted to view your transactions on that
account. That information will help determine the amount of your monthly payments. You may maintain
other bank accounts too, but you must deposit all of your earned income after taxes or any other
withholdings (including contributions to retirement plans and savings plans) into your designated bank
account. It would violate this agreement for you to deposit some of your earned income after taxes or any
other withholdings (including contributions to retirement plans and savings plans) in a bank account
other than your designated bank account.



The income-sharing manager sends or calls with payment reminders and account statements by email,
phone, or SMS, or all of these—do whatever is necessary to make sure you receive them. If you don’t
receive a reminder to make a monthly payment, that will not affect the due date of that monthly payment.



Online Portal



The income-sharing manager maintains an online portal that will allow you to access a copy of this
agreement, documentation relating to your account, and information about your payment terms,
including the amount of your next monthly payment and when it’s due and any past due amounts.
Through this portal you will be able to update your information, upload documents, and change how you
authorize payment of monthly amounts.



Account Reconciliation



Lambda School might review your account at any time to ensure that your monthly payments accurately
reflect your earned income.



If you underpaid or failed to pay one or more monthly payments, Lambda School will notify you in writing
of what you owe and any late charges. At Lambda School’s discretion, any amount you owe will be added
to one of your future monthly payments, will be spread evenly over up to six future monthly payments, or,
if you are not required to make a monthly payment or if this agreement has been terminated, will be
billed to you separately.
             Case 3:23-cv-01440-AGT        Document 1       Filed 03/27/23    Page 69 of 166

If you overpaid, Lambda School will notify you of the overpayment and reduce your next one or more
monthly payments by the amount of the overpayment. If Lambda School discovers an overpayment after
this agreement has terminated, it will refund the excess amount to you.



CHANGE OF STATUS



Withdrawing Early



If after the cancellation period has passed you withdraw from your program or are dismissed from the
program, under your enrollment agreement you might be required to pay Lambda School an amount up
to the maximum total amount you are required to pay under this agreement. You must notify Lambda
School if you wish to withdraw from the program.



Disability



If you die or become disabled, as determined by the U.S. Social Security Administration or any other
federal or state government agency, due to a condition that began or deteriorated after the date of this
agreement, you will no longer be required to pay Lambda School what you owe under this agreement,
including any past due amounts and fees.

If you die or become disabled, as determined by the U.S. Social Security Administration or any other
federal or state government agency, due to a condition that began or deteriorated after the date of this
agreement, you will no longer be required to pay Lambda School what you owe under this agreement,
including any past due amounts and fees.




DEFAULT



Except as provided by law, you will be in default under this agreement if any of the following occurs:



    you do not pay a monthly payment in full when due or otherwise don’t do something you promise to
    do in this agreement or your enrollment agreement

    you make an inaccurate statement of fact in this agreement or your enrollment agreement

    you provide inaccurate or incomplete information in your Lambda School application, your
    enrollment agreement, or any other written communication with Lambda School

    you begin a voluntary bankruptcy case under title 11 of the United States Code

    anyone begins an involuntary bankruptcy case against you under title 11 of the United States Code
    and either (1) the case is not dismissed by midnight at the end of the 60th day after it is begun or (2)
    the court hearing the case issues an order approving the case
             Case 3:23-cv-01440-AGT        Document 1      Filed 03/27/23    Page 70 of 166

    you fail generally to pay your debts as they become due (other than any debts for which you dispute
    in good faith your liability or the amount) or you acknowledge in writing that you are unable to do so


Remedies



If you are in default under this agreement, at Lambda School’s request you must pay Lambda School the
entire amount you owe under this agreement. Lambda School will also have all other remedies available
by law.




DISPUTES



Arbitration



As the exclusive means of initiating adversarial proceedings to resolve any dispute arising out of this
agreement, your Lambda School tuition, or your payments to Lambda School (other than any proceeding
commenced by either party seeking an injunction, a restraining order, or any other equitable remedy or a
proceeding commenced by either party in small claims court), either party may demand that the dispute
be resolved by binding arbitration administered by the American Arbitration Association in accordance
with its Consumer Arbitration Rules available at www.adr.org. If AAA is completely unavailable, and if you
and Lambda School cannot agree on a substitute, then either you or Lambda School may request that a
court appoint a substitute. The rules in this arbitration agreement will be followed if there is
disagreement between the agreement and the arbitration forum’s procedures. Judgment on any award
rendered in any such arbitration may be entered in any court having jurisdiction. This arbitration
agreement is governed by the Federal Arbitration Act (FAA).



Any such arbitration must be conducted by one arbitrator and must be conducted in San Francisco,
California, the county with a major commercial airport nearest to where you live, or another mutually
agreed location. If the claim is for $25,000 or less, you may choose whether the arbitration will be
conducted (1) solely on the basis of documents submitted to the arbitrator or (2) by means of a hearing
conducted by telephone.



No Class Action



YOU AND LAMBDA SCHOOL MAY EACH BRING CLAIMS AGAINST THE OTHER ONLY IN AN
INDIVIDUAL CAPACITY AND NOT AS A PLAINTIFF OR CLASS MEMBER IN ANY PURPORTED CLASS
OR REPRESENTATIVE PROCEEDING. CLAIMS OF TWO OR MORE PERSONS MAY NOT BE JOINED OR
CONSOLIDATED IN THE SAME ARBITRATION UNLESS THEY ARISE FROM THE SAME TRANSACTION.



Jury Trial



You and Lambda School hereby waive your respective right to a trial by jury in any proceedings arising
             Case 3:23-cv-01440-AGT         Document 1       Filed 03/27/23     Page 71 of 166
out of this agreement, your Lambda School tuition, or your payments to Lambda School.




YOUR INFORMATION AND YOUR PRIVACY



Lambda School may use information you provide Lambda School under this agreement to improve its
administration of income share agreements with its students and for its other operations, including
working with its partners in performing under this agreement. Otherwise, Lambda School may disclose
information you provide Lambda School under this agreement only if it is aggregated with information
from other students or has removed from it all information that identifies it as originating with you.
Lambda School owns any information derived from or based on the information you provide Lambda
School. Lambda School maintains a privacy notice at www.lambdaschool.com/privacy. If you have any
concerns about how Lambda School treats your information, please contact Lambda School through its
website.




CONTACTING EACH OTHER



Valid Notice



For a notice under this agreement to be valid, it must be in writing and delivered by email to the email
address stated at the top of this agreement (in the case of an email message from you to Lambda School)
or to the most current email address in Lambda School’s records (in the case of an email message from
Lambda School to you), or submitted to the income-sharing manager’s online portal (in the case of an
email to the income-sharing manager). It will be deemed to have been received when sent, even if the
sender receives a machine-generated message that delivery has failed.



If a party sending an email notice under this agreement receives a machine-generated message that
delivery has failed, for that notice to be valid the sender must deliver to the intended recipient a tangible
copy of that notice with end-to-end tracking and all fees prepaid to the address stated at the top of this
agreement (in the case of delivery by you to Lambda School) or to the most current address in Lambda
School’s records (in the case of notice from Lambda School to you).



Other Communications



For any reason related to this agreement, including any amounts you owe, Lambda School may contact
you at any physical or electronic addresses or numbers (including wireless cellular telephone numbers,
ported landline numbers, VOIP, or other services) you have provided Lambda School or provide Lambda
School in the future. Lambda School may use any means of communication, including postal mail,
electronic mail, voice calls, text messaging, and recorded message using automatic-dialing devices. You
may ask that Lambda School not contact you using one or more of these means of contacting you, and the
law might impose restrictions on how Lambda School contacts you.
             Case 3:23-cv-01440-AGT        Document 1       Filed 03/27/23    Page 72 of 166
Changing Your Contact Information



You must notify Lambda School no later than 30 days after change in your primary residence, your phone
number, email address, or any other contact information you previously provided Lambda School.




OTHER TERMS



Governing Law



New York law governs all adversarial proceedings arising out of this agreement, your Lambda School
tuition, or your payments to Lambda School.



Transfers



You may not transfer (1) any discretion granted under this agreement, (2) any right to satisfy a condition
under this agreement, (3) any remedy under this agreement, or (4) any obligation imposed under this
agreement. Any purported transfer in violation of the previous sentence will be void.



Lambda School might transfer all or part of its interest in this agreement. If Lambda School transfers its
entire interest in this agreement to someone else and by mistake you pay Lambda School or its income-
sharing manager after that transfer, Lambda School has the choice of forwarding your payment to the
transferee or its project manager, returning the payment to you, or handle it in any other way Lambda
School thinks reasonable.



Your Application



You state that all information you provided in your Lambda School application was complete and accurate
when you submitted your application.



Your Age



You state that you are the age of majority or older in the state where you currently reside. (The age of
majority is the age at which you are considered an adult and responsible for your actions in the legal
sense.)



Citizenship
             Case 3:23-cv-01440-AGT        Document 1       Filed 03/27/23    Page 73 of 166
You state that you are a citizen of the United States, a permanent resident of the United States, or a
Deferred Action for Childhood Arrivals (DACA) recipient.



No Other Income Share Agreements



You state that you are not currently party to any other income share agreements with Lambda School or
anyone else. You must not enter into another income share agreement with anyone else during the term
of this agreement.



Lambda School’s Liability Is Limited



The liability of Lambda School under this agreement is limited to the aggregate of all payments you make
to Lambda School under this agreement.



Modifying Unenforceable Provisions



You acknowledge that if a dispute between the parties arises out of this agreement, your Lambda School
tuition, or your payments to Lambda School, you would want the court to interpret this agreement as
follows:



    with respect to any provision that it holds to be unenforceable, by modifying that provision to the
    minimum extent necessary to make it enforceable or, if that modification is not permitted by law, by
    disregarding that provision

    if an unenforceable provision is modified or disregarded in accordance with this section, by holding
    that the rest of the agreement will remain in effect as written

    by holding that any unenforceable provision will remain as written in any circumstances other than
    those in which the provision is held to be unenforceable

    if modifying or disregarding the unenforceable provision would result in failure of an essential
    purpose of this agreement, by holding the entire agreement unenforceable




By signing below, you acknowledge that you have read all of this agreement carefully and agree to its
terms.




 Signature:                                                                     Date:


                                                                                 05/20/2020
                Case 3:23-cv-01440-AGT   Document 1    Filed 03/27/23   Page 74 of 166
 Mailing Address:                         City, State:                    Zip Code:
                                          State College, PA




      X    I acknowledge that by providing my e-signature below, I will be legally bound to the
           above Income Share Agreement


      X
           I consent to the Income Verification Consent Form.


      X
           To help me better manage my ISA payments, I consent to the Electronic Funds
           Transfer Authorization. I understand that I may revoke this consent at any time.




Recipient IP:
Case 3:23-cv-01440-AGT   Document 1   Filed 03/27/23   Page 75 of 166




            EXHIBIT C
             Case 3:23-cv-01440-AGT        Document 1      Filed 03/27/23    Page 76 of 166
Student: Brett McAdams
Address:
Email Address:
APL_12928



INCOME SHARE AGREEMENT


This income share agreement is between Lambda Inc. (“Lambda School”) and a student (“you”). You have
previously completed an application to become a Lambda School student. Prior to or concurrently with
signing this agreement, you and Lambda School are signing an enrollment agreement in which Lambda
School accepts you as a student. Your entering into the enrollment agreement is a condition to Lambda
School admitting you to the program of educational services outlined in your enrollment agreement. If
you sign this agreement before signing an enrollment agreement, you are agreeing to Lambda School’s
standard enrollment agreement currently in effect until such time as you sign an enrollment agreement.



Lambda School charges tuition, but instead of paying tuition directly, a student may elect to have Lambda
School provide tuition funding on behalf of that student. That student commits to paying Lambda School
a fixed percentage of their income each month toward the cost of attending Lambda School, up to a
maximum number of payments and a maximum amount, on condition that the student’s income is above
the monthly equivalent of $50,000.00 annually.



In this agreement, you commit to reporting your income and to making a number of monthly payments in
return for Lambda School providing tuition funding on your behalf.



IF YOU CANCEL



If you terminate this agreement during the allowable full cancellation period specified in your enrollment
agreement, you will not owe Lambda School anything under this agreement.


                                           YOUR PAYMENTS
        Here’s a summary of the key details of your monthly payments under this agreement. More
                          information is provided elsewhere in this agreement.
   Tuition funding provided to Lambda School on your behalf                              $30,000.00
   Percentage of your monthly earned income you must pay Lambda School                         17%
   Minimum monthly earned income required for monthly payments                            $4,166.67
   Equivalent annual earned income                                                       $50,000.00
   Maximum number of monthly payments                                                            24
   Maximum term of this agreement                                                         60 months
   Maximum total amount you are required to pay (excluding fees for late or failed
                                                                                         $30,000.00
   payments)
                              FEES FOR LATE OR FAILED PAYMENTS
                                Here are the fees you might have to pay.
   if Lambda School doesn’t receive a monthly payment by the 15th of the month it is due     $50.00
   if Lambda School receives a monthly payment but that payment fails because you don’t have
            Case 3:23-cv-01440-AGT        Document 1       Filed 03/27/23    Page 77 of 166
   enough money in your account, or for any other reason                                       $35.00



THIS IS NOT A LOAN



In making monthly payments to Lambda School, you will not be repaying a student loan. In the case of a
student loan, a student borrows a set amount and repays the principal amount of the loan plus interest or
a finance charge, or both. Under this agreement, you will instead pay a fixed percentage of your income
each month for up to a maximum number of payments.



You acknowledge that the income-tax consequences of this agreement are uncertain and that Lambda
School has not provided you with any tax advice and has not assured you of specific tax consequences.
You acknowledge that you have had an opportunity to consult with your own advisors about the tax
implications of entering into this agreement.




EXAMPLES OF WHAT YOU MIGHT HAVE TO PAY



This table shows some examples of monthly and total payments under this agreement at different income
levels.


         Monthly        Equivalent Annual         Monthly       Total Amount        Number of
         Income              Income               Payment           Paid            Payments

         Less than                                  Not
                         Less than $50,000                            $0               None
         $4,166.67                               applicable

         $4,166.67            $50,000             $708.33          $17,000               24

         $5,000.00            $60,000             $850.00          $20,400               24

         $5,833.33            $70,000             $991.67          $23,800               24

         $6,666.67            $80,000            $1,133.33         $27,200               24

         $7,500.00            $90,000            $1,275.00         $30,000               24

         $8,333.33           $100,000            $1,416.67         $30,000               22

        $10,000.00           $120,000            $1,700.00         $30,000               18




DETERMINING YOUR MONTHLY PAYMENTS



The amount of each of your monthly payments is equal to 17% of your earned income in the previous
month from all your qualified positions, plus any fees you owe under this agreement. You are not required
             Case 3:23-cv-01440-AGT         Document 1      Filed 03/27/23     Page 78 of 166
to make a monthly payment if your earned income for the previous month is less than $4,166.67.



What “Earned Income” Means



For purposes of this agreement, “earned income” means all you are paid or that you earn in all your
qualified positions. Earned income is your gross income—your income before taxes or any other
withholdings (including contributions to retirement plans and savings plans). For example, the US
Internal Revenue Service for the 2019 reporting year defines income to include on an annual basis (a) the
sum of Line 1 (Wages, salaries, tips, etc.), Line 7a (Other income), and Line 8a (Business income or loss)
of IRS Form 1040, as reported or required to be reported on U.S. federal income Tax returns. All of those
are examples of “earned income.”



Earned Income does not include (1) income earned by your children or spouse (if any), (2) any money you
inherit, (3) any amounts paid to you under the Social Security disability insurance program (title II of the
Social Security Act) or the Supplemental Security Income program (title XVI of the Social Security Act),
or (4) any amounts paid to you under the Child Nutrition Act of 1966.



For purposes of this agreement, “qualified position” means work as an employee, independent contractor,
or business owner in a field related to, or position requiring knowledge of, one or more of software, data
science, full-stack web, iOS/Android development, cybersecurity, information technology, UX, and web
and app development and design and any other field or position for which you would not have been
qualified, or not have been considered or promoted into, but for your participation in your Lambda School
program or the job placement efforts of Lambda School.



If a position would otherwise be a qualified position, it will not be relevant that your Lambda School
program was in a discipline not directly related to that position.



Examples of titles for positions that would qualify include software engineer, data scientist, web
developer, and app developer. Positions in quality assurance, sales, product management, or other fields
that may seem unrelated to your Lambda School program might nevertheless qualify if your work actually
calls on skills related to your Lambda School program. A position at a company that doesn’t sell
technology products or offer technology services might also qualify—for example, a web-developer
position for any kind of company.



It will be up to Lambda School to decide whether income you earned can be attributed to a qualified
position. You must provide Lambda School any information it asks for to allow it to decide whether
income you earned should be attributed to a qualified position.



Establishing Your Earned Income



You must inform Lambda School no later than five days after starting work in a qualified position paying
you at least the minimum amount required for you to be required to make monthly payments under this
agreement. Every three months or as requested by Lambda School thereafter you must inform Lambda
             Case 3:23-cv-01440-AGT        Document 1      Filed 03/27/23      Page 79 of 166
School of the name of your employer, your job title, and your earned income.



You must submit to Lambda School via Lambda School’s online portal the following documentation
evidencing your earned income:



    before your first monthly payment and every time your earned income increases or decreases, a pay
    stub, letter from your employer, independent-contractor agreement, or other evidence of your
    monthly income

    by 30 April each year, a year-end pay stub, form W-2, form 1099, schedule K-1, or other official
    documentation showing your sources of earned income and the dates of your employment for the
    previous calendar year

    if Lambda School requests, it, a completed and signed IRS form 4506-T (or any successor form)
    designating Lambda School as the recipient of your tax return information for returns covering any
    months for which you are required to make a monthly payment, dated no earlier than 30 days before
    the date you provide it Lambda School


You authorize Lambda School to verify your earned income and your credit history by checking with your
employer (for example through the employer’s verification line), credit reporting agencies, payroll
providers, or other services. You acknowledge that Lambda School may adjust your monthly payments to
reflect any information so discovered. And Lambda School might review public information about your
employment and income, such as your profile on social media or job sites. Lambda School will act
reasonably in verifying your earned income but ultimately it will be up to Lambda School to decide
whether your documentation or other materials sufficiently prove your earned income.



You must notify Lambda School no later than 30 days if you change your tax filing status from single filing
to joint filing (or vice-versa), so Lambda School knows whether to exclude earnings of your spouse when
calculating your earned income.



Setting Your Monthly Payments



Based on the information you provide, Lambda School will determine the amount of your monthly
payments.



Lambda School may estimate one or more of your monthly payments for any period during which you fail
to submit to Lambda School documentation evidencing your earned income as required under this
agreement. In making such an estimate, Lambda school may assume that your earned income is
equivalent to the average full-time income for occupations related to your Lambda School program.



At any time you may ask Lambda School to confirm the amount of your next monthly payment.



You may not pay more than your monthly payment without Lambda School’s consent.
            Case 3:23-cv-01440-AGT        Document 1      Filed 03/27/23     Page 80 of 166



WHEN YOU MUST START MAKING MONTHLY PAYMENTS



After you have completed, withdraw from, or are withdrawn from (for any reason) your Lambda School
program, you are required to begin making payments. You will have a one-month grace period before
your first payment is due. The first month for which you are required to make a monthly payment is the
second full month in which your earned income exceeds the minimum. Here are two examples:



    if you graduate from Lambda School on 15 May and on 5 June you start a job for which you are paid
    monthly $4,166.67 or more and in June you are paid $4,166.67 or more, the first month for which
    you must make a monthly payment is August

    if you graduate from Lambda School on 15 May and on 20 June you start a job for which you are
    paid monthly at least $4,166.67 but in June you are paid less than $4,166.67, the first month for
    which you must make a monthly payment is August


For purposes of this agreement only, you have completed your Lambda School program upon the earlier
of (1) the date for completing your program specified in your enrollment agreement and (2) your
accepting a qualified position after the date specified in your enrollment agreement on which you are
responsible for the entire amount of tuition funding allocated to your program.



Your monthly payment for a given month is due on the first business day of the following month.



You will not be required to make further monthly payments under this agreement if (1) you have made 24
monthly payments, (2) you have paid the maximum amount of $30,000 (excluding fees), or (3) you have
not been required to make a monthly payment for a total of 60 months, whichever is the earliest to occur.
The maximum term of this agreement is 83 months. That would happen if you have made 24 monthly
payments and you have not been required to make a monthly payment for a total of 59 months.




HOW TO MAKE MONTHLY PAYMENTS



Income-Sharing Manager and Other Lambda School Partners



Lambda School has appointed an income-sharing manager to administer students’ monthly payments and
this agreement generally. Lambda School might on one or more occasions replace the income-sharing
manager, or itself act as or serve some functions of the income-sharing manager. You acknowledge that
any income-sharing manager and its or Lambda School’s partners will be authorized to act on behalf of
Lambda School for all purposes relating to this agreement. You may also need to accept or be subject to
terms, policies, or other practices of the income-sharing manager or other partners.



Payment Options
            Case 3:23-cv-01440-AGT        Document 1      Filed 03/27/23    Page 81 of 166

The income-sharing manager will offer you the option of making your monthly payments by automated
clearing house (ACH) payment—you would authorize the income-sharing manager to deduct from the
designated account, as it comes due, the amount of each monthly payment, until such time as you
withdraw your authorization. Or you could instead elect to pay by another method approved by Lambda
School or the income-sharing manager. Lambda School or the income-sharing manager might in the
future provide additional payment options or programs, but you might not be eligible for any such
programs.



Your Designated Bank Account



At the request of the income-sharing manager, you must establish and maintain through the online portal
during the term of this agreement a bank account with a financial institution designated by the income-
sharing manager. The income-sharing manager will be permitted to view your transactions on that
account. That information will help determine the amount of your monthly payments. You may maintain
other bank accounts too, but you must deposit all of your earned income after taxes or any other
withholdings (including contributions to retirement plans and savings plans) into your designated bank
account. It would violate this agreement for you to deposit some of your earned income after taxes or any
other withholdings (including contributions to retirement plans and savings plans) in a bank account
other than your designated bank account.



The income-sharing manager sends or calls with payment reminders and account statements by email,
phone, or SMS, or all of these—do whatever is necessary to make sure you receive them. If you don’t
receive a reminder to make a monthly payment, that will not affect the due date of that monthly payment.



Online Portal



The income-sharing manager maintains an online portal that will allow you to access a copy of this
agreement, documentation relating to your account, and information about your payment terms,
including the amount of your next monthly payment and when it’s due and any past due amounts.
Through this portal you will be able to update your information, upload documents, and change how you
authorize payment of monthly amounts.



Account Reconciliation



Lambda School might review your account at any time to ensure that your monthly payments accurately
reflect your earned income.



If you underpaid or failed to pay one or more monthly payments, Lambda School will notify you in writing
of what you owe and any late charges. At Lambda School’s discretion, any amount you owe will be added
to one of your future monthly payments, will be spread evenly over up to six future monthly payments, or,
if you are not required to make a monthly payment or if this agreement has been terminated, will be
billed to you separately.
             Case 3:23-cv-01440-AGT        Document 1       Filed 03/27/23    Page 82 of 166

If you overpaid, Lambda School will notify you of the overpayment and reduce your next one or more
monthly payments by the amount of the overpayment. If Lambda School discovers an overpayment after
this agreement has terminated, it will refund the excess amount to you.



CHANGE OF STATUS



Withdrawing Early



If after the cancellation period has passed you withdraw from your program or are dismissed from the
program, under your enrollment agreement you might be required to pay Lambda School an amount up
to the maximum total amount you are required to pay under this agreement. You must notify Lambda
School if you wish to withdraw from the program.



Disability



If you die or become disabled, as determined by the U.S. Social Security Administration or any other
federal or state government agency, due to a condition that began or deteriorated after the date of this
agreement, you will no longer be required to pay Lambda School what you owe under this agreement,
including any past due amounts and fees.

If you die or become disabled, as determined by the U.S. Social Security Administration or any other
federal or state government agency, due to a condition that began or deteriorated after the date of this
agreement, you will no longer be required to pay Lambda School what you owe under this agreement,
including any past due amounts and fees.




DEFAULT



Except as provided by law, you will be in default under this agreement if any of the following occurs:



    you do not pay a monthly payment in full when due or otherwise don’t do something you promise to
    do in this agreement or your enrollment agreement

    you make an inaccurate statement of fact in this agreement or your enrollment agreement

    you provide inaccurate or incomplete information in your Lambda School application, your
    enrollment agreement, or any other written communication with Lambda School

    you begin a voluntary bankruptcy case under title 11 of the United States Code

    anyone begins an involuntary bankruptcy case against you under title 11 of the United States Code
    and either (1) the case is not dismissed by midnight at the end of the 60th day after it is begun or (2)
    the court hearing the case issues an order approving the case
             Case 3:23-cv-01440-AGT        Document 1      Filed 03/27/23    Page 83 of 166

    you fail generally to pay your debts as they become due (other than any debts for which you dispute
    in good faith your liability or the amount) or you acknowledge in writing that you are unable to do so


Remedies



If you are in default under this agreement, at Lambda School’s request you must pay Lambda School the
entire amount you owe under this agreement. Lambda School will also have all other remedies available
by law.




DISPUTES



Arbitration



As the exclusive means of initiating adversarial proceedings to resolve any dispute arising out of this
agreement, your Lambda School tuition, or your payments to Lambda School (other than any proceeding
commenced by either party seeking an injunction, a restraining order, or any other equitable remedy or a
proceeding commenced by either party in small claims court), either party may demand that the dispute
be resolved by binding arbitration administered by the American Arbitration Association in accordance
with its Consumer Arbitration Rules available at www.adr.org. If AAA is completely unavailable, and if you
and Lambda School cannot agree on a substitute, then either you or Lambda School may request that a
court appoint a substitute. The rules in this arbitration agreement will be followed if there is
disagreement between the agreement and the arbitration forum’s procedures. Judgment on any award
rendered in any such arbitration may be entered in any court having jurisdiction. This arbitration
agreement is governed by the Federal Arbitration Act (FAA).



Any such arbitration must be conducted by one arbitrator and must be conducted in San Francisco,
California, the county with a major commercial airport nearest to where you live, or another mutually
agreed location. If the claim is for $25,000 or less, you may choose whether the arbitration will be
conducted (1) solely on the basis of documents submitted to the arbitrator or (2) by means of a hearing
conducted by telephone.



No Class Action



YOU AND LAMBDA SCHOOL MAY EACH BRING CLAIMS AGAINST THE OTHER ONLY IN AN
INDIVIDUAL CAPACITY AND NOT AS A PLAINTIFF OR CLASS MEMBER IN ANY PURPORTED CLASS
OR REPRESENTATIVE PROCEEDING. CLAIMS OF TWO OR MORE PERSONS MAY NOT BE JOINED OR
CONSOLIDATED IN THE SAME ARBITRATION UNLESS THEY ARISE FROM THE SAME TRANSACTION.



Jury Trial



You and Lambda School hereby waive your respective right to a trial by jury in any proceedings arising
             Case 3:23-cv-01440-AGT         Document 1       Filed 03/27/23     Page 84 of 166
out of this agreement, your Lambda School tuition, or your payments to Lambda School.




YOUR INFORMATION AND YOUR PRIVACY



Lambda School may use information you provide Lambda School under this agreement to improve its
administration of income share agreements with its students and for its other operations, including
working with its partners in performing under this agreement. Otherwise, Lambda School may disclose
information you provide Lambda School under this agreement only if it is aggregated with information
from other students or has removed from it all information that identifies it as originating with you.
Lambda School owns any information derived from or based on the information you provide Lambda
School. Lambda School maintains a privacy notice at www.lambdaschool.com/privacy. If you have any
concerns about how Lambda School treats your information, please contact Lambda School through its
website.




CONTACTING EACH OTHER



Valid Notice



For a notice under this agreement to be valid, it must be in writing and delivered by email to the email
address stated at the top of this agreement (in the case of an email message from you to Lambda School)
or to the most current email address in Lambda School’s records (in the case of an email message from
Lambda School to you), or submitted to the income-sharing manager’s online portal (in the case of an
email to the income-sharing manager). It will be deemed to have been received when sent, even if the
sender receives a machine-generated message that delivery has failed.



If a party sending an email notice under this agreement receives a machine-generated message that
delivery has failed, for that notice to be valid the sender must deliver to the intended recipient a tangible
copy of that notice with end-to-end tracking and all fees prepaid to the address stated at the top of this
agreement (in the case of delivery by you to Lambda School) or to the most current address in Lambda
School’s records (in the case of notice from Lambda School to you).



Other Communications



For any reason related to this agreement, including any amounts you owe, Lambda School may contact
you at any physical or electronic addresses or numbers (including wireless cellular telephone numbers,
ported landline numbers, VOIP, or other services) you have provided Lambda School or provide Lambda
School in the future. Lambda School may use any means of communication, including postal mail,
electronic mail, voice calls, text messaging, and recorded message using automatic-dialing devices. You
may ask that Lambda School not contact you using one or more of these means of contacting you, and the
law might impose restrictions on how Lambda School contacts you.
             Case 3:23-cv-01440-AGT        Document 1       Filed 03/27/23    Page 85 of 166
Changing Your Contact Information



You must notify Lambda School no later than 30 days after change in your primary residence, your phone
number, email address, or any other contact information you previously provided Lambda School.




OTHER TERMS



Governing Law



New York law governs all adversarial proceedings arising out of this agreement, your Lambda School
tuition, or your payments to Lambda School.



Transfers



You may not transfer (1) any discretion granted under this agreement, (2) any right to satisfy a condition
under this agreement, (3) any remedy under this agreement, or (4) any obligation imposed under this
agreement. Any purported transfer in violation of the previous sentence will be void.



Lambda School might transfer all or part of its interest in this agreement. If Lambda School transfers its
entire interest in this agreement to someone else and by mistake you pay Lambda School or its income-
sharing manager after that transfer, Lambda School has the choice of forwarding your payment to the
transferee or its project manager, returning the payment to you, or handle it in any other way Lambda
School thinks reasonable.



Your Application



You state that all information you provided in your Lambda School application was complete and accurate
when you submitted your application.



Your Age



You state that you are the age of majority or older in the state where you currently reside. (The age of
majority is the age at which you are considered an adult and responsible for your actions in the legal
sense.)



Citizenship
             Case 3:23-cv-01440-AGT        Document 1       Filed 03/27/23    Page 86 of 166
You state that you are a citizen of the United States, a permanent resident of the United States, or a
Deferred Action for Childhood Arrivals (DACA) recipient.



No Other Income Share Agreements



You state that you are not currently party to any other income share agreements with Lambda School or
anyone else. You must not enter into another income share agreement with anyone else during the term
of this agreement.



Lambda School’s Liability Is Limited



The liability of Lambda School under this agreement is limited to the aggregate of all payments you make
to Lambda School under this agreement.



Modifying Unenforceable Provisions



You acknowledge that if a dispute between the parties arises out of this agreement, your Lambda School
tuition, or your payments to Lambda School, you would want the court to interpret this agreement as
follows:



    with respect to any provision that it holds to be unenforceable, by modifying that provision to the
    minimum extent necessary to make it enforceable or, if that modification is not permitted by law, by
    disregarding that provision

    if an unenforceable provision is modified or disregarded in accordance with this section, by holding
    that the rest of the agreement will remain in effect as written

    by holding that any unenforceable provision will remain as written in any circumstances other than
    those in which the provision is held to be unenforceable

    if modifying or disregarding the unenforceable provision would result in failure of an essential
    purpose of this agreement, by holding the entire agreement unenforceable




By signing below, you acknowledge that you have read all of this agreement carefully and agree to its
terms.




 Signature:                                                                    Date:


                                                                                06/15/2020
                Case 3:23-cv-01440-AGT   Document 1     Filed 03/27/23   Page 87 of 166
 Mailing Address:                            City, State:                 Zip Code:
                                             Apopka, FL




      X      I acknowledge that by providing my e-signature below, I will be legally bound to the
             above Income Share Agreement


      X
             I consent to the Income Verification Consent Form.


      X
             To help me better manage my ISA payments, I consent to the Electronic Funds
             Transfer Authorization. I understand that I may revoke this consent at any time.




Recipient IP:

Funder IP:
Case 3:23-cv-01440-AGT   Document 1   Filed 03/27/23   Page 88 of 166




            EXHIBIT D
             Case 3:23-cv-01440-AGT        Document 1      Filed 03/27/23    Page 89 of 166
Student: Quinn Molina
Address:
Email Address:
APL_15899



INCOME SHARE AGREEMENT


This income share agreement is between Lambda Inc. (“Lambda School”) and a student (“you”). You have
previously completed an application to become a Lambda School student. Prior to or concurrently with
signing this agreement, you and Lambda School are signing an enrollment agreement in which Lambda
School accepts you as a student. Your entering into the enrollment agreement is a condition to Lambda
School admitting you to the program of educational services outlined in your enrollment agreement. If
you sign this agreement before signing an enrollment agreement, you are agreeing to Lambda School’s
standard enrollment agreement currently in effect until such time as you sign an enrollment agreement.



Lambda School charges tuition, but instead of paying tuition directly, a student may elect to have Lambda
School provide tuition funding on behalf of that student. That student commits to paying Lambda School
a fixed percentage of their income each month toward the cost of attending Lambda School, up to a
maximum number of payments and a maximum amount, on condition that the student’s income is above
the monthly equivalent of $50,000.00 annually.



In this agreement, you commit to reporting your income and to making a number of monthly payments in
return for Lambda School providing tuition funding on your behalf.



IF YOU CANCEL



If you terminate this agreement during the allowable full cancellation period specified in your enrollment
agreement, you will not owe Lambda School anything under this agreement.


                                           YOUR PAYMENTS
        Here’s a summary of the key details of your monthly payments under this agreement. More
                          information is provided elsewhere in this agreement.
   Tuition funding provided to Lambda School on your behalf                              $30,000.00
   Percentage of your monthly earned income you must pay Lambda School                         17%
   Minimum monthly earned income required for monthly payments                            $4,166.67
   Equivalent annual earned income                                                       $50,000.00
   Maximum number of monthly payments                                                            24
   Maximum term of this agreement                                                         60 months
   Maximum total amount you are required to pay (excluding fees for late or failed
                                                                                         $30,000.00
   payments)
                              FEES FOR LATE OR FAILED PAYMENTS
                                Here are the fees you might have to pay.
   if Lambda School doesn’t receive a monthly payment by the 15th of the month it is due     $50.00
   if Lambda School receives a monthly payment but that payment fails because you don’t have
            Case 3:23-cv-01440-AGT        Document 1       Filed 03/27/23    Page 90 of 166
   enough money in your account, or for any other reason                                       $35.00




THIS IS NOT A LOAN



In making monthly payments to Lambda School, you will not be repaying a student loan. In the case of a
student loan, a student borrows a set amount and repays the principal amount of the loan plus interest or
a finance charge, or both. Under this agreement, you will instead pay a fixed percentage of your income
each month for up to a maximum number of payments.



You acknowledge that the income-tax consequences of this agreement are uncertain and that Lambda
School has not provided you with any tax advice and has not assured you of specific tax consequences.
You acknowledge that you have had an opportunity to consult with your own advisors about the tax
implications of entering into this agreement.




EXAMPLES OF WHAT YOU MIGHT HAVE TO PAY



This table shows some examples of monthly and total payments under this agreement at different income
levels.


         Monthly        Equivalent Annual         Monthly       Total Amount        Number of
         Income              Income               Payment           Paid            Payments

         Less than                                  Not
                         Less than $50,000                            $0               None
         $4,166.67                               applicable

         $4,166.67            $50,000             $708.33          $17,000               24

         $5,000.00            $60,000             $850.00          $20,400               24

         $5,833.33            $70,000             $991.67          $23,800               24

         $6,666.67            $80,000            $1,133.33         $27,200               24

         $7,500.00            $90,000            $1,275.00         $30,000               24

         $8,333.33           $100,000            $1,416.67         $30,000               22

        $10,000.00           $120,000            $1,700.00         $30,000               18




DETERMINING YOUR MONTHLY PAYMENTS



The amount of each of your monthly payments is equal to 17% of your earned income in the previous
             Case 3:23-cv-01440-AGT         Document 1      Filed 03/27/23     Page 91 of 166
month from all your qualified positions, plus any fees you owe under this agreement. You are not required
to make a monthly payment if your earned income for the previous month is less than $4,166.67.



What “Earned Income” Means



For purposes of this agreement, “earned income” means all you are paid or that you earn in all your
qualified positions. Earned income is your gross income—your income before taxes or any other
withholdings (including contributions to retirement plans and savings plans). For example, the US
Internal Revenue Service for the 2019 reporting year defines income to include on an annual basis (a) the
sum of Line 1 (Wages, salaries, tips, etc.), Line 7a (Other income), and Line 8a (Business income or loss)
of IRS Form 1040, as reported or required to be reported on U.S. federal income Tax returns. All of those
are examples of “earned income.”



Earned Income does not include (1) income earned by your children or spouse (if any), (2) any money you
inherit, (3) any amounts paid to you under the Social Security disability insurance program (title II of the
Social Security Act) or the Supplemental Security Income program (title XVI of the Social Security Act),
or (4) any amounts paid to you under the Child Nutrition Act of 1966.



For purposes of this agreement, “qualified position” means work as an employee, independent contractor,
or business owner in a field related to, or position requiring knowledge of, one or more of software, data
science, full-stack web, iOS/Android development, cybersecurity, information technology, UX, and web
and app development and design and any other field or position for which you would not have been
qualified, or not have been considered or promoted into, but for your participation in your Lambda School
program or the job placement efforts of Lambda School.



If a position would otherwise be a qualified position, it will not be relevant that your Lambda School
program was in a discipline not directly related to that position.



Examples of titles for positions that would qualify include software engineer, data scientist, web
developer, and app developer. Positions in quality assurance, sales, product management, or other fields
that may seem unrelated to your Lambda School program might nevertheless qualify if your work actually
calls on skills related to your Lambda School program. A position at a company that doesn’t sell
technology products or offer technology services might also qualify—for example, a web-developer
position for any kind of company.



It will be up to Lambda School to decide whether income you earned can be attributed to a qualified
position. You must provide Lambda School any information it asks for to allow it to decide whether
income you earned should be attributed to a qualified position.



Establishing Your Earned Income



You must inform Lambda School no later than five days after starting work in a qualified position paying
you at least the minimum amount required for you to be required to make monthly payments under this
             Case 3:23-cv-01440-AGT        Document 1      Filed 03/27/23    Page 92 of 166
agreement. Every three months or as requested by Lambda School thereafter you must inform Lambda
School of the name of your employer, your job title, and your earned income.



You must submit to Lambda School via Lambda School’s online portal the following documentation
evidencing your earned income:



    before your first monthly payment and every time your earned income increases or decreases, a pay
    stub, letter from your employer, independent-contractor agreement, or other evidence of your
    monthly income

    by 30 April each year, a year-end pay stub, form W-2, form 1099, schedule K-1, or other official
    documentation showing your sources of earned income and the dates of your employment for the
    previous calendar year

    if Lambda School requests, it, a completed and signed IRS form 4506-T (or any successor form)
    designating Lambda School as the recipient of your tax return information for returns covering any
    months for which you are required to make a monthly payment, dated no earlier than 30 days before
    the date you provide it Lambda School


You authorize Lambda School to verify your earned income and your credit history by checking with your
employer (for example through the employer’s verification line), credit reporting agencies, payroll
providers, or other services. You acknowledge that Lambda School may adjust your monthly payments to
reflect any information so discovered. And Lambda School might review public information about your
employment and income, such as your profile on social media or job sites. Lambda School will act
reasonably in verifying your earned income but ultimately it will be up to Lambda School to decide
whether your documentation or other materials sufficiently prove your earned income.



You must notify Lambda School no later than 30 days if you change your tax filing status from single filing
to joint filing (or vice-versa), so Lambda School knows whether to exclude earnings of your spouse when
calculating your earned income.



Setting Your Monthly Payments



Based on the information you provide, Lambda School will determine the amount of your monthly
payments.



Lambda School may estimate one or more of your monthly payments for any period during which you fail
to submit to Lambda School documentation evidencing your earned income as required under this
agreement. In making such an estimate, Lambda school may assume that your earned income is
equivalent to the average full-time income for occupations related to your Lambda School program.



At any time you may ask Lambda School to confirm the amount of your next monthly payment.



You may not pay more than your monthly payment without Lambda School’s consent.
            Case 3:23-cv-01440-AGT        Document 1      Filed 03/27/23     Page 93 of 166



WHEN YOU MUST START MAKING MONTHLY PAYMENTS



After you have completed, withdraw from, or are withdrawn from (for any reason) your Lambda School
program, you are required to begin making payments. You will have a one-month grace period before
your first payment is due. The first month for which you are required to make a monthly payment is the
second full month in which your earned income exceeds the minimum. Here are two examples:



    if you graduate from Lambda School on 15 May and on 5 June you start a job for which you are paid
    monthly $4,166.67 or more and in June you are paid $4,166.67 or more, the first month for which
    you must make a monthly payment is August

    if you graduate from Lambda School on 15 May and on 20 June you start a job for which you are
    paid monthly at least $4,166.67 but in June you are paid less than $4,166.67, the first month for
    which you must make a monthly payment is August


For purposes of this agreement only, you have completed your Lambda School program upon the earlier
of (1) the date for completing your program specified in your enrollment agreement and (2) your
accepting a qualified position after the date specified in your enrollment agreement on which you are
responsible for the entire amount of tuition funding allocated to your program.



Your monthly payment for a given month is due on the first business day of the following month.



You will not be required to make further monthly payments under this agreement if (1) you have made 24
monthly payments, (2) you have paid the maximum amount of $30,000 (excluding fees), or (3) you have
not been required to make a monthly payment for a total of 60 months, whichever is the earliest to occur.
The maximum term of this agreement is 83 months. That would happen if you have made 24 monthly
payments and you have not been required to make a monthly payment for a total of 59 months.




HOW TO MAKE MONTHLY PAYMENTS



Income-Sharing Manager and Other Lambda School Partners



Lambda School has appointed an income-sharing manager to administer students’ monthly payments and
this agreement generally. Lambda School might on one or more occasions replace the income-sharing
manager, or itself act as or serve some functions of the income-sharing manager. You acknowledge that
any income-sharing manager and its or Lambda School’s partners will be authorized to act on behalf of
Lambda School for all purposes relating to this agreement. You may also need to accept or be subject to
terms, policies, or other practices of the income-sharing manager or other partners.



Payment Options
            Case 3:23-cv-01440-AGT        Document 1      Filed 03/27/23    Page 94 of 166

The income-sharing manager will offer you the option of making your monthly payments by automated
clearing house (ACH) payment—you would authorize the income-sharing manager to deduct from the
designated account, as it comes due, the amount of each monthly payment, until such time as you
withdraw your authorization. Or you could instead elect to pay by another method approved by Lambda
School or the income-sharing manager. Lambda School or the income-sharing manager might in the
future provide additional payment options or programs, but you might not be eligible for any such
programs.



Your Designated Bank Account



At the request of the income-sharing manager, you must establish and maintain through the online portal
during the term of this agreement a bank account with a financial institution designated by the income-
sharing manager. The income-sharing manager will be permitted to view your transactions on that
account. That information will help determine the amount of your monthly payments. You may maintain
other bank accounts too, but you must deposit all of your earned income after taxes or any other
withholdings (including contributions to retirement plans and savings plans) into your designated bank
account. It would violate this agreement for you to deposit some of your earned income after taxes or any
other withholdings (including contributions to retirement plans and savings plans) in a bank account
other than your designated bank account.



The income-sharing manager sends or calls with payment reminders and account statements by email,
phone, or SMS, or all of these—do whatever is necessary to make sure you receive them. If you don’t
receive a reminder to make a monthly payment, that will not affect the due date of that monthly payment.



Online Portal



The income-sharing manager maintains an online portal that will allow you to access a copy of this
agreement, documentation relating to your account, and information about your payment terms,
including the amount of your next monthly payment and when it’s due and any past due amounts.
Through this portal you will be able to update your information, upload documents, and change how you
authorize payment of monthly amounts.



Account Reconciliation



Lambda School might review your account at any time to ensure that your monthly payments accurately
reflect your earned income.



If you underpaid or failed to pay one or more monthly payments, Lambda School will notify you in writing
of what you owe and any late charges. At Lambda School’s discretion, any amount you owe will be added
to one of your future monthly payments, will be spread evenly over up to six future monthly payments, or,
if you are not required to make a monthly payment or if this agreement has been terminated, will be
billed to you separately.
             Case 3:23-cv-01440-AGT        Document 1       Filed 03/27/23    Page 95 of 166

If you overpaid, Lambda School will notify you of the overpayment and reduce your next one or more
monthly payments by the amount of the overpayment. If Lambda School discovers an overpayment after
this agreement has terminated, it will refund the excess amount to you.



CHANGE OF STATUS



Withdrawing Early



If after the cancellation period has passed you withdraw from your program or are dismissed from the
program, under your enrollment agreement you might be required to pay Lambda School an amount up
to the maximum total amount you are required to pay under this agreement. You must notify Lambda
School if you wish to withdraw from the program.



Disability



If you die or become disabled, as determined by the U.S. Social Security Administration or any other
federal or state government agency, due to a condition that began or deteriorated after the date of this
agreement, you will no longer be required to pay Lambda School what you owe under this agreement,
including any past due amounts and fees.

If you die or become disabled, as determined by the U.S. Social Security Administration or any other
federal or state government agency, due to a condition that began or deteriorated after the date of this
agreement, you will no longer be required to pay Lambda School what you owe under this agreement,
including any past due amounts and fees.




DEFAULT



Except as provided by law, you will be in default under this agreement if any of the following occurs:



    you do not pay a monthly payment in full when due or otherwise don’t do something you promise to
    do in this agreement or your enrollment agreement

    you make an inaccurate statement of fact in this agreement or your enrollment agreement

    you provide inaccurate or incomplete information in your Lambda School application, your
    enrollment agreement, or any other written communication with Lambda School

    you begin a voluntary bankruptcy case under title 11 of the United States Code

    anyone begins an involuntary bankruptcy case against you under title 11 of the United States Code
    and either (1) the case is not dismissed by midnight at the end of the 60th day after it is begun or (2)
    the court hearing the case issues an order approving the case
              Case 3:23-cv-01440-AGT       Document 1      Filed 03/27/23    Page 96 of 166

    you fail generally to pay your debts as they become due (other than any debts for which you dispute
    in good faith your liability or the amount) or you acknowledge in writing that you are unable to do so


Remedies



If you are in default under this agreement, at Lambda School’s request you must pay Lambda School the
entire amount you owe under this agreement. Lambda School will also have all other remedies available
by law.




DISPUTES



Arbitration



As the exclusive means of initiating adversarial proceedings to resolve any dispute arising out of this
agreement, your Lambda School tuition, or your payments to Lambda School (other than any proceeding
commenced by either party seeking an injunction, a restraining order, or any other equitable remedy or a
proceeding commenced by either party in small claims court), either party may demand that the dispute
be resolved by binding arbitration administered by the American Arbitration Association in accordance
with its Consumer Arbitration Rules available at www.adr.org. If AAA is completely unavailable, and if you
and Lambda School cannot agree on a substitute, then either you or Lambda School may request that a
court appoint a substitute. The rules in this arbitration agreement will be followed if there is
disagreement between the agreement and the arbitration forum’s procedures. Judgment on any award
rendered in any such arbitration may be entered in any court having jurisdiction. This arbitration
agreement is governed by the Federal Arbitration Act (FAA).



Any such arbitration must be conducted by one arbitrator and must be conducted in San Francisco,
California, the county with a major commercial airport nearest to where you live, or another mutually
agreed location. If the claim is for $25,000 or less, you may choose whether the arbitration will be
conducted (1) solely on the basis of documents submitted to the arbitrator or (2) by means of a hearing
conducted by telephone.



No Class Action



YOU AND LAMBDA SCHOOL MAY EACH BRING CLAIMS AGAINST THE OTHER ONLY IN AN
INDIVIDUAL CAPACITY AND NOT AS A PLAINTIFF OR CLASS MEMBER IN ANY PURPORTED CLASS
OR REPRESENTATIVE PROCEEDING. CLAIMS OF TWO OR MORE PERSONS MAY NOT BE JOINED OR
CONSOLIDATED IN THE SAME ARBITRATION UNLESS THEY ARISE FROM THE SAME TRANSACTION.



Jury Trial



You and Lambda School hereby waive your respective right to a trial by jury in any proceedings arising
             Case 3:23-cv-01440-AGT         Document 1       Filed 03/27/23     Page 97 of 166
out of this agreement, your Lambda School tuition, or your payments to Lambda School.




YOUR INFORMATION AND YOUR PRIVACY



Lambda School may use information you provide Lambda School under this agreement to improve its
administration of income share agreements with its students and for its other operations, including
working with its partners in performing under this agreement. Otherwise, Lambda School may disclose
information you provide Lambda School under this agreement only if it is aggregated with information
from other students or has removed from it all information that identifies it as originating with you.
Lambda School owns any information derived from or based on the information you provide Lambda
School. Lambda School maintains a privacy notice at www.lambdaschool.com/privacy. If you have any
concerns about how Lambda School treats your information, please contact Lambda School through its
website.




CONTACTING EACH OTHER



Valid Notice



For a notice under this agreement to be valid, it must be in writing and delivered by email to the email
address stated at the top of this agreement (in the case of an email message from you to Lambda School)
or to the most current email address in Lambda School’s records (in the case of an email message from
Lambda School to you), or submitted to the income-sharing manager’s online portal (in the case of an
email to the income-sharing manager). It will be deemed to have been received when sent, even if the
sender receives a machine-generated message that delivery has failed.



If a party sending an email notice under this agreement receives a machine-generated message that
delivery has failed, for that notice to be valid the sender must deliver to the intended recipient a tangible
copy of that notice with end-to-end tracking and all fees prepaid to the address stated at the top of this
agreement (in the case of delivery by you to Lambda School) or to the most current address in Lambda
School’s records (in the case of notice from Lambda School to you).



Other Communications



For any reason related to this agreement, including any amounts you owe, Lambda School may contact
you at any physical or electronic addresses or numbers (including wireless cellular telephone numbers,
ported landline numbers, VOIP, or other services) you have provided Lambda School or provide Lambda
School in the future. Lambda School may use any means of communication, including postal mail,
electronic mail, voice calls, text messaging, and recorded message using automatic-dialing devices. You
may ask that Lambda School not contact you using one or more of these means of contacting you, and the
law might impose restrictions on how Lambda School contacts you.
              Case 3:23-cv-01440-AGT       Document 1       Filed 03/27/23    Page 98 of 166
Changing Your Contact Information



You must notify Lambda School no later than 30 days after change in your primary residence, your phone
number, email address, or any other contact information you previously provided Lambda School.




OTHER TERMS



Governing Law



New York law governs all adversarial proceedings arising out of this agreement, your Lambda School
tuition, or your payments to Lambda School.



Transfers



You may not transfer (1) any discretion granted under this agreement, (2) any right to satisfy a condition
under this agreement, (3) any remedy under this agreement, or (4) any obligation imposed under this
agreement. Any purported transfer in violation of the previous sentence will be void.



Lambda School might transfer all or part of its interest in this agreement. If Lambda School transfers its
entire interest in this agreement to someone else and by mistake you pay Lambda School or its income-
sharing manager after that transfer, Lambda School has the choice of forwarding your payment to the
transferee or its project manager, returning the payment to you, or handle it in any other way Lambda
School thinks reasonable.



Your Application



You state that all information you provided in your Lambda School application was complete and accurate
when you submitted your application.



Your Age



You state that you are the age of majority or older in the state where you currently reside. (The age of
majority is the age at which you are considered an adult and responsible for your actions in the legal
sense.)



Citizenship
             Case 3:23-cv-01440-AGT        Document 1       Filed 03/27/23    Page 99 of 166
You state that you are a citizen of the United States, a permanent resident of the United States, or a
Deferred Action for Childhood Arrivals (DACA) recipient.



No Other Income Share Agreements



You state that you are not currently party to any other income share agreements with Lambda School or
anyone else. You must not enter into another income share agreement with anyone else during the term
of this agreement.



Lambda School’s Liability Is Limited



The liability of Lambda School under this agreement is limited to the aggregate of all payments you make
to Lambda School under this agreement.



Modifying Unenforceable Provisions



You acknowledge that if a dispute between the parties arises out of this agreement, your Lambda School
tuition, or your payments to Lambda School, you would want the court to interpret this agreement as
follows:



    with respect to any provision that it holds to be unenforceable, by modifying that provision to the
    minimum extent necessary to make it enforceable or, if that modification is not permitted by law, by
    disregarding that provision

    if an unenforceable provision is modified or disregarded in accordance with this section, by holding
    that the rest of the agreement will remain in effect as written

    by holding that any unenforceable provision will remain as written in any circumstances other than
    those in which the provision is held to be unenforceable

    if modifying or disregarding the unenforceable provision would result in failure of an essential
    purpose of this agreement, by holding the entire agreement unenforceable




By signing below, you acknowledge that you have read all of this agreement carefully and agree to its
terms.




 Signature:                                                                    Date:


                                                                                01/08/2021
            Case 3:23-cv-01440-AGT     Document 1    Filed 03/27/23   Page 100 of 166
 Mailing Address:                          City, State:                 Zip Code:
                                           Olympia, WA




      X    I acknowledge that by providing my e-signature below, I will be legally bound to the
           above Income Share Agreement


      X
           I consent to the Income Verification Consent Form.


      X
           To help me better manage my ISA payments, I consent to the Electronic Funds
           Transfer Authorization. I understand that I may revoke this consent at any time.




Recipient IP:
Case 3:23-cv-01440-AGT   Document 1   Filed 03/27/23   Page 101 of 166




             EXHIBIT E
             Case 3:23-cv-01440-AGT                  Document 1              Filed 03/27/23            Page 102 of 166




..+.
BPPE
                     BU SIN ES!;;, CONSUM ER SERVICES AND HOUS ING AGENCY   • GAVIN NEWSOM, GOVERNOH
                     DEPARTMENT OF CONSUMER AFFAIRS • BUREAU FOR PRIVATE POSTSECONDARY EDUCAT ION
                     2535 Capitol Oaks Drive, Suite 400, Sacramento, CA 95833
                     P.O. Box 980818, West Sacramen to, CA 95798-0818
                     P (9 16) 431 -6959 I Toll-Free (888) 370-7589 I www.bppe.ca.gov


                 CITATION: ASSESSMENT OF FINE AND ORDER OF ABATEMENT


      To: Lambda Inc., dba Lambda School, Owner
          Lambda Inc.
          5820 Stoneridge Mall Rd., Ste. 212
          Pleasanton, CA 94588


      INSTITUTION CODE: Unapproved
      CITATION NUMBER: 1819150
      CITATION ISSUANCE/SERVICE DATE: March 20, 2019
      D E DATE: A ril
      FINE AMOUNT:$ 75,000.00
      ORDER OF ABATEMENT INCLUDED: Yes


      Christina Villanueva issues this Citation: Assessment of Fine and Order of Abatement (Citation) in
      her official capacity as Discipline Manager for the Bureau for Private Postsecondary Education
      (Bureau) of the California Department of Consumer Affairs.

                                                           CITATION

      A Citation is hereby issued to Lambda Inc., dba La mbda School, Owner of Lambda School (Institution)
      located at 5820 Stoneridge Mall Rd., Ste. 212, Pleasanton, CA 94588 pursuant to Business and
      Professions Code section 125.9 and 149; California Education Code (CEC) section 94944; and Title 5
      of the California Code of Regulations (5, CCR) section 75020 for the violation(s) described below.

                                                         BACKGROUND

      On July 13, 2018, the Bureau received a complaint alleging, the Institution was operating without
      Bureau approval. Through the course of the investigation and evidence obtained, it w as determined
      the Institution is operating without Bureau approval.

                                                         VIOLATION(S)

 #      Below you will find the California Education Code (CEC) and/or Title 5 of the California Code of
        Regulations (5, CCR code) section(s) of law you are charged with violating.
 1.     Violation:
        CEC Section 94886. Approval to Operate Required
        "Except as exempted in Article 4 (commencing with Section 94874) or in compliance with th e
        transition provisions in Article 2 (comm encing with Section 94802), a person shall not open, conduct,
        or do business as a priva te postsecondary educational institution in this state without obtaining a n
        approval to op erate und er this chapter."


                                                               Page 1 of 4
                                      Cita tion: Assess me nt of Fine a nd Orde r of Aba te me nt
                                   La mbda Inc., db a La mb da School, Owner of La mbda School
                                                   Ins titutio n Code: Una pp rove d
     Case 3:23-cv-01440-AGT                Document 1            Filed 03/27/23           Page 103 of 166




94858. Private Postsecondary Educational Institution
"Private postsecondary educational institution" means a priva te entity with a physical presenc e in
this state that offers postsecondary education to the public for an institutional charge.

CEC Section 94817.5. Approved to Operate or Approved
"Approved to operate" or "approved" means that an institution has received authori za tion pursua nt
to this chapter to offer to the public and to provide postsecondary educational programs."

CEC Section 94868. To Offer to the Public
"To offer to the public" means to advertis e, publicize, solicit, or recruit."

CEC Section 94869. To Operate
"To operate" means to establish, keep, or maintain any facility or location in this state where, or from
which, or through which, postsecondary educational programs are provided."

On December 5, 2018, Bureau staff investigated the complaint to determine if the Institution was
operating as a private postsecondary educational institution. The Institution is listed as "Lambda
Schoo l" on their website and is advertising to the public a set of introductory and immersive courses
in Full Stack Web, iOS Development, Android Development, Data Science, and UX Des ign. Tuition
costs are not listed as they offer Income Sharing Agreements (ISAs). The institution's "How It Works"
tab reads: "Lambda School trains people online to be software engineers at no up-front: cost. Instead of
paying tuition, students can agree to pay a percentage of their income after they're employed, and only
if they 're making more than $50k per year. //you don 't find a job, or don't reach that level of income,
you 'I/ never pay a cent."

The Institution's webs ite indicates, as part of their FAQ tab, that students can pay an upfront tuition
cost of $20,000 instead of signing an ISA. This evidence confirms that the Institution violated th e
requirement for an Approval to Operate, per CEC section 94886, as the Institution is operating
unapproved and charging students over $2,500.00 in tuition and does not qu alify for any of the
exemptions under CEC section 94874.
On December 5, 2018, the Institution was contacted, via their website's instant message option,
requesti ng information regarding the function of their California campus location. A response was
not received.

A busi ness license listing was fo u nd for Lambda School with the City of Pleasanton.

Order of Abatement:
The Bureau orders that th e Institution cease to operate as a private postsecondary educational
institution, unless the Institution qualifies for an exemption under CEC section 94874. The Institution
must discontinue recruiting or enrolling students and cease all instructional services and advertising
in any form or type of media, including th e htt ps://la mbd aschool.com and any other websites not
identified here th at are associ ated with the Institution, until such tim e as an approval to operate is
obtained from the Bureau The Institution must disconnect all telephone service numbers including
but not limited to (800) 883-1943 that a re associated with the Institution until such time as an
approval to operate is obtained from th e Bureau. To comply with the Ord er of Abatement the
Institution must submit a school closure plan to th e Burea u pursuant to California Education Code
section 94926.The Institution must provide a roster of each student currently enrolled at the
Institution. The roster must include the names of th e students, th eir contact information (including

                                                        Page 2 of 4
                             Cita tio n: Assess me nt of Fine a nd Order of Aba temen t
                          La mbda In c., d ba La mbda School, Ow ne r of La mbda School
                                           Ins titu tio n Code: Una pp roved
       Case 3:23-cv-01440-AGT                Document 1             Filed 03/27/23            Page 104 of 166




  phone number, email address, and physical address), the programs in which they are enrolled, the
  amount paid for the programs.

  Assessment of Fine
  The fine for this violation is $75,000.00
             TOTAL ADMINISTRATIVE FINE DUE: $75,000.00

                                           ASSESSMENT OF A FINE

In accordance with CEC section 94944; and 5, CCR section 75020(b), the Bureau hereby orders this
assessment of a fine in the amount of $75,0000.00 for the violations described above. Payment
must be made, to the Bureau, within 30 days from the date of service of the Citation.

                            COMPLIANCE WITH ORDER OF ABATEMENT

In accordance with the provisions of 5, CCR section 75020 (b) the Bureau hereby issues the order(s)
of abatement described above. In accordance with Business and Professions Code Section 149, the
Bureau may disconnect any telephone service numbers used by an unapproved Institution. Evidence
of compliance with the order(s) of abatement must be submitted, to the Bureau, within 30
days from the date of service of the Citation.

                                           APPEAL OF CITATION

You have the rightto contest this Citation through an informal conference with the Bureau; and/or
through an administrative hearing in accordance with Chapter 5 (Commencing with Section 11500)
of Part 1 of Division 3 of Title 2 of the Government Code.

If you wish to contest this Citation, you must submit the 'Notice of Appeal of Citation - Request for
Informal Conference and/or Administrative Hearing' form (enclosed) within 30 days from the date
of service of the Citation. //you do not request an informal conference and/or an administrative hearing
within 30 days from the service of the Citation,you will not be able to request one at a later time.

Unless a written request for an informal conference and/or an administrative hearing is signed by
you and delivered to the Bureau by April 19, 2019, you will be deemed to have waived or forfeited
your right to appeal this matter.

                                     EFFECTIVE DATE OF CITATION

If you do not request an informal conference and/or an administrative hearing, this Citation shall
become effective on March 20, 2019. Payment of the administrative fine and evidence of compliance
with the order(s) of abatement shall be due by April 19, 2019. Your payment of the administrative
fine shall not constitute an admission of the violation(s) charged.

If a hearing is requested, you will not be required to comply with this Citation until 30 days after a
final order is entered against you.




                                                       Page 3 of 4
                              Cita tion : Assess me nt of Fin e a nd Orde r of Aba te me nt
                           La mbda Inc., dba La mbd a School, Owne r of Lambda School
                                            Ins titution Code: Un a pproved
      Case 3:23-cv-01440-AGT               Document 1           Filed 03/27/23           Page 105 of 166




Payment of the administrative fine and/or written request for appeal must be mailed to:
                           Gurinder Sandhu, Discipline Citation Program
                           Bureau for Private Postsecondary Education
                                2535 Capitol Oaks Drive, Suite 400
                                      Sacramento, CA 95833

      Failure for an applicant or institution to abate the violation(s) listed above or to pay the
administrative fine within the time allowed may result in denial of an application for an approval or
 renewal to operate; disciplinary action, and/or collection action. The Bureau will promptly take all
   appropriate action to enforce this Citation and recover the civil penalties prescribed therein or
                                    found to be due after a hearing.

                                       CONTACT INFORMATION

If you have any questions regarding this Citation, or desire further information, please contact
Gurinder Sandhu, Citation Analyst, at 916-431-6940 or Gurinder.S andhu@dc a.ca.gov.




Christina Villanueva                                                  Date
Discipline Manager


Enclosures
       Applicable Laws Violated
       Statement of Rights: Appeal Process Information Sheet
       Notice of Appeal of Citation: Request for Informal Conference and/or Administrative Hearing
       Payment of Fine - Waiver of Appeal
       Declaration of Service by Certified and First-Class Mail




                                                     Page 4 of 4
                             Cita tion: Assess me nt of Fine a nd Orde r of Abate ment
                          La mbd a Inc., db a Lambda School, Own e r of Lambda School
                                          Ins titution Cod e: Unapprove d
Case 3:23-cv-01440-AGT   Document 1   Filed 03/27/23   Page 106 of 166




             EXHIBIT F
           Case 3:23-cv-01440-AGT                Document 1            Filed 03/27/23           Page 107 of 166


                             DEPARTMENT OF CONSUMER AFFAIRS • 6UREAU FOR PRIVATE POSTSECONDARY EDUCATION
                             2535 Capitol Oaks Drive, Suite 400, Sacramento, CA 95833
                             P (916)431-6959 I Toll-Free (888) 370-7589 I www.bppe.ca.gov


                            APPEAL OF CITATION INFORMAL CONFERENCE
                                  DECISION; CITATION AFFIRMED

     July 24, 2019

     Lambda Inc., dba Lambda School, Owner
     Lambda School
     5820 Stoneridge Mall Rd., Ste. 212
     Pleasanton, CA 94588

              Date of Issuance                       Citation Number                           institution Code
                July 24, 2019                              1819150                               Unapproved

     On May 15, 2019, an informal telephone conference was held in the matter of Citation: Assessment
     of Fine and Order of Abatement No, 1819150 (Citation) against Lambda Inc., dba Lambda School,
     Owner of Lambda School (Institution). In attendance were Yvette Johnson, Administrative Chief;
     Keith Zakarin, Attorney; and Trevor McKendrick, Lambda Counsel Chief of Staff.

     Pursuant to Business and Professions Code, §148; California Education Code (CEC), section 94944;
     and Title 5 of California Code of Regulations (5, CCR), section 75020 and section 75040, the Bureau
     for Private Postsecondary Education (Bureau) renders the following decision relative to your
     appeal of the Citation No, 1819150.

     It is the decision of the Administrative Chief that on July 11, 2019, Citation No. 1819150 is affirmed
     for the following reason(s):

                     No new substantive facts were presented at the conference.

                                      VIOLATION CODE SECTIONS



1.     Violation:
       CEC Section 94886. Approval to Operate Required
       "Except as exempted in Article 4 (commencin9 with Section 94874) or in compliance with the
       transition provisions in Article 2 (commencin9 with Section 94802}, a person shall not open, conduct,
       or do business as a private postsecondary educational institution in this state without obtainin9 an
       approval to operate under this chapter."

       94858. Private Postsecondary Educational Institution
       "Private postsecondary educational institution" means a private entity with a physical presence in
       this state that offers postsecondary education to the public for an institutional char9e.

       CEC Section 94817.5. Approved to Operate or Approved
       "Approved to operate" or "approved" means that an institution has received authorization pursuant
       to this cha ter too er to the ublic and to rovide ostseconda educational ro rams."
                                                        Page 1of4
                                          Citation No.1819150-AFFIRMED
                                 Lambda Inc., dbaJ,ambda School, Owner of Lambda Inc.
                                              Institution code: Unapproved
    Case 3:23-cv-01440-AGT                Document 1        Filed 03/27/23       Page 108 of 166




CEC Section 94868. To Offer to the Public
"To offer to the public" means to advertise, publicize, solicit, or recruit."

CEC Section 94869. To Operate
"To operate" means to establish, keep, or maintain any facility or location in this state where, or from
which, or through which, postsecondary educational programs are provided."

On December 5, 2018, Bureau staff investigated the complaint to determine if the Institution was
operating as a private postsecondary educational institution. The Institution is listed as "Lambda
School" on their website and is advertising to the public a set of introductory and immersive
courses in Full Stack Web, iOS Development. Android Development, Data Science, and UX Design.
Tuition costs are not listed as they offer Income Sharing Agreements (JSAs). The institution's "How
It Works" tab reads: "Lambda School trains people online to be software engineers at no up-front
cost. Instead of paying tuition, students can agree to pay a percentage of their income after they're
employed, and only if they're making more than $50k per year. If you don't find a job, or don't reach
that level of income, you'll never pay a cent."

The Institution's website indicates, as part of their FAQ tab, that students can pay an upfront tuition
cost of $20,000 instead of signing an ISA. This evidence confirms that the Institution violated the
requirement for an Approval to Operate, per CEC section 94886, as the Institution is operating
unapproved and charging students over $2,500.00 in tuition and does not qualify for any of the
exemptions under CEC section 94874.
On December 5, 2018, the Institution was contacted, via their website's instant message option,
requesting information regarding the function of their California campus location. A response was
not received.

A business license listing was found for Lambda School with the City of Pleasanton.

Order of Abatement:
The Bureau orders that the Institution cease to operate as a private postsecondary educational
institution, unless the Institution qualifies for an exemption under CEC section 94874. The
Institution must discontinue recruiting or enrolling students and cease all instructional services and
advertising in any form or type of media, including the https://lambdaschool,com and any other
websites not identified here that are associated with the Institution, until such time as an approval
to operate is obtained from the Bureau The Institution must disconnect all telephone service
numbers including but not limited to (800) 883-1943 that are associated with the Institution until
such time as an approval to operate is obtained from the Bureau. To comply with the Order of
Abatement the Institution must submit a school closure plan to the Bureau pursuant to California
Education Code section 94926.The Institution must provide a roster of each student currently
enrolled at the Institution. The roster must include the names of the students, their contact
information (including phone number, email address, and physical address), the programs in which
they are enrolled, the amount paid for the programs.

Assessment of Fine
The fine for this violation is$ 75,000.




                                                 Page 2 of 4
                                   Citation No.1819150-AFFIRMED
                          Lambda Inc., dba Lambda School, Owner of Lambda Inc.
                                       Institution code: Unapproved
      Case 3:23-cv-01440-AGT             Document 1          Filed 03/27/23       Page 109 of 166




                                       ORDER OF ABATEMENT

The Bureau orders that you comply with the orders described in the 'Violation Code
Sections' of this document and submit evidence of compliance within 30 days from the date
of this decision.

                               PENALTY ASSESSMENT OF A FINE

Payment of the administrative fine is due within 30 days from the date of this decision.
Please complete the Payment of Fine form. Payment must be made to the Bureau by check, or
money order. Please include the citation number on the payment of the fine assessment. Payment of
the administrative fine shall not constitute an admission of the violation(s) charged and shall be
represented as satisfactory resolution of the matter for purposes of public disclosure. Payments
may be mailed to:

                           Cheryl Lardizabal, Discipline Citation Program
                            Bureau for Private Postsecondary Education
                                2535 Capitol Oaks Drive, Suite 400
                                      Sacramento, CA 95833

                                        APPEAL OF CITATION

You do not have the right to request another Informal Conference to appeal this affirmed Citation.
You do, however, have the right to appeal this affirmed Citation through an Administrative Hearing.
A hearing before an Administrative Law Judge will be scheduled and you will be notified of the
hearing date. The hearing will be held pursuant to Chapter 5 (commencing with section 11500) of
Part 1 of Division 3 of Title 2 of the Government Code.

                     EFFECTIVE DATE OF CITATION AND FINE ASSESSMENT

This affirmed Citation is effective on July 24, 2019. The order of abatement and payment are due by
August 23, 2019.

Failure to abate the violation or to pay the administrative fine within the time allowed is grounds
for denial of an application for an approval to operate or discipline. The Bureau will promptly take
all appropriate action to enforce the Affirmed Citation and recover the civil penalties prescribed
therein or found to be due after a hearing.

                                      CONTACT INFORMATION

If you have any questions regarding this decision or desire further information, please contact
insert name, Cheryl Lardizabal, at (916) 621-2591 or at Cheryl.Lardizabal@dca.ca.goy.



Christina Villanueva
Discipline Manager


                                                Page3of4
                                    Citation No. 1819150- AFFIRMED
                           Lambda Inc., dba Lambda School, Owner of Lambda Inc.
                                       Institution code: Unapproved
      Case 3:23-cv-01440-AGT          Document 1          Filed 03/27/23        Page 110 of 166




Enclosures
             Payment of Fine - Waiver of Appeal Rights
             Withdrawal- Request for Administrative Hearing
             Declaration of Service by Certified.and First-Class Mail




                                             Page 4 of4
                                   Citation No, 1819150- AFFIRMED
                         Lambda Inc., dba Lambda School, Owner of Lambda Inc,
                                     Institution code: Unapproved
Case 3:23-cv-01440-AGT   Document 1   Filed 03/27/23   Page 111 of 166




            EXHIBIT G
   Case 3:23-cv-01440-AGT                Document 1              Filed 03/27/23              Page 112 of 166


                           DEPARTMEtrr OF CONSUMER AFFAIRS • BUREAU FOR PRIVATE POSTSECONDARY EDUCATION
                           2535 Capitol Oaks Drive, Suite 400 , Sacramento, CA 95833

     BPPE                  P (9 16) 431-6959   I   Toll-Free (888) 370-7589   I   \vww.bppe .ca.gov




August 21, 2019

Juli Tarca
La mbda School
250 Montgomery Street, 16u,       oor
San-Francisco, CA 94104

RE: App lication for Approval to Operate for an Institution Not Accredited, #3227 4

Dear Ms . Tarca:

The Bureau for Private Postsecondary Education (Bureau) is in receipt of your Application for
Approva l to Operate for an Institution Non-Accredited, received May 14, 2019. The Bureau makes
every effort to be as complete and thorough as possible in our initial review of all documents .

Unfortunately, at this time the Bureau is unable to grant approval, based on the requirements of
the California Education Code (CEC) and Title 5 of the California Code of Regulations (CCR), in
the Sections outlined below (The Educational Programs may be subject to a further in-depth
review once we         corrected all of these deficiencies listed). Prior to approval, the Bureau must
rece ive the following information:

 Application
  Section
      5         Orga nization and Management
                                                        Issue
                                                                                                          I  Current
                                                                                                           l aw Code
                                                                                                          CCR 71140
                   • Va rious positions listed in the orga nizational chart, do not                       CCR 71720
                        have descriptions and/or are not co nsiste nt with the titles                     CCR 71730
                        within th e description secti on. (See comparison chart on
                        next page -- larger version of the chart enclosed).
                   •    The   Director of Co mmunity position li sted within th e
                        description for the Sa les Develop ment Representative is not
                        shown in the orga nizational chart.
                   • Variou s position s described in the description of job duties
                        and responsibilities section are not listed in th e
                        organizational chart. (See comparison chart on next page -
                        larger version of th e chart enclosed).
                   • The Director of Community position li sted within th e
                        description for the Sales Development Representative is not
                        part of th e description of th e job duties and responsibilities
                        docum ents. Please provide . Please be sure th at you
                        mainta in consistency in all areas. (See comparison chart on
                        next paqe - larqer version of the chart enclosed).
                 Case 3:23-cv-01440-AGT                                                               Document 1                                         Filed 03/27/23                                                       Page 113 of 166


            Jul i Tarca
            Lambda School
            August 21, 2019
            Page 2 of 3

                                  ii ,                            A                                                                      B                                                         !                          t
                                ~fJ                     Organi.zatlonal Chart                                      Description or Job dutiss and responsibilities                                        Ustad ·Mtt,ln a Oesc.riptlon

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                    6           Governing Board                                                                                                                                                                                                                 CCR 71150
                                   • Section 3.2 of the bylaws titled "Number of Directors", does
                                      not include the actual minimum-maximum number of board
                                      members in the corporation . Please provide the number of
                                      directors required for your governing board.

                    9           Exemplars of Student Agreements -                                                                                                                                                                                               CCR 71180
                                The institution provided two Enro llment Agreements. No                                                                                                                                                                         CEC 94902
                                defi ciencies fo und on the co nventional agreement; however, the
                                Income Share Agreement (ISA) tuition mode l is incompatible with
                                the Bu rea u's Current Laws due to th e fo llowing:
                                     • Th e institution is not disclosing "total charges" for th e
                                         educational program in the enro llm ent agreement as
                                         required by California Ed ucati on Code (CEC) §949 11 (b)
                                         and Title 5, Ca lifo rni a Code of Regulations (CCR)
                                         §7 1800(e ).
                                     • The institution is not able to have a refund policy for th e
                                         return of unearned institutional ch arg es as required by CEC
                                         §94920(d) and 5, CCR §71750(c) .
                                     • Th e institution, if it wa s in defau lt of th e enrollment
                                         agreeme nt or closing, would not be abl e to provide a refund
                                         calculation required by CEC §94927.
                                     • The institution is not able to assess or report Student Tuition
                                         Recovery Fund (STRF) fees required by 5, CCR §76130,
                                         §761 40(a), §76000(c), and § 762 10(e)( 2).
                                     • The insti tution is not able to report costs of tui tion in Annual
                                         Reports a nd SPFS required by 5, CCR §7 411 2(f).
                                Please update the ISA to comply with all applicable laws and
                                regulat ions. A blank checkli st is included. Please return the signed
                                 checklist noting the page numbers on which th e corrections have
                                 been made.
    Case 3:23-cv-01440-AGT              Document 1        Filed 03/27/23       Page 114 of 166

Juli Tarca
Lambda School
August 21, 2019
Page 3 of 3

     17           Facilities and Equipment                                                   CCR 71260
                     • Please provide an update on the fire code vio lation from the
                           San Francisco Fire Department.
                     • The business reg istration certificate shows an expiration
                           date of 6/30/2019; please provide a current certificate.

     20           Catalog                                                                    CCR 71290
                  A checklist noting deficiencies within the catalog is                      CCR 71810
                  included. Please return the signed checkl ist noting th.e page             CCR 71750
                  numbers on wh ich the corrections have been made.                          CCR 71770
                      • Items marked with page numbers represent information
                         within the -Catalog that has been found to be in compliance.
                          If the cata log is revised and this information is re located,
                         please indicate the new page numbers on which th e
                         inform ation has been placed.
                      • Items without page number-s represent information within
                         the catalog that needs to be added or revised. Please refer
                         to the checklist for detailed information regarding each
                         deficient item.

                  Citation Number 1819150 -                                                  CCR 75050
                  A citation was issued on July 24, 2019 (Copy of citation attached);
                  with an order of abatement and payment of $75,000 due by August
                  23, 2019.
                      • Please note: Failure for an appl icant or institution to abate
                           th e violation{s) or to pay the administrative fine within th e
                           tim e allowed may result in denial of an application fo r an
                           approval to operate or disciplinary action. The Bureau will
                           promptly take all appropriate action to enforce the affirmed
                           citation and recover th e civil penalties prescribed therein or
                           found to be due after a hea ring .


Plea se submit all requested information to my attention by September 21, 2019. Fa ilure to provid e
this information may result in the denial of your application. If you have any further questions,
please feel free to call me at (916) 431-6919 or emai l at Lucv.castillo-rilev@dca.ca.gov.

Sincerely,

J(W1 WifJ1JD- .-~
LU CY CASTILLO-RILEY
Licensing A nalyst
Phone: (916) 43 1-69 19
Lucv.castillo-rilev@dca.ca.gov
Case 3:23-cv-01440-AGT   Document 1   Filed 03/27/23   Page 115 of 166




            EXHIBIT H
     Case 3:23-cv-01440-AGT                 Document 1                Filed 03/27/23              Page 116 of 166


                       DE?AiHMEMT OF CONSU:·E R AFF AIR S • BUR ::AU FOR PRIV !\TE POSTSECONDAilY EJ UC .l.TION
                       P .O. Bo:< 9303 \,3, 1,'/e2,t Sacramento, CA 95798-0818
BPPE                   P (9 16) 431 -6959    I   TJ 'I -Fr'"e (838) 370-7589   I   www.bppe .ca.go•1



November 25, 20 19

Ju li Tarca
Lambda School
250 Montgomery Street, 16th Floor
San Francisco, CA 94 104

RE: Application for Approva l to Operate for an Institution Not Accredited , #32274

Dear Ms. Tarca:

The Bureau for Private Postsecondary Education (Bureau) is in receipt of you r App li cation for
Approval to Operate for an Institution Non Accredited, received May 14, 2019. The Bureau ma kes
every effort to be as complete and thorough as possible in our initial review of all documents.

Unfortunately, at this time the Bureau is unable to grant approval , based on the requirements of
th e California Education Code (CEC) and Title 5 of the California Code of Regu lations (CCR), in
the Sections outlined below (The Educational Programs may be subject to a further in-d epth
review once we have corrected all of these deficiencies listed). Prior to approval, the Bureau
must receive the fo ll owi ng inform ation :

 Application                                                                                                        Current
                                                         Issue
  Section                                                                                                          Law Code
      9        Exemplars of Student Agreements                                                                    CCR 71180
                  • Income Sharing Agreements typically negate th e                                               CEC 94902
                     institution's abi lity to disclose the true cost of a program. If
                     the amount owed is subject to change, it cannot be
                     satisfactorily disclosed to the public and enroll ing stude nts .
                     Please explain if and how your ISA model circumnavigates
                     this issue .

                   •   Please provide cop ies of all enro llme nt docum ents beyo nd
                       the required enrollment agreement, including ISA
                       ag reements.

                   •   Pl ease be aware , your enro ll me nt ag reement ca nnot be
                       fina ll y approved until a determ in ation has bee n made by the
                       Bureau Chief rega rd ing yo ur req ues t for an altern ative
                       refu nd ca lcu lati on. Please be prepa red to provide a fi na l
                       draft enroll ment agreement if requested (after the request
                       for alternative refund ca lculations has been addressed) .p
      12       Instruction and Degrees Offered                                                                    CCR 712 10
                   • Please schedule a demonstration of Zoom (and possibly                                        CCR 71710
                       Slack) with ass igned Se nior Education Specialist Joa nna                                 CCR 7171 5
                       Murray.                                                                                    CCR 71716
                                                                                                                  CCR 71850
                                                                                                                  CCR 71865
     Case 3:23-cv-01440-AGT              Document 1       Filed 03/27/23      Page 117 of 166

Juli Tarca
Lambda School
November 25 , 2019
Page 2 of 2

     16        Fa culty                                                                  CCR 71250
                   •      Please provide tentative signed contracts for all proposed     CCR 71720
                          faculty members.

     18        Libraries and Other Learning Resources                                    CCR 71270
                   • During the online demonstration (to be scheduled), please
                       be prepared to explain 2nd demonstrate student access of
                       online learning resources sufficient to support instruction for
                       each program.

     20        Catalog                                                                   CCR 71290
                  • Please be prepared to provide a final draft catalog when             CCR 71810
                      requested (after the request for alternative refund                CCR 71750
                      calculations has been addressed).                                  CCR 71770


Please submit all requested information to my attention by December 26, 2019. Failure to provide
this information may result in th e denial of your application . If you have any further questions,
please feel free to call me at (916) 320-3872 or email at Joanna .Murray@dca.ca .gov.

Sincerely,




JOANNA L MURRAY
Senior Education $pecialist
Quality of Ed ucation Unit
Case 3:23-cv-01440-AGT   Document 1   Filed 03/27/23   Page 118 of 166




              EXHIBIT I
                              Case 3:23-cv-01440-AGT            Document 1           Filed 03/27/23          Page 119 of 166


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                                                   LEGAL AFFAIRS DIVISION
                                                   1625 North Market Blvd ., Suite S-309 , Sacramento, CA 95834
                                                   Phone (916) 574-8220 Fax (9 16) 574-8623 www.dca.ca.gov




                     June 22, 2020




                     Cecilia Zin iti, Esq .
                     General Counsel
                     Lambda School
                     250 Montgomery St. , 16 th Floor
                     San Francisco , CA 94104


                     Re:            Lambda ISA in connection with Application for Approval to Operate for an
                                    Institution not Accredited,# 32274

                         Dear Ms. Ziniti:

                     This letter responds to your January 7, 2020 and February 27 , 2020 letters, as wel l as
                     the Gough & Han cock lega l mem orand um attached to you r Jan uary 7 letter (the
                     Lambda Memo), which evaluates generally the propriety of income sharing
                     agreements (ISAs) under the Cal ifornia Private Postsecondary Education Act of 2009
                     (the Act), Education Code section 94800 , et seq.

                   Th e Bureau for Private Postsecond ary Education (the Bu reau) is charged with
                   interpreting and determinin g compliance with the Act, and in exercisin g its powers and
                   perfo rming its duties, the Bure au' s priority is public prote ction. (Ed. Cod e, §§ 94875
                   & 94932. ) The Bureau appreciates your helpful explan ation of Lambda Schoo l' s ISA,
                   and your efforts to address the Bureau's previously-identified deficiencies about the
                   school's application. As discussed below, however, the agreements do not comport
                   with state disclosure and refunds laws and, for this reason , the Bureau cannot
                   approve them.

                    As you know, in general, ISAs are educational program financing contracts between
                    institutions and students, in which students agree to pay a percentage of their future
                    income in exchange for an education. Depending on the terms of the ISA. it may cap
                    the total amount a student owes under the agreement, charge interest, include varying
                    income th resholds that trigger a student's obligation to pay, and defer paym ents at
                    tim es when a stud ent earn s less th an the incom e threshol d.

                   Neither the Act nor its implemen ti ng regu lations expressly co nte mplate ISAs as an
                   educational program financing method. Generally speaking , the laws govern ing private
                   postsecondary educational institutions are formed around educationa l programs with
                   fixed up-front costs , rather than indeterminate and variable costs tha t only become clea r
   Case 3:23-cv-01440-AGT              Document 1         Filed 03/27/23       Page 120 of 166


Cecilia Zin iti
June 22, 2020
Page 2

upon obtaining work after the program is comp lete. Accordingly, the Act and its
implementi ng reg ulations requ ire in stitutions to make up-front disclos ures to students
regarding the true cost of their ed ucational programs . Disclosures are requ ired in the
enrollmen t agreement, catalog , annual repo rt, and the Student Perfo rmance Fact
Sheets. (Ed . Code, §§ 94911, 94909 , 94923; § 71800 , su bd . (e), 74112, su bd. (f) .)
These costs include tuitio n and other fees, and they are used to calcu late a student
tuition recovery fund assessment and benefit, and refunds when a student withdraws or
a school closes.

Under the Lambda ISA, stu dents agree to pay Lambda a portion of the ir future in come
in return for receiving Lambda 's educationa l program. (ISA at i12.) Your Jan uary 7,
2020 , letter identified some of the key features of the Lambda ISA:

           1. Payments are due when the student accepts a job making at
              least $50,000 annually in gross earned income .
           2. The payments on the ISA are in the amount of 17% of that
              student's gross earned income , monthly. This percentage is
              fixed and cannot change .[ 1]
           3. After 24 payments or when payments made total more than
              the $30,000 tuition amount (whichever is sooner), payments
              stop.
           4. For months during which ea rn ed income is less tha n the
              monthly amount equal to $50,000 annually, no payment is
                cl ue.
            5 . If there are more tha n 60 total months where no payment is
                due, th e ISA obligation terminate s eve n if no payments ha ve
                eve r bee n made.

In additio n, stude nts mu st seek employment immedi ately following th eir com pletio n of or
withd rawa l from the progra m, and any ti me th ereafter that th ey make less tha n th e
minim um in come threshold. (ISA at m14 .a. & 1O.e.) In the event of a withdrawal from
the program, a student "may be entitled to a pro rata reduction" of the 17 percent
income share amount, or the length of the payment term, at Lambda's sole discretion.
(ISA at ,-r 7.d .) The ISA also includes detailed provisions governing student projected
incom e and income reconciliation. (ISA at        'Im
                                                  4 .c. & 5.) Th e ISA constitutes the entire
agreement between Lambda and a student regarding payment for the educational
program. (ISA at~ 23 .a.)

Lambda's ISA financin g mod el doe s not compo rt with th e laws governing private
postsecon da ry education al institution s be cause th e inherent uncertainty in the actu al
program co st cann ot be reconcil ed with th e up-fro nt di sclosu res th at mu st be given to
stude nts.


1 The ISA provides that Lambda may increase the income share percentage to a maximum of 150% or

add a fi xed monthly underpayment fee if a student under-reports income. (ISA at 115 bi)
    Case 3:23-cv-01440-AGT             Document 1         Filed 03/27/23        Page 121 of 166


Cecil ia Ziniti
June 22, 2020
Page 3

Prior to enrollment, Lambda must provide prospective students with a school catalog,
which must contain a "schedule of total charges for a period of attendance and an
estimated schedule of total charges for the entire educational program ." 2 (Ed. Code, §
94909, subd . (a)(9) .)

Students must also execute an enrollment agreement with Lambda to enroll at the
school. (Ed. Code, § 94902 , subd. (a).) Like the catalog , the enrollment agreement
must include a "schedule of total charges ," "the total charges for the current period of
attendance, the estimated total charges for the entire educational program, and the total
charges th e student is obligated to pay upon enro llment." (Ed. Code, § 94911, subds.
(b) & (c); see also Cal. Code Regs., tit. 5, § 71800, subd. (e) [itemizing the charges that
must be listed in an enrollment agreement, including the cost of tuition].)

"Total charges" is defined as '1he sum of institutional and noninstitutional charges." (Ed.
Code, § 94870.) "Institutional charges" are "charges for an educational program paid
directly to an institution." (Ed. Code, § 94844.) "Noninstitutional charges" are "charges
for an educational program paid to an entity other than an institution that are specifically
required for participation in an educational program ." (Ed. Code, §94850.) The term
"charge" is not defined in the Act, but the dictionary defines "charge" as "the price set or
asked for something" and "a debt or an entry in an account recording a debt."
(American Heritage Diet. (2d Collegeed.1985), p. 260].) Tuition refers to the "cost for
instruction normally charged on a per unit or per hour basis ." (Cal. Code Regs., tit. 5, §
70000, subd. (ab) .)

Under the Lambda ISA, the amount students wi ll eventually be charged to complete
Lambda's ed ucational program is uncertain. Lambda's enrollment agreement lists the
tuition cost and total charges at $30,000, which is also the maximum amount charged
under the ISA for completing th e program . But the enrollment agreement also refers
students to the ISA for add ition al "detailed disclosures and additional information about
payment, deferrals, and other important items." And under the ISA, as your letter
acknowledges, the total cost "fo r a student electing an ISA will vary depending on the
student. A student may end up paying less, but students would never pay more than
what is disclosed ." Thus, while the enrollment agreement reflects a fixed $30,000
tuition cost, in actuality, the program costs somewhere between $0 and $30,000,
depending on a student's future income . Since the cost of tuition will vary by student,
the disclosure of a fixed $30,000 cost neither accurately reflects the total program costs,
nor does it comport with the require ment to disclose the cost "normally charged" for
tuition. 3

An example illustrates why the Lambda ISA finan cing model does not confo rm to the
Act and regu lations. Even though the enro llment agreement lists the tuition and total
charges as fixed at $30,000, under the Lambda ISA, a student making $50,000 per year

2 With respect to Lambda's program, the "period of attendance" and the "entire educational program" are
the same. (See Ed. Code, § 94854.)
3 You indicate in your letter that 98% of Lambda students enter into an ISA.
   Case 3:23-cv-01440-AGT            Document 1       Filed 03/27/23      Page 122 of 166


Cecilia Ziniti
June 22, 2 020
Page 4

would actually pay just $17,000 for the educational progra m after 24 months . By
co ntra st, a student earni ng $1 00 ,000 per year woul d pay th e full $30 ,000 in less th an 21
months fo r the same education al pro gram. Other stud ents wh o com plete th e program
may each end up paying a different amount over a different duration . In all cases , at th e
poin t of initial discl osure, the total co st of the educationa l program is uncerta in, because
the amo unt each student will end up paying is uncertain. Becau se there is no true fixed
cost for the program for students executing an ISA, Lambda cannot accurately disclose
the total charges or tuition with certainty.

Lambda's ISA fi nancing also does not comport w ith the laws governi ng cance ll ations,
withdrawa ls and refunds. Institutions must have a refund policy for the return of
unearned institutional charges if the stud ent cancels an enrollment agreement or
withdraws during a period of attendance . (Ed. Code, § 94920, subd . (d).) "The refund
policy for students who have completed 60 percent or less of the period of attendance
shall be a pro rata refund." (Ibid.) Li kewise, when an institution defaults on the
enrollment agreement, it must provide refunds to students on a pro rata basis if the
school established a teach-out program . (Ed. Code, § 94927.) If no such teach-out is
offered, the institution must provide a total refund. (Ibid.) Refunds must be pa id within
4 5 days of cancelation or withdrawal, and the enrollment agreement must contain the
institution 's refund policy. (Ed. Code, §§ 9491 1, subd . (e)(2), 94920, subd. (e) ; Cal.
Code Regs., ti t. 5, §§ 71 750 , subd . (e), 71800 , subd. (d). )

The Bureau 's regulations prescribe how pro rata refunds must be calculated. Such
refunds "shall be no less than the total amount owed by the student for the portion of the
educational program provided subtracted from the amo unt paid by the stud en t . . . ."
(Ca l. Code Regs., tit. 5, § 71750 , subd . (c).)

 Fo r students that execute Lambd a' s ISA, th e amount owed to Lambd a is uncertain, an d
no amounts are owed until after a student completes or withdraws from the program,
and after a student earns income that exceeds the minimum income threshold . (ISA at
,-r,-r 4.a.) Consequently, Lambda cannot comply with the law's refund requirements.
Lambda must have a pro rata refund policy for students who completed 60 percent or
less of their coursework, or in the event of a default. (Ed . Code, §§ 94920, subd . (d),
94927.) The refund policy cannot be less than the total amount owed by the student for
the completed portion of the program, subtracted from any amount paid by the student.
 Since, however, it is not possible to accurate ly calculate in advance the amount a
student owes for a portion of the program, Lambda cannot adopt a policy that conforms
to the Act and regulations. Moreover, the Act and regulations contemplate a "refund"
and "return " of monies already paid within 45 days of cancelation or withdrawal, not a
fu ture reducti on in the amount eventually owed. Thus, the Lambda ISA fin ancing model
does not co mport with th e Act and re gulations.

The Bureau may authorize an alternative method for calculating tuition- refunds, but only
in cases in which the prescribed refund calculations "cannot be utilized because of the
unique way in which the education al program is structured ... ." (Ed. Code , § 94921.)
   Case 3:23-cv-01440-AGT          Document 1       Filed 03/27/23      Page 123 of 166


Cec ilia Ziniti
June 22, 2020
Page 5

The enrollment agreement proposes an alternative pro rata refund policy, but Lambda's
proposed alternative is a consequence of the unique way Lambda's financing is
structured, and not the un ique way its educational program is structured. For th is
re ason , the Bure au may not app rove the altern ative refund calculation reflected in the
enrollment agreement. (See Cal. Code Regs., tit. 5, § 71800, subd. (d).)

In addition, the withdrawal and refund policies described in the enrollment agreement
conflict with the ISA. The enrollment agreement provides that students may withdraw
without owing any tuition or pena lty before the last class of "Sprint 5"-i.e ., week five or
week 10 of the program, depending on whether the student attends full-time or part-
time . Students who withdraw between Sprint 5 and Sprint 12 are responsible for a pro-
rata portion of the total amount ($30,000) that may ultimately be paid to Lambda under
the ISA. The enrollment agreement provides that the pro rata amount wi ll be
"communicated to your ISA service provider for adjustment." Although withdrawal
relieves students of the enrollment agreement's obligations, it does not relieve them of
their ISA obligations. The enrollment agreement provides that for students electing to
finance their education via an ISA, "the terms of that agreement control your obligations
under it."

Contrary to the enrollment agreement, which provides for a pro rata redu ction in the
total amount owed, the ISA provides little information about how withdrawals and
refunds will be calculated. It provides that Lambda may reduce on a pro rata basis the
income share percentage owed to Lambda under the agreement, or reduce the length
of the payment term, at Lambda 's "sole discretion." (I SA at il 7.d.) Lambda is not
bo un d unde r the ISA to the pro rata cost red uction that is specified in the enroll ment
ag reement, nor is it req uired to make any reducti on in th e total amou nt ch arg ed to
st udents. Th us, the enrollment ag reem ent doe s not accu rately reflect Lambda's refund
policy, in view of the ISA.

Finally, we do not ag ree with the suggestion in th e Lambda Memo that Lam bda's ISA is
not subject to Article 12 of the Act relating to consum er loans. In particula r, Education
Code section 94916 requires an institution extending credit or lending money for
charges such as tuition to provide a specified notice to students on "any note,
instrument, or other evidence of in debtedness taken in co nn ection with that extension of
credit or loan . . . ." The enrollment agreement denotes that the ISA is such a loan, and
the Bureau concurs. The enrollment agreement incorporates the notice requirement
specified in Education Code section 94916, sign ify ing that Lambd a is an in stitution that
extends credit or lends money. Ind eed, under the ISA, Lambda credits students up to
$30,000 in tuition costs in exch ang e for a sh are of their future income . As an in strument
or evidence of indebtedness, the ISA should al so contain th e consumer notice specifi ed
in section 949 16, but it does not.

For these reasons, the Bureau cannot at this time approve Lambda's application. If
you have any questions regarding this letter or would like to continue our discussion,
please contact me at your convenience.
   Case 3:23-cv-01440-AGT   Document 1   Filed 03/27/23   Page 124 of 166


 Cecilia Ziniti
 June 22, 2020
 Page 6


  Very tru ly yours ,

V ~ L . Srnitht
  Douglas L. Smith
Case 3:23-cv-01440-AGT   Document 1   Filed 03/27/23   Page 125 of 166




             EXHIBIT J
Case 3:23-cv-01440-AGT   Document 1   Filed 03/27/23   Page 126 of 166
Case 3:23-cv-01440-AGT   Document 1   Filed 03/27/23   Page 127 of 166
Case 3:23-cv-01440-AGT   Document 1   Filed 03/27/23   Page 128 of 166
Case 3:23-cv-01440-AGT   Document 1   Filed 03/27/23   Page 129 of 166
Case 3:23-cv-01440-AGT   Document 1   Filed 03/27/23   Page 130 of 166




            EXHIBIT K
Case 3:23-cv-01440-AGT        Document 1          Filed 03/27/23            Page 131 of 166




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                                                                        4
                   Lambda School
                    CATALOG


     June 1, 2019 - May 31, 2020                                                       6
                                     Volume I




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                     (8 00) 83 3-1 943 I 111111 . l::imbcl::ischoo l. com

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                              Effect ive : MM , DD, 20 19
      Case 3:23-cv-01440-AGT   Document 1   Filed 03/27/23   Page 132 of 166



TABLE OF CONTENTS
WELCOME MESSAGE                                                                4
MISSION                                                                        5
OBJECTfVES                                                                     5
GENERAL INFORMATION                                                            5
  HISTORY                                                                      5
  APPROVALS                                                                    5
  FACILITY AND EQUIPMENT                                                       6
  LOANER EQUIPMENT                                                             6
MANAGEMENT, STAFF AND FACULTY                                                  7
  BOARD OF TRUSTEES                                                             7
  MANAGEMENT & STAFF                                                            7
  FACULTY                                                                       8
TUITION AND FEES                                                               11
  INCOME SHARE AGREEMENTS                                                      11
  TUITION AND FEES WITHOUT ISA                                                 12
  LOAN S                                                                       13
  HOLIDAYS                                                                     13
  ENROLLMENT PERIODS                                                           13
  PROGRAM TERM DATES FOR 201 9                                                 13
  CLASSROOM DAYS/ HOURS                                                        14
  ADMINISTRATION DAYS I HOURS                                                  14
  COURSE TIME HOURS                                                            14
ADMISSIONS POLICY AND PROCEDURE                                                14
  POLICY                                                                       14
  PROCEDURE                                                                    15
  INTERNATIONAL STUDENTS AND ENGLISH LANGUAGE SERVICES                         15
  FOREIGN TRANSCRIPT EVALUATION                                                15
  TRANSFER OF CREDIT                                                           16
  NOTICE CONCERNING TRANSFERABILITY OF CREDITS AND CREDENTIALS
  EARNED AT OUR INSTITUTION                                                    16
  ARTICULATION AGREEMENTS                                                      16
  CANCELLATION AND REFUND FOR STUDENTS WITHOUT AN ISA                          16
     STUDENT'S RIGHT TO CANCEL                                                 16
     WITHDRAW AL FROM THE PROGRAM                                              17

Page 2 of 69                                                          REV 05/20 19
     Case 3:23-cv-01440-AGT     Document 1   Filed 03/27/23   Page 133 of 166



  CANCILLA TION AND REFUND FOR STUDENTS WITH AN ISA                             18
PROGRAMS                                                                        19
  Full Stack Web Deve lopment                                                   19
  iOS Deve lopment                                                              28
  Android Development                                                           37
  Data Sc ience                                                                 43
  User Experience Des ign                                                       52
ACADEMIC POLICIES                                                               59
  GRADING SYSTEM                                                                59
  SATISFACTORY PROGRESS                                                         60
  ACADEMIC PROBATION                                                            61
  REMEDIAL WORK AND REPEATED COURSES                                            61
  ATTENDANCE                                                                    61
  TARDINESS AND EARLY DEPARTURES                                                62
  MAKE-UP EXAMS                                                                 62
  MAKE-UP WORK                                                                  62
  LEA VE OF ABSENCE POLICY                                                      63
  STUDENT CONDUCT EXPECT A TIONS                                                63
  WITHDRAWAL                                                                    64
  GRADUATION REQUIREMENTS                                                       64
STUDENT SERVICES                                                                65
  ORIENTATION                                                                   65
  AC ADEMIC ADVISING                                                            65
  HOUSING                                                                       65
  ZOOM                                                                          65
  SLACK                                                                         65
  STUDENT RECORDS                                                               66
  NO GUARANTEE OF EMPLOYMENT                                                    66
  LAMBDA NEXT - JOB SEARCH AND PLACEMENT ASSISTANCE                             66
  GRIEVANCE PROCEDURE                                                           67
  STUDENT TUITION RECOVERY FUND                                                 67
ST ATE OF CALIFORNIA CONSUMER INFORMATION                                       68
CATALOG CHANGES                                                                 69



Page3of69                                                              REV 05/20 19
      Case 3:23-cv-01440-AGT           Document 1       Filed 03/27/23       Page 134 of 166



\-VELCOME MESSAGE

The most important thing we tell new Lambda Schoo l students is: start now .

You have a fixe d nu mber of days between now and graduation. There ' s a good chance that the
next several mo nths wil I sw ing the traj ectory of yo ur career more than any others. Your time at
Lambda Schoo l will be some of the most highl y leveraged hours of your life. Now is the time to
put your head down and work .

Sincerely,

Austen Allred,
Co-Founder & CEO




Page 4 of 69                                                                             REV 05/20 19
           Case 3:23-cv-01440-AGT            Document 1        Filed 03/27/23      Page 135 of 166



10   MISSION

     The mission of Lambda School is to find untapped or underutil ized talent, and train that talent for
     in-demand careers in the computer science fi eld; making entry to the computer science fie ld more
     access ibl e.

     Lambda Schoo l will provide an educational environment that respects the va lues of individual
     students and their intellectual, cul tural, and social development. It is Lambda School's obj ective
     to:

         Foster among students, fac ulty, and staff a commitment to life-long learning.
         Provide opportunities for students to exerc ise a positive influence and be productive in society.
         Prepare students for entry-level employment in the computer science fie ld.

     OBJECTIVES
     In order to fulfill its mission, Lambda is committed to the following objectives for its educational
     and training programs:

         To provide the bas ic and prerequisite knowledge to specialize in the computer science field.
         To educate students to become well qualified p rofess ionals in their chosen fie ld.
         To provide practical training to enhance students ' capabilities in their chosen fi eld.

     GENERAL INFORMATION
     HISTORY
     Founded in 2017, Lambda School ("Lambda") is a unique model of higher education in which the
     school invests in its students, instead of the other way around. Lambda offers no upfront tuition
     costs. Tuition payments do not have to begin until students find a job within fi eld providing an
     annual salary of at least $50,000. This commitment from Lambda School supports its mission to
     find untapped or underutilized talent and train that tal ent for in-demand jobs in the computer
     science field. The school is headquartered in San Francisco, while students attend remotely. The
     schoo l has raised funds previously from investors including Y Combinator, Google Ventures,
     Bedrock Cap ital, and Tandem. Given the no upfront cost tuition model of Lambda, our school
     demographics typically cater to minority and diverse students. Our student body is far more diverse
     than the general population.

7    APPROVALS
     Lambda Schoo l is a private institution approved to operate by the Cali fornia Bureau for Private
     Postsecondary Education. Approval to operate means the institution is compliant with the
     min imum standards contained in t he California Private Postsecondary Education Act of 2009 (as
     amended) and D ivision 7.5 of T itle 5 of the Cali fo rni a Code of Regulations.




     Page 5 of 69                                                                               REV 05/20 19
           Case 3:23-cv-01440-AGT           Document 1       Filed 03/27/23      Page 136 of 166




II   FACILITY AND EQUIPMENT
     Lambda headquarters is located at 250 Montgomery Street, 16th floor, San Francisco, CA 94102.
     Lambda offers training in an online fomrnt in a virtual classroom with your instructors and fe llow
     learners. Distance education coursework is completed at a location determined by the student.         5

     System Requirements
        • Minimum
              o 1.6 GHz Processor
              o 4 GB RAM (8 GB of RAM for the iOS course)
               o  120 GB Hard Drive
               o Web Cam
               o Microphone
        • Recommended
              o 2 GHz Processor
              o 8GBRAM
               o 256 GB Hard Drive (preferably solid state)

     Recommended operating systems (in descending order): macOS, Windows 10, Ubuntu. For UX
     and iOS, macOS is heavily encouraged. For iOS , Mojave 10. 14 is required.

     Other versions of Windows work but students should anticipate occasional environment issues.
     Chromebooks are not supported, as coursework involves installing and running software locally.

     Please refer to the current Student Manual for full details system requirements.

     LOANER EQUIPMENT
     If your computer becomes unusable during your time at Lambda School and you are unable to
     obtain a replacement, you can submit a request for a loaner laptop by subm itting this forn1
     https ://airtable.com/shrEHS8dPFyhcYBMI

     Laptops are paid for by the Perpetual Access Fund and there is limited inventory. In order to be
     considered for a loaner laptop, you must be in compliance with the Code of Conduct, attendance,
     and participation policies. In addition to compliance, you need to have a record of meaningful
     progress with the curriculum.




     Page 6 of 69                                                                            REV 05/2019
Case 3:23-cv-01440-AGT         Document 1             Filed 03/27/23         Page 137 of 166




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                    Lambda School
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   6 June 1, 2019 - May 31, 2020
                                       Volume I




             250 Montgomery Street, 16th floor, San Franc isco, CA 94 l 02
                     (800) 833 - 1943 I www .l ambdasc hoo l. com 4

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                             Effective: September 16, 20 19
   Case 3:23-cv-01440-AGT      Document 1   Filed 03/27/23   Page 138 of 166




TABLE OF CONTENTS
WELCOME MESSAGE                                                               4
MISSION                                                                       5
OBJECTIVES                                                                    5
GENERAL INFORMATION                                                           5
   HISTORY                                                                    5
   APPROVALS                                                                  5
   FACILITY AND EQUIPMENT                                                     6
  LOANER EQUIPMENT                                                            6
TUITION AND FEES                                                              7
   INCOME SHARE AGREEMENTS                                                    7
  TUITION AND FEES                                                            8
   LOANS                                                                      8
   HOLIDAYS                                                                   8
  ENROLUvlENT PERIODS                                                         9
  PROGRAM TERM DA TES FOR 20 19                                               9
  CLASSROOM DAYS / HOURS                                                      9
  ADMINISTRATION DAYS/ HOURS                                                  9
  COURSE Tll\1E HOURS                                                        l0
ADMISSIONS POLICY AND PROCEDURE                                              10
  POLICY                                                                     10
  PROCEDURE                                                                  10
  INTERNATIONAL STUDENTS AND ENGLISH LANGUAGE SER VICES                      11
  FOREIGN TRANSCRIPT EVALUATION                                              11
  TRANSFER OF CREDIT                                                         11
  NOTICE CONCERNING TRANSFERABILITY OF CREDITS AND CREDENTIALS
  EARNED AT OUR INSTITUTION                                                  11
  ARTICULATION AGREEMENTS                                                    12
  REFUND POLICY                                                              12
     STUDENT'S RIGHT TO CANCEL                                               12
     WITHDRAW AL FROM THE PROGRAM                                            12
PROGRAMS                                                                     14
  Full Stack Web Development                                                 14
  iOS Development                                                            22
  Andro id Deve lopment                                                      31

Page 2 of 69                                                     REV 09/ 16/2019
   Case 3:23-cv-01440-AGT        Document 1   Filed 03/27/23   Page 139 of 166




   Data Scie nce                                                               37
   User Expe ri ence Design                                                    45
ACADEMIC PO LICIES                                                             52
  GRADING SYSTEM                                                               52
  SATISFACTORY PROGRESS                                                        53
  ACAD EMIC PROBATION                                                          54
   REMEDIAL WORK AND REP EA TED COURSES                                        54
  ATT ENDANCE                                                                  55
  TARDINESS AND EARLY DEPARTURES                                               55
  MAKE-UP EXAMS                                                                55
  MAKE-UP WORK                                                                 56
  LEA VE OF ABSENCE POLICY                                                     56
  STUDENT CONDUCT EXPECTATIONS                                                  56
  WITHDRAWAL                                                                    57
  GRADUATION REQUIREMENTS                                                       58
STUDENT SER VIC ES                                                              58
  ORIENTATION                                                                   58
  ACADEMIC AD VISING                                                            58
  HOUSING                                                                       58
  ZOOM                                                                          59
  SLACK                                                                         59
  STUDEN T RECORDS                                                              59
  NO GUARANTEE OF EMPLOYM ENT                                                   60
  LAMBDA NEXT- JOB SEARCH AND PLACEMENT ASSISTANCE                              60
  GRlEV ANCE PROCEDURE                                                          60
  STUDENT TUITION RECOVERY FUND                                                 60
STATE OF CALIFORNIA CONSU MER INFORMATION                                       62
CATALOG CHANGES                                                                 62
Lambda Sch oo l Catalog Addendum-A                                              63
  MANAGEMENT, STAFF AND FACULTY                                                 63
     BOARD OF TRUSTEES                                                          63
     MANAGEMENT & STAFF                                                         63
     FACULTY                                                                    65




Page 3 of 69                                                        REV 09/ 16/2019
   Case 3:23-cv-01440-AGT            Document 1        Filed 03/27/23         Page 140 of 166




WELCOME MESSAGE

The most important thing we tell new Lambda Schoo l shtdents is: start now.

You have a fixed number of days between now and graduation. There's a good chance that the
next several months will swing the traj ectory of your career more than any others. Your time at
Lambda School will be some of the most highly leveraged hours of your life. Now is the time to
put your head down and work.

Sincerely,

Austen Allred,
Co-Founder & CEO




Page 4 of 69                                                                      REV 09/ 16/20 19
            Case 3:23-cv-01440-AGT              Document 1          Filed 03/27/23        Page 141 of 166




         MISSION
10
         The mission of Lambda Scbool is to find untapped or underutilized talent, and train tbat talent for
         in-demand careers in the computer science fi eld; making enh)' to the computer science field more
         access ible.

         Lambda Sc hool will provide an educational environment that respects the values of individual
         students and their inte llectual, cultural, and soc ial development. It is Lambda School's objective
         to:

             Foster among students, facu lty, and staff a commitment to life-long learning.
             Provide opportunities for students to exerc ise a positive influence and be productive in society.
             Prepare students for enh)'-leve l employment in the computer science field .

         OBJECTIVES

         In order to fulfill its mission, Lambda is committed to the fol lowing objectives for its educational
         and training programs:

             To provide the bas ic and prerequisite knowledge to specialize in the computer science field.
             To educate students to become well qualified professionals in their chosen field.
             To provide practical training to enhance students' capabi lities in their chosen field.

         GENERAL INFORMATION

         HISTORY
         Founded in 2017, Lambda School ("Lambda") is a unique model of bigher education in which the
         scbool invests in its students, instead of the other way around. Lambda offers no upfront tuition
         costs. Tuition payments do not have to begin unti l students find a job within fie ld providing an
         annual salat)' of at least $50,000. This commitment from Lambda School supports its mission to
         find untapped or underutilized talent and train that talent for in-demand jobs in the computer
         science field. The school is headquartered in San Francisco, while students attend remotely. The
         school has raised funds previously from investors including Y Combinator, Google Ventures,
         Bedrock Capital, and Tandem. Given the no upfront cost tuition model of Lambda, our school
         demographics typ ically cater to minority and diverse students. Our student body is far more diverse
         than the general population .

         APPROVALS
     7
         Lambda School is a private institution approved to operate by the California Bureau for Private
         Postsecondary Education. Approval to operate means the institution is compliant with the
         minimum standards contained in the California Private Postsecondary Education Act of 2009 (as
         amended) and Division 7 .5 of Title 5 of the California Code of Regulations.




         Page 5 of 69                                                                           REV 09/ 16/2019
        Case 3:23-cv-01440-AGT             Document 1         Filed 03/27/23        Page 142 of 166




t1   FAClLlTY AND EQUIPMENT
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     System Requ irements
        • Minimum
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              o 4 GB RAM (8 GB of RAM for the iOS course)
              o 120 GB Hard Drive
              o Web Cam
              o M icrophone
        • Recommended
              o 2 GHz Processor
              o    8 GB RAM
              o 256 GB Hard Drive (preferably solid state)


     Recommended operating systems (in descending order) : macOS, Windows 10, Ubuntu. For UX
     and iOS, macOS is heavi ly encouraged. For iOS , Mojave 10.14 is required.

     Other versions of Windows work but sh1dents should antic ipate occasional environment issues.
     Chromebooks are not supported, as coursework involves installing and running software locally.

     Please refer to the cuITent Studem Manual for full deta il s system requirements.

     LOANER EQUIPMENT
     If your computer becomes unu sable dming your time at Lambda School and you are unable to
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     https ://ai1tabl e.com/s hrEHS 8dPFyhc YBMI

     Laptops are paid for by the Perpehial Access Fund and there is limited inve ntory. In order to be
     considered for a loaner laptop, you must be in compliance with the Code of Co nduct, attendance,
     and participation policies. In addition to compliance, you need to have a record of meaningful
     progress with the curriculum.




     Page 6 of 69                                                                          REV 09/ I 6/20 l 9
    Case 3:23-cv-01440-AGT      Document 1           Filed 03/27/23            Page 143 of 166




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                  Lambda School
                     Catalog

6                January 1, 2020 - Dece1nber 31, 2020

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                         2000 As hto n BLVD, Sui te 400, Lehi , UT 84043
                     250 Montgomery ST, 16th floor, San Franscio, CA 94 l 04
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  Case 3:23-cv-01440-AGT   Document 1   Filed 03/27/23   Page 144 of 166




TABLE OF CONTENTS
WELCOME MESSAGE                                                            4
MIS SION                                                                   5
OBJECTIVES                                                                 5
APPROVALS                                                                  5
HISTORY                                                                    5
FACILITY AND EQUIPMENT                                                     6
TUITION AND FEES                                                           6
TUITION RESPONSIBILITY                                                     7
HOLIDAYS                                                                    7
ENROLLMENT PERIODS                                                          7
PROGRAM TERM DATES FOR 2020/2021                                            7
FLEX POLICY                                                                8
CLASSROOM DAYS I HOURS                                                     8

ADMINISTRATION DAYS/ HOURS                                                 8
COURSE TIME HOURS                                                          8
ADMISSIONS POLICY AND PROCEDURE                                            9
POLICY                                                                      9
PROCEDURE                                                                   9
INTERNATIONAL STUDENTS AND ENGLISH LANGUAGE SERVICES                       10
FOREIGN TRANSCRIPT EVALUATION                                              10
NOTICE CONCERNING TRANSFERABILITY OF CREDITS AND CREDENTIALS EARNED
AT OUR INSTITUTION                                                         11
TRANSFER OF CREDIT                                                         11
ARTICULATION AGREEMENTS                                                    11
CANCELLATION AND REFUND POLICY                                             11

THE STUDENT'S RIGHT TO CANCEL                                              11
LAMBDA SCHOOL'S RIGHT TO WITHDRAW OR TERMINATE (DISMISSAL)                 12
HOW TO WITHDRAW FROM THE PROGRAM AND CANCEL YOUR ENROLLMENT                12
HOW REFUNDS WORK                                                           12
TUITION PRORATION FOR TUITION OWED AFTER WITHDRAWAL                        12
TUITION REFUND CALCULATOR CHART                                            12
ACADEMIC POLICIES                                                          13
GRADING SYSTEM                                                             13
  Case 3:23-cv-01440-AGT   Document 1   Filed 03/27/23   Page 145 of 166



SATISFACTORY PROGRESS                                                         14
ACADEMIC PROBATION                                                            15
REMEDIAL WORK AND REPEATED COURSES                                            15
ATTENDANCE                                                                    16
TARDINES S AND EARLY DEPARTURES                                               16
MAKE-UP EXAMS                                                                 17
MAKE-UP WORK                                                                  17
LEAVE OF ABSENCE POLICY                                                       17
STUDENT CONDUCT EXPECTATIONS                                                  17
WITHDRAWAL                                                                    19
GRADUATION REQUIREMENTS                                                       19
STUDENT SERVICES                                                              20
ORIENTATION                                                                    20
ACADEMIC ADVISING                                                             20
HOUSING                                                                       20
LEARNING RESOURCE                                                             21
LIBRARY                                                                       21
ZO OM                                                                         21
SLACK                                                                         21
STUDENT RECO RDS                                                              22
NO GUARANTEE OF EMPLOYMENT                                                    22
GRIEVANCE PROCEDURE                                                           22
CATALOG CHANGES                                                                23
PROGRAMS                                                                      23
FULL STACK WEB DEVELOPMENT                                                    23
DATA SCIENCE                                                                   35
USER EXPERIENCE DESIGN                                                         47
iOS DEVELOPMENT                                                                58
MANAGEMENT AND FACULTY                                                         70
STATE OF CALIFORNIA CONSUMER INFORMATION                                       78
STUDENT TUITION RECOVERY FUND                                                  79




                                                                IZ I V ll7 28 2il21J
  Case 3:23-cv-01440-AGT      Document 1    Filed 03/27/23   Page 146 of 166




WELCOME MESSAGE
Welcome to Lambda School, and congratulations on taking the first step toward a
high-paying career in tech.

The most important thing we tell new Lambda School students is: commit now to
hustling harder than you ever have before.

You have a critical opportunity to develop your skills between now and graduation,
and there's a good chance that the next several months will swing the trajectory of
your career more than any others. Your time at Lambda School will be some of the
most intense, impactful months of your life - now is the time to put your head down
and work, and every instructor, career coach, and staff member will do everything
possible to help you succeed. We're so excited that you're here.

Let's get started.

Sincerely,

Austen Allred,
Co-Founder & CEO




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           Case 3:23-cv-01440-AGT        Document 1     Filed 03/27/23    Page 147 of 166




    10
         MISSION
         The mission of Lambda School is to unlock potential, regardless of circumstance.
         That means working with untapped or underutilized talent, and training that talent
         for in-demand careers in the technology fields including web development,
         engineering, data science, user experience design, and iOS development..

         Lambda School is committed to maldng the field of technology more accessible, and
         will provide an educational environment that respects the values of individual
         students and their intellectual, cultural, and social development. It is Lambda
         School's intention to:

            • Foster among students, faculty, and staff a commitment to life-long learning.
            • Provide opportunities for students to exercise a positive influence and be
              productive in society.
            • Prepare students for entry-level employment in technology fields including
              web development, software engineering and data science.

10       OBJECTIVES
         In order to fulfill its mission, Lambda is committed to the following objectives for its
         educational and training programs:

            • To provide the basic and prerequisite knowledge to specialize in the field of
              technology via online learning on Zoom and multiple tools.
            • To educate students to become well-qualified professionals in their chosen
              field of Data Science or Full Stack Web Development.
            • To provide practical training to enhance students' capabilities in their chosen
              program.

7        APPROVALS
         Lambda School is a private institution approved to operate by the California Bureau
         for Private Postsecondary Education. Approval to operate means the institution is
         compliant with the minimum standards contained in the California Private
         Postsecondary Education Act of 20 09 (as amended) and Division 7.5 of Title 5 of the
         California Code of Regulations.

         HISTORY
         Founded in 2017, Lambda School ("Lambda") is a unique model of higher education
         in which the school invests in its students, instead of the other way around. Lambda
         requires no upfront tuition. Tuition payments do not begin until students find a job
         providing an annual salary of at least $50,000. This commitment from Lambda
         School supports its mission of finding untapped or undenltilized talent and training
         that talent for in-demand jobs in technology. The school has offices in Lehi, UT and
         San Francisco, CA, and students attend remotely. The school has raised funds


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Case 3:23-cv-01440-AGT   Document 1   Filed 03/27/23   Page 148 of 166




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     Case 3:23-cv-01440-AGT           Document 1       Filed 03/27/23      Page 149 of 166




Human Capital: The Last Unoptimized Asset Class
Lambda School is a full-stack solution that helps people get better jobs and earn more money.

Today, if a person is working in the wrong job or making less than they otherwise could, the only
solution we have is encouraging them to go into student debt, spend several years in a
university, and hope they figure it out on the other side. It's is expensive, time consuming, and
risky.

Lambda School, instead, identifies people who could be making more money, trains them for
higher paying jobs at no upfront cost, helps them get those jobs, and takes a cut only when
we're successful in doing so. It takes less time, is less expensive, and, most importantly, carries
no financial risk for the customer.

We do so by means of a financial instrument called an "Income Share Agreement," which is a
legally binding equity stake in a person's future earnings that only applies within certain
thresholds. For example, today students only pay us back if they're making more than
$50k/year. If they reach that rate they pay us 17% of salary for two years, capped at a maximum
of $30k total.

Here’s just a few categories of people who make more money via Lambda School
   1. College Graduates with Low-Paying Degrees.​ Smart people who earned, say, an Arts
       History degree and now struggle to make decent money. These people also often have
       student loan balances which makes Lambda a great fit, since they don’t take on
       additional financial risk.
   2. People Who Didn’t Finish College. ​The same as above except they didn’t actually
       finish and therefore have no degree. They’re often in worse jobs with even fewer
       options, and usually have student loans too.
   3. Mid Lifers. ​People who’ve been working in the same field for 20+ years and know they
       need to change. This often comes from the self awareness that their current industry is
       dying, which can make them a smart choice for Lambda to bet on.
   4. Never Went to College. ​Only 25% of American graduate from college, so this is a huge
       bucket. There are lots of smart, hard working people here who simply didn’t have the
       opportunity to go to school.
   5. High School Graduates. ​Recent grads who want a high-paying job without having to go
       through 4 years of irrelevant curriculum and take on 6 figures of student loans.

And there’s enormous demand from employers. There were 3.7 million technology job postings
in 2017 alone[1].
     Case 3:23-cv-01440-AGT             Document 1        Filed 03/27/23       Page 150 of 166




Full Stack
In order to make Lambda School work, we need to solve multiple problems at once:

1. ​Underwriting​. Since we aren't paid upfront, we need to reliably identify people our programs
can be successful for and match them to the correct programs.

We created a test that all students must pass to be admitted to Lambda. And

2. ​Successful, free upfront, online courses​. Most schools will tell you fully online courses
aren't successful. Most schools will tell you courses being entirely free upfront won't be
successful. We do both at the same time.

85% of students that start Lambda, finish Lambda. That’s 9 months of full time, remote
instruction. We do it by building in social accountability. The school isn’t just a bunch of videos
that you watch on your own time. It’s live, and every day students are interacting with their
classmates, instructors, and other Lambda employees.

3. ​Placement that scales​. Our students are in all 50 states and will be all over the world. We
have to be able to reliably get them hired at scale wherever they are.

Employers are constantly pinging us to talk to our students. We just started an SDR program
but otherwise all employer interest is inbound. While all the blue chips (Google, Amazon, Apple,
Netflix, etc.) have hired our students, our bread and better is all the non-sexy tech jobs in places
and cities you’ve never heard of. Today “every company is a tech company” and they all need
engineers.

We’re already seeing employers hire 1 Lambda student, then come back and hire 20 more.

And the students we’ve placed at those employers help advocate for and bring on even more
students. Our alumni network will be a powerful moat.

4. ​Finance​. Since students pay monthly after they're hired, we have to fund them to get there.
Currently we sell some income share agreements to hedge funds. Over time we'll raise our own
capital and hold everything on our books.

Not surprisingly, it's difficult to get all of the pieces working in sync. It's taken us two years of
experimentation and iteration, but we now have the model working and ready to optimize.
     Case 3:23-cv-01440-AGT           Document 1       Filed 03/27/23     Page 151 of 166




Flywheel
Once the process is working, each piece can be optimized in order to provide a durable
sustainable advantage.

We started by eliminating the upfront cost and putting the program entirely online, opening up
access to Lambda School to many students who wouldn't be able to afford the upfront cost or
risk of moving to and/or attending universities or code schools.

We then had to figure out how to make a free upfront, fully online course work. Making it work
gives us good data, which lowers our cost of capital, and as we scale our cost per student goes
down and our hiring network grows.

One competitive advantage of being online is we have zero physical classrooms. This helps in
multiple ways:
   - Allows us to spin up “virtual classrooms” fast, grow more quickly, and adapt to where the
        actual student demand is (vs. being stuck with a building & location any time a new lease
        is signed)
   - Allows us to meet employer demand everywhere we have students
   - Eliminates leasing costs
   - Our costs per student are amortized across many more students

Unit economics for our full-time 9 month course, per ​placed student

Instructor Cost                           $1,882
TA Cost                                   $3,197
Career Coach Cost                          $790
Student Success Cost                       $168
Total Cost Per Placed Grad                $6,037



As the cost of capital goes down, we can either take on more risk (by offering living stipends) or
decrease the price.

As we do so it becomes increasingly difficult for other schools to compete. It's a completely
different model.


Product Overview
     Case 3:23-cv-01440-AGT           Document 1       Filed 03/27/23      Page 152 of 166




The core value Lambda offers is to ​get a job in a new field in the fastest time at the lowest
risk.

This is possible because of the following:
   - Live, online, remote instruction that lets anyone with an internet connection participate
   - Our pedagogy and Flex instruction model, which enables students to repeat curriculum
        until they understand it
   - Our ISA, which aligns the incentives of the institution with those of the student
   - Student-facing proprietary infrastructure that enables a modern, world class educational
        experience
   - Our placement partners, who actively come to Lambda to recruit new hires
   - An organic community where alumni and students help each other

Lambda School offers multiple courses:
   - Full Stack Web Development
   - iOS Development
   - Android Development
   - Data Science Development
   - UX Design

Each course can be taken full time over 9 months or part time (nights and weekends) over 18
months.

Our training is live and online, meaning we can reach students everywhere and aren’t required
to build out physical infrastructure. Students learn live from world class instructors and break out
teams of 8.

The main building piece of our curriculum is the 5-week block. All courses are built of 5-week
blocks, and every block at Lambda starts on the same date.

By running the entire school in sync, we get synergies around admissions, instruction, and
placement. For example, students can work on group projects with students in other courses
because their project time always falls on the same week in the 5-week block. This allows things
like Full Stack Web Development students working with Data Science and UX students on
different parts of the same project, which more closely resembles real world working conditions.

Each course includes an integrated jobs curriculum which is taught alongside the technical
curriculum. The core value we deliver is a risk-free technical education combined with an
integrated job placement program.
      Case 3:23-cv-01440-AGT             Document 1            Filed 03/27/23             Page 153 of 166




Competition
                          4-Year University              Trade Schools                    Non-Accredited Tech Bootcamps

 Companies                Harvard, UCLA, Notre Dame      Lake Area Technical Institute,   Flatiron School, App Academy
                                                         Johnson College

 Description              Traditional degree funded by   Job training funded by loans     Very short technical training funded by
                          student loans                                                   upfront tuition or loans

 Multiple Tracks          Yes                            Yes                              No

 Risk Free ISA            No                             No                               No

 Integrated Job Search    No                             Sometimes                        No

 < 1 year                 No                             No                               Yes

 Modern Alumni Network    No                             No                               No

 Mentor Program           No                             No                               No

 Flex Learning            No                             No                               No

 Remote                   No                             No                               No



Relative to ​4-year universities​, Lambda offers students a faster, risk-free way of getting
training and ultimately getting a job. 4 years is a ​long time​ that potential students are now
beginning to recognize comes with significant opportunity costs. And the entire country is
obsessing over the downsides of non-dischargeable student loans. We have a school wide NPS
of 68, higher than many of the most famous consumer brands in the world (Netflix, Amazon).
People trust their universities, but they don’t love them. Our students love Lambda, and have
even gotten tattoos of our logo.

Relative to ​trade schools​, Lambda is faster and carries less risk. You’re required to pay for the
trade school regardless of whether you get a job. And it can take significant time (> 2 years) to
get through a trade school. At Lambda our full-time class is 9 months, which means in less than
a year a student can start, graduate, and get a job. 9 months is short enough to allow students
from all backgrounds to join, but long enough to give students enough time to learn detailed,
difficult curriculum.

Relative to ​non-accredited tech bootcamps​ our school is long enough so that you can actually
learn the material. Most tech bootcamps are 3 months because their costs don’t allow them to
teach any longer. And their market is fundamentally limited to people who can afford upfront
tuition of $20,000. And because all our training is remote, we can reach anybody. These are
small, niche players who don’t have significant impact beyond their local geography in big cities.


Performance
     Case 3:23-cv-01440-AGT            Document 1     Filed 03/27/23      Page 154 of 166




                         April 2018             April 2019                % Change

 Applications            1,985                  5,936                     199%

 New Students            109                    451                       76%

 Graduates               12 (Mar’18)            45 (Mar’18)               275%

 Sections Graduated      NA                     100%                      NA
 > 180 days w/ > 50%
 Placement

 Concurrent Students     302                    1,602                     640%




Management Outlook

When a Lambda School student is hired for $75k/yr, they pay us back approximately $25k.

At 4,000 placed software engineers/year we'll hit a $100mm/yr run rate.
     Case 3:23-cv-01440-AGT          Document 1       Filed 03/27/23     Page 155 of 166




In 2019 we'll enroll over 3,000 students. In May 2019 well enroll over 500. We plan on enrolling
more than 10,000 students in 2020.



International
In January of 2019 we launched in the European Union, we'll launch in Canada in Q2 of 2019,
and we have pilots running in Africa and India. Once the entire engine is working it will scale
internationally.



Other Fields

We recently launched programs for UX Design and Data Science, but this scales far beyond
software.

Once the engine is working, it also scales to other verticals. Cyber security, product
management, marketing to begin with, but after that job fields as disparate as Customer Service
or Nursing are on our radar.



                                            2020            2021            2022           2023
US Developer Grads                          8,000         15,000          27,000          49,000
EU Developer Grads                          1,000          3,000           6,000          11,000
India Developer Grads                       1,000          2,000          10,000          30,000
Total Developer Grads                      10,000         20,000          43,000          90,000


US Non-Developer Grads                      1,000          7,000          30,000          80,000
EU Non-Developer Grads                        500          3,000           8,000          30,000
India Non-Developer Grads                     500          2,000           5,000          20,000
Total Non-Developer Grads                   2,000         12,000          43,000        130,000


Revenue US Dev Grads                 $60,000,000    $172,500,000    $315,000,000   $570,000,000
Revenue EU Dev Grads                   $6,000,000    $24,000,000     $54,000,000   $102,000,000
Revenue India Dev Grads                $4,000,000    $12,000,000     $48,000,000   $160,000,000
Total Revenue Dev Grads              $70,000,000    $208,500,000    $417,000,000   $832,000,000


Revenue US Non-Developer Grads         $3,500,000    $28,000,000    $129,500,000   $385,000,000
     Case 3:23-cv-01440-AGT           Document 1        Filed 03/27/23     Page 156 of 166




Revenue EU Non-Developer Grads          $1,500,000     $10,500,000     $33,000,000    $114,000,000
Revenue India Non-Developer
Grads                                   $1,250,000      $6,250,000     $17,500,000     $62,500,000
Total Revenue Non-Dev Grads             $6,250,000     $44,750,000    $180,000,000    $561,500,000


Total Revenue                          $76,250,000    $253,250,000    $597,000,000 $1,393,500,000




Strenghts

Alumni Community Creates a Powerful Moat
   - Some partners have over 20 Lambda grads, triggered by their hiring of a single Lambda
      student
   - Lambda graduates advocate for each other based on the school community alone.
   - We’re already seeing Lambda students promoted to positions of authority. With more
      time, we’ll continue to see grads rise up the ranks and exert more influence on how their
      companies hire.

Higher NPS as Class Sizes Increase
   - Our NPS score is higher by 20+% in our larger classes
         - Speaks to the power of the Lambda community, which is an important
            differentiator

Organic growth taking share from bootcamp competitors
   - 314% increase in student starts from April’19 to April’18
   - Competitors continue to market against Lambda (but not other schools) because
      students are moving away from the upfront tuition model

Retention
   - 85% of students that start Lambda, finish Lambda. That’s 9 months of full time, remote
       instruction. We do it by building in social accountability. The school isn’t just a bunch of
       videos that you watch on your own time. It’s live, and every day students are interacting
       with their classmates, instructors, and other Lambda employees.

Placement that Scales
   - Inbound bluechip interest (Uber, Google, Amazon, etc.)
   - “Every company is a tech company”. Students getting hired in large batches in places
      like Minnesota.
       Case 3:23-cv-01440-AGT        Document 1       Filed 03/27/23     Page 157 of 166




   -    “Land and expand” strategy already working organically w/o additional effort from
        Lambda
   -    Can work with employers anywhere because we’re online

Market Leader in ISAs
   - Largest originator of ISAs in the US
   - “Lambda” name synonymous with ISAs

Unbundling Universities
  - Colleges offer tons of services in 1 package: schooling, cultural learning, job placement
     help, sports, socializing, becoming an adult, etc.
  - Lambda unbundles the university and offers what people are actually looking for: a
     high-paying job



Risks & Mitigants

We admit the wrong people (e.g. people who don’t want jobs, people who won’t succeed,
etc.)
    - Some students are “life long learners” and are genuinely interested in learning but don’t
      want a job
    - Some students are unable to succeed in a technical career

Mitigants:
    - Improving jobs curriculum so that students cannot proceed in their technical education if
       they’re not completing their jobs training and benchmarks
    - Offering non-technical training + jobs (e.g. nursing) so that students can come to us, we
       offer them a test, and then recommend what we think they’d be best at

ISAs are made illegal or significantly limited
   - Some political circles dislike ISAs and/or think they work against a “4 year free degree
       for everyone”
   - Bad taste in their mouth from for-profit schools like Devry and University of Phoenix

Mitigants:
    - Proactively lobbying in DC for ISA legislation that will create a framework that is
       reasonable
    - Joined an ISA steering committee initiative to work with other companies in the ISA
       space to form ISA legislation



Collections could be too low
       Case 3:23-cv-01440-AGT         Document 1       Filed 03/27/23   Page 158 of 166




   -    Still unknown at scale what % of students will pay their ISAs

Mitigants:
    - Working on legislation that allows for employers to make payments
    - Legislation that allows credit reporting for ISA non-payment
    - Legislation that creates better reporting mechanisms on student income

We’re unable to place students at scale
  - We’re at roughly 50% placement for cohorts that are 6 months graduated
  - Placement to date has been manual and one-off, which isn’t possible at scale

Mitigants:
    - Growing the alumni network.
    - Building tools to help connect Lambda grads with current Lambda students
    - Creating internal tools to make the job search as easy as possible for students
    - Working with employment partners to get hiring and interview guarantees



Moving into new industries and geographies uses too few synergies from our US tech
organization
   - New geographies/industries require entirely new employer partnerships
   - Management’s network and expertise is in tech, how much will translate to industries like
      nursing?

Mitigants:
    - Using our strong brand to hire world class general managers to run these new
       businesses
    - Starting slow, growing purposefully when and where it makes sense



[1]: https://www.cyberstates.org
                                                                                                                                                                 CM-010
                     Case 3:23-cv-01440-AGT                      Document 1
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                  Filed 03/27/23           PageFOR
                                                                                                                         159   of 166
                                                                                                                            COURT USE ONLY
Justin T. Berger (SBN 250346); Cotchett, Pitre & McCarthy LLP
840 Malcolm Road, Burlingame CA 94010

          TELEPHONE NO.: (650) 697-6000                    FAX NO. (Optional): (650)697-0577
          E-MAIL ADDRESS: jberger@cpmlegal.com
                                                                                                                              ELECTRONICALLY
     ATTORNEY FOR (Name): Plaintiffs

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN FRANCISCO
                                                                                                                                   FILED
                                                                                                                              Superior Court of California,
 STREET ADDRESS: 400 McAllister St.                                                                                            County of San Francisco
 MAILING ADDRESS: 400 McAllister St.
CITY AND ZIP CODE: San Francisco, CA 94102                                                                                          03/16/2023
      BRANCH NAME: Civic Center Courthouse
                                                                                                                               Clerk of the Court
                                                                                                                                  BY: JEFFREY FLORES
CASE NAME:                                                                                                                                  Deputy Clerk
 Jessica Fuller et al. v. Bloom Institute of Technology, formerly d/b/a Lambda School et al.
        CIVIL CASE COVER SHEET                                 Complex Case Designation                      CASE NUMBER:
                                                                                                                                      CGC-23-605179
         Unlimited                     Limited                  Counter               Joinder
         (Amount                       (Amount
                                                        Filed with first appearance by defendant JUDGE:
         demanded                      demanded is
                                                            (Cal. Rules of Court, rule 3.402)
         exceeds $25,000)              $25,000 or less)                                           DEPT.:

                                         Items 1–6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:
      Auto Tort                                            Contract                                       Provisionally Complex Civil Litigation
            Auto (22)                                             Breach of contract/warranty (06)        (Cal. Rules of Court, rules 3.400–3.403)
            Uninsured motorist (46)                               Rule 3.740 collections (09)                    Antitrust/Trade regulation (03)
      Other PI/PD/WD (Personal Injury/Property                    Other collections (09)                         Construction defect (10)
      Damage/Wrongful Death) Tort                                                                                Mass tort (40)
                                                                  Insurance coverage (18)
             Asbestos (04)                                        Other contract (37)                            Securities litigation (28)
             Product liability (24)                                                                             Environmental/Toxic tort (30)
                                                           Real Property
             Medical malpractice (45)                                                                           Insurance coverage claims arising from the
                                                                  Eminent domain/Inverse
             Other PI/PD/WD (23)                                                                                above listed provisionally complex case
                                                                  condemnation (14)
                                                                                                                types (41)
      Non-PI/PD/WD (Other) Tort                                   Wrongful eviction (33)                  Enforcement of Judgment
             Business tort/unfair business practice (07)        Other real property (26)                        Enforcement of judgment (20)
             Civil rights (08)                             Unlawful Detainer
                                                                                                          Miscellaneous Civil Complaint
             Defamation (13)                                      Commercial (31)
                                                                                                                 RICO (27)
             Fraud (16)                                           Residential (32)
                                                                                                                 Other complaint (not specified above) (42)
             Intellectual property (19)                          Drugs (38)
                                                                                                          Miscellaneous Civil Petition
             Professional negligence (25)                  Judicial Review
                                                                  Asset forfeiture (05)                          Partnership and corporate governance (21)
           Other non-PI/PD/WD tort (35)
      Employment                                                  Petition re: arbitration award (11)            Other petition (not specified above) (43)

             Wrongful termination (36)                            Writ of mandate (02)
             Other employment (15)                                Other judicial review (39)
2.   This case         is           is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
     factors requiring exceptional judicial management:
   a.         Large number of separately represented parties       d.        Large number of witnesses
   b.         Extensive motion practice raising difficult or novel e.        Coordination with related actions pending in one or more
              issues that will be time-consuming to resolve                  courts in other counties, states, or countries, or in a federal
   c.         Substantial amount of documentary evidence                     court
                                                                   f.        Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a.           monetary b.        nonmonetary; declaratory or injunctive relief c.         punitive
4. Number of causes of action (specify): See Attachment 1
5. This case           is           is not   a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: March 16, 2023
Justin T. Berger
                             (TYPE OR PRINT NAME)                                                       (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                            NOTICE
 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
   under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
   in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
   other parties to the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                 Page 1 of 2
Form Adopted for Mandatory Use                                                                                     Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
  Judicial Council of California                             CIVIL CASE COVER SHEET                                        Cal. Standards of Judicial Administration, std. 3.10
CM-010 [Rev.September 1, 2021]                                                                                                                             www.courts.ca.gov
                     Case 3:23-cv-01440-AGT              Document 1               Filed 03/27/23        Page 160 of 166                  CM-010
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
 Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal.
   Auto (22)–Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400–3.403)
           Damage/Wrongful Death                       Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
       Uninsured Motorist (46) (if the                      Contract (not unlawful detainer            Construction Defect (10)
        case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
        motorist claim subject to                      Contract/Warranty Breach–Seller                 Securities Litigation (28)
        arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
        instead of Auto)                               Negligent Breach of Contract/                   Insurance Coverage Claims
 Other PI/PD/WD (Personal Injury/                           Warranty                                          (arising from provisionally complex
 Property Damage/Wrongful Death)                       Other Breach of Contract/Warranty                      case type listed above) (41)
 Tort                                              Collections (e.g., money owed, open            Enforcement of Judgment
     Asbestos (04)                                     book accounts) (09)                           Enforcement of Judgment (20)
         Asbestos Property Damage                      Collection Case–Seller Plaintiff                  Abstract of Judgment (Out of
         Asbestos Personal Injury/                     Other Promissory Note/Collections                       County)
               Wrongful Death                               Case                                     Confession of Judgment (non-
      Product Liability (not asbestos or           Insurance Coverage (not provisionally                  domestic relations)
          toxic/environmental) (24)                    complex) (18)                                 Sister State Judgment
      Medical Malpractice (45)                         Auto Subrogation                              Administrative Agency Award
           Medical Malpractice–                        Other Coverage                                    (not unpaid taxes)
                Physicians & Surgeons              Other Contract (37)                               Petition/Certification of Entry of
      Other Professional Health Care                   Contractual Fraud                                  Judgment on Unpaid Taxes
              Malpractice                              Other Contract Dispute                        Other Enforcement of Judgment
      Other PI/PD/WD (23)                       Real Property                                               Case
           Premises Liability (e.g., slip          Eminent Domain/Inverse                         Miscellaneous Civil Complaint
                and fall)                              Condemnation (14)                             RICO (27)
           Intentional Bodily Injury/PD/WD         Wrongful Eviction (33)                            Other Complaint (not specified
                 (e.g., assault, vandalism)        Other Real Property (e.g., quiet title) (26)            above) (42)
           Intentional Infliction of                   Writ of Possession of Real Property                 Declaratory Relief Only
                Emotional Distress                     Mortgage Foreclosure                                Injunctive Relief Only (non-
           Negligent Infliction of                     Quiet Title                                              harassment)
                 Emotional Distress                    Other Real Property (not eminent                    Mechanics Lien
           Other PI/PD/WD                              domain, landlord/tenant, or                         Other Commercial Complaint
 Non-PI/PD/WD (Other) Tort                             foreclosure)                                             Case (non-tort/non-complex)
      Business Tort/Unfair Business             Unlawful Detainer                                          Other Civil Complaint
          Practice (07)                            Commercial (31)                                              (non-tort/non-complex)
      Civil Rights (e.g., discrimination,          Residential (32)                               Miscellaneous Civil Petition
            false arrest) (not civil               Drugs (38) (if the case involves illegal          Partnership and Corporate
            harassment) (08)                       drugs, check this item; otherwise,                     Governance (21)
      Defamation (e.g., slander, libel)            report as Commercial or Residential)              Other Petition (not specified
             (13)                               Judicial Review                                           above) (43)
      Fraud (16)                                   Asset Forfeiture (05)                                  Civil Harassment
      Intellectual Property (19)                   Petition Re: Arbitration Award (11)                    Workplace Violence
      Professional Negligence (25)                 Writ of Mandate (02)                                   Elder/Dependent Adult
          Legal Malpractice                            Writ–Administrative Mandamus                            Abuse
          Other Professional Malpractice               Writ–Mandamus on Limited Court                     Election Contest
               (not medical or legal)                      Case Matter                                    Petition for Name Change
      Other Non-PI/PD/WD Tort (35)                     Writ–Other Limited Court Case                      Petition for Relief From Late
 Employment                                                Review                                              Claim
      Wrongful Termination (36)                    Other Judicial Review (39)                             Other Civil Petition
      Other Employment (15)                            Review of Health Officer Order
                                                       Notice of Appeal–Labor
                                                            Commissioner Appeals
CM-010 [Rev. September 1, 2021]                                                                                                           Page 2 of 2
                                                        CIVIL CASE COVER SHEET
                      Case 3:23-cv-01440-AGT           Document 1           Filed 03/27/23            Page 161 of 166
                                                                                                                               MC-025
                                                                                             CASE NUMBER:
 SHORT TITLE:
  Jessica Fuller et al. v. Bloom Institute of Technology, formerly d/b/a
  Lambda School et al.

                                                         ATTACHMENT (Number): 1
                                      (This Attachment may be used with any Judicial Council form.)




(If the item that this Attachment concerns is made under penalty of perjury, all statements in this           Page 1         of 1
Attachment are made under penalty of perjury.)
                                                                                                             (Add pages as required)
Form Approved for Optional Use
  Judicial Council of California                            ATTACHMENT                                                  www.courtinfo.ca.gov

  MC-025 [Rev. July 1, 2009]                           to Judicial Council Form
CASE NUMBER:  CGC-23-605179 JESSICA
       Case 3:23-cv-01440-AGT       FULLER
                              Document     ET AL
                                       1 Filed   VS. BLOOM
                                               03/27/23    INSTITUTE
                                                         Page 162 of 166OF TECHNOLOGY,
                                     NOTICE TO PLAINTIFF
A Case Management Conference is set for:

                 DATE:       AUG 16, 2023
                 TIME:       10:30 am

                 PLACE:      Department 610
                             400 McAllister Street
                             San Francisco, CA 94102-3680
All parties must appear and comply with Local Rule 3.

 CRC 3.725 requires the filing and service of a case management statement form CM-110
 no later than 15 days before the case management conference. However, it would facilitate
 the issuance of a case management order without an appearance at the case
 management conference if the case management statement is filed and served twenty-five
 days before the case management conference.

Plaintiff must serve a copy of this notice upon each party to this action with the summons and
complaint. Proof of service subsequently filed with this court shall so state. This case is
eligible for electronic filing and service per Local Rule 2.11. For more information,
please visit the Court's website at www.sfsuperiorcourt.org under Online Services.
[DEFENDANTS: Attending the Case Management Conference does not take the place
of filing a written response to the complaint. You must file a written response with the
court within the time limit required by law. See Summons.]

                 ALTERNATIVE DISPUTE RESOLUTION REQUIREMENTS

  IT IS THE POLICY OF THE SUPERIOR COURT THAT EVERY CIVIL CASE SHOULD PARTICIPATE IN
  MEDIATION, ARBITRATION, NEUTRAL EVALUATION, AN EARLY SETTLEMENT CONFERENCE, OR
  OTHER APPROPRIATE FORM OF ALTERNATIVE DISPUTE RESOLUTION PRIOR TO A TRIAL.


  (SEE LOCAL RULE 4)


Plaintiff must serve a copy of the Alternative Dispute Resolution (ADR) Information Package
on each defendant along with the complaint. (CRC 3.221.) The ADR package may be
accessed at www.sfsuperiorcourt.org/divisions/civil/dispute-resolution or you may request a
paper copy from the filing clerk. All counsel must discuss ADR with clients and opposing
counsel and provide clients with a copy of the ADR Information Package prior to filing
the Case Management Statement.
Superior Court Alternative Dispute Resolution Administrator
400 McAllister Street, Room 103-A
San Francisco, CA 94102
(415) 551-3869


See Local Rules 3.3, 6.0 C and 10 B re stipulation to judge pro tem.
                     Case 3:23-cv-01440-AGT                  Document 1              Filed 03/27/23             Page 163 of 166
                                                                                                                                                   SUM-100
                                          SUMMONS                                                                            FOR COURT USE ONLY
                                                                                                                         (SOLO PARA USO DE LA CORTE)
                                 (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
BLOOM INSTITUTE OF TECHNOLOGY, formerly d/b/a Lambda School; AUSTEN ALLRED, in his
individual capacity; and DOES 1 through 9,
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTÁ DEMANDANDO EL DEMANDANTE):
JESSICA FULLER; ALEXANDER GONCALVES; BRETT MCADAMS; and QUINN MOLINA,

NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
continuación.
   Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte que
le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrá
quitar su sueldo, dinero y bienes sin más advertencia.
   Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
The name and address of the court is:                                                         CASE NUMBER: (Número del Caso):
(El nombre y dirección de la corte es):
San Francisco County Superior Court                                                                             CGC-23-605179
400 McAllister St. San Francisco, CA 94102
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is: (El nombre, la dirección y el número
de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
Justin T. Berger; Cotchett, Pitre & McCarthy LLP, 840 Malcolm Rd. Burlingame CA 94010; 650-697-6000
DATE:                                                                          Clerk, by                                          , Deputy
(Fecha) 03/17/2023                                                             (Secretario) JEFFREY FLORES                        (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
                                 NOTICE TO THE PERSON SERVED: You are served
 [SEAL]
                                     1.          as an individual defendant.
                                     2.          as the person sued under the fictitious name of (specify):

                                     3.          on behalf of (specify):
                                          under:        CCP 416.10 (corporation)                                  CCP 416.60 (minor)
                                                        CCP 416.20 (defunct corporation)                          CCP 416.70 (conservatee)
                                                        CCP 416.40 (association or partnership)                   CCP 416.90 (authorized person)
                                                        other (specify):
                                     4.          by personal delivery on (date):                                                                       Page 1 of 1
Form Adopted for Mandatory Use
Judicial Council of California
                                                                     SUMMONS                                                 Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                 www.courts.ca.gov
SUM-100 [Rev. July 1, 2009]
                     Case 3:23-cv-01440-AGT                       Document 1          Filed 03/27/23          Page 164 of 166
                                                                                                                                                POS-015
ATTORNEY OR PARTY WITHOUT ATTORNEY:                        STATE BAR NO:   250346                                     FOR COURT USE ONLY
NAME: Justin T. Berger
FIRM NAME: COTCHETT, PITRE & McCarthy, LLC
STREET ADDRESS:  840 Malcolm Road
CITY:  Burlingame                                      STATE: CA      ZIP CODE: 94010
TELEPHONE NO.: (650) 697-6000                         FAX NO. : (650) 697-0577                                        ELECTRONICALLY
E-MAIL ADDRESS: jberger@cpmlegal.com

ATTORNEY FOR (Name): Plaintiffs Jessica Fuller; Alexander Goncalves; et al.
                                                                                                                          FILED
                                                                                                                      Superior Court of California,
                                                                                                                       County of San Francisco
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN FRANCISCO
 STREET ADDRESS:
                                                                                                                          03/22/2023
 MAILING ADDRESS:        400 McAllister Street                                                                        Clerk of the Court
CITY AND ZIP CODE:       San Francisco, CA 94102                                                                         BY: RONNIE OTERO
     BRANCH NAME:        Civil Center Courthouse                                                                                    Deputy Clerk

     Plaintiff/Petitioner: Jessica Fuller et al.
Defendant/Respondent: Bloom Institute of Technology, a formerly d/b/a Lambda et al.
                                                                                                       CASE NUMBER:
                NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                             CGC-23-605179


TO (insert name of party being served): AUSTEN ALLRED

                                                                             NOTICE
     The summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
     Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
     (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
     on you in any other manner permitted by law.
     If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
     form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
     entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
     summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
     acknowledgment of receipt below.


Date of mailing:                    March 21, 2023


                                      Sonia Zaghari
                                    (TYPE OR PRINT NAME)                                     (SIGNATURE OF SENDER—MUST NOT BE A PARTY IN THIS CASE)



                                                           ACKNOWLEDGMENT OF RECEIPT
This acknowledges receipt of (to be completed by sender before mailing):

1.      ê    A copy of the summons and of the complaint.
2.      ê    Other (specify)
                                 (1) Superior Court of California, County of San Francisco Alternative Dispute Resolution Information
                                 Package;
                                 (2) Notice to Plaintiff;
                                 (3) Civil Case Cover Sheet.

(To be completed by recipient):

Date this form is signed:           March 22, 2023
            Patrick Hammon
               (TYPE OR PRINT YOUR NAME AND NAME OF ENTITY, IF ANY,                       (SIGNATURE OF PERSON ACKNOWLEDGING RECEIPT, WITH TITLE IF
                      ON WHOSE BEHALF THIS FORM IS SIGNED)                             ACKNOWLEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)




                                                                                                                                                      Page 1 of 1

Form Adopted for Mandatory Use
Judicial Council of California
                                            NOTICE AND ACKNOWLEDGMENT OF RECEIPT — CIVIL                                                Code of Civil Procedure,
                                                                                                                                             §§ 415.30, 417.10
POS-015 [Rev. January 1, 2005]                                                                                                            www.courtinfo.ca.gov
                     Case 3:23-cv-01440-AGT                       Document 1          Filed 03/27/23          Page 165 of 166
                                                                                                                                                POS-015
ATTORNEY OR PARTY WITHOUT ATTORNEY:                        STATE BAR NO:   250346                                     FOR COURT USE ONLY
NAME: Justin T. Berger
FIRM NAME: COTCHETT, PITRE & McCarthy, LLC
STREET ADDRESS:  840 Malcolm Road
CITY:  Burlingame                                      STATE: CA      ZIP CODE: 94010
TELEPHONE NO.: (650) 697-6000                         FAX NO. : (650) 697-0577                                        ELECTRONICALLY
E-MAIL ADDRESS: jberger@cpmlegal.com

ATTORNEY FOR (Name): Plaintiffs Jessica Fuller; Alexander Goncalves; et al.
                                                                                                                          FILED
                                                                                                                      Superior Court of California,
                                                                                                                       County of San Francisco
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN FRANCISCO
 STREET ADDRESS:
                                                                                                                          03/22/2023
 MAILING ADDRESS:        400 McAllister Street                                                                        Clerk of the Court
CITY AND ZIP CODE:       San Francisco, CA 94102                                                                         BY: RONNIE OTERO
     BRANCH NAME:        Civil Center Courthouse                                                                                    Deputy Clerk

     Plaintiff/Petitioner: Jessica Fuller et al.
Defendant/Respondent: Bloom Institute of Technology, a formerly d/b/a Lambda et al.
                                                                                                       CASE NUMBER:
                NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                             CGC-23-605179


TO (insert name of party being served): BLOOM INSTITUTE OF TECHNOLOGY, formerly d/b/a Lambda School

                                                                             NOTICE
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     Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
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Date of mailing:                    March 21, 2023


                                      Sonia Zaghari
                                    (TYPE OR PRINT NAME)                                     (SIGNATURE OF SENDER—MUST NOT BE A PARTY IN THIS CASE)



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                                            NOTICE AND ACKNOWLEDGMENT OF RECEIPT — CIVIL                                                Code of Civil Procedure,
                                                                                                                                             §§ 415.30, 417.10
POS-015 [Rev. January 1, 2005]                                                                                                            www.courtinfo.ca.gov
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